CaseCase
     5:23-cv-00626-XR
         5:23-cv-00626 Document
                       Document2-1
                                10-1Filed
                                        Filed
                                           05/15/23
                                              10/15/23
                                                     PagePage
                                                          1 of 77
                                                               1 of 77




           Exhibit 1
        CaseCase
             5:23-cv-00626-XR
                 5:23-cv-00626 Document
                               Document2-1
                                        10-1Filed
                                                Filed
                                                   05/15/23
                                                      10/15/23
                                                             PagePage
                                                                  2 of 77
                                                                       2 of 77

                                                                                                   USOO8926490B2


(12) United States Patent                                                        (10) Patent No.:                 US 8,926,490 B2
       Phillips et al.                                                           (45) Date of Patent:                           Jan. 6, 2015
(54) SYSTEMS AND METHODS FOR                                                  (56)                   References Cited
       DEPRESSION TREATMENT USING
       NEURO-EEG SYNCHRONIZATION THERAPY                                                      U.S. PATENT DOCUMENTS
                                                                                     3,821,949 A      7, 1974 Hartzell et al.
(75) Inventors: James William Phillips, Fountain                                     4,727,857 A      3, 1988 Hor
                Valley, CA (US); Yi Jin, Irvine, CA (US)                             5,036,858 A      8, 1991 Carter et al.
                                                                                     5,092,835 A      3/1992 Schurig et al.
(73) Assignee: Neosync, Inc., Newport Beach, CA (US)                                 5,409,445 A      4/1995 Rubins

(*) Notice:          Subject to any disclaimer, the term of this                                        (Continued)
                     patent is extended or adjusted under 35                               FOREIGN PATENT DOCUMENTS
                     U.S.C. 154(b) by 831 days.
                                                                              DE              298.21635 U1       8, 1998
(21) Appl. No.: 12/944,591                                                    WO          WO-96-15829 A2         5, 1996
                                                                                                        (Continued)
(22) Filed:          Nov. 11, 2010
                                                                                                OTHER PUBLICATIONS
(65)                     Prior Publication Data
                                                                              Gasquet et al., “Pharmacological treatment and other predictors of
       US 2011 FO137104 A1               Jun. 9, 2011                         treatment outcomes in previously untreated patients with Schizophre
             Related U.S. Application Data                                    nia; results from the European Schizophremia Outpatient Health
(63) Continuation-in-part of application No. 12/237,328,                      Outcomes (SOHO) study.” Int. Clin. Psychopharmacol. 20:199-205
     filed on Sep. 24, 2008, now Pat. No. 8,480,554.                          (2005).
(60) Provisional application No. 61/260,785, filed on Nov.                                              (Continued)
       12, 2009.
                                                                              Primary Examiner — Christine Matthews
(51) Int. Cl.                                                                 Assistant Examiner — Joshua D Lannu
       A6IN 2/2                     (2006.01)                                 (74) Attorney, Agent, or Firm — Wilson Sonsini Goodrich &
       A6IN 2/00                    (2006.01)                                 Rosati
(52) U.S. Cl.
       CPC ................ A61N 2/008 (2013.01); A61N 2/004                  (57)                     ABSTRACT
                                                              (2013.01)       Described are methods, devices, and systems for a novel,
       USPC ................................................. 600/9: 600/14   inexpensive, easy to use therapy for treatment of depression.
(58) Field of Classification Search                                           Described are methods and devices to treat depression that
       CPC ..... A61N 2/006; A61N 2/02: A61N 1/36025;                         involves no medication. Methods and devices described
                  A61N 2/004; A61N 2/008: A61N 1/36082:                       herein use alternating magnetic fields to gently “tune' the
                               A61N 1/36103: A61N 2/12                        brain and affect symptoms of depression.
       USPC ....................................... 600/9; 128/897899
       See application file for complete search history.                                     11 Claims, 30 Drawing Sheets



                                                         72 -N




                                    58
         CaseCase
              5:23-cv-00626-XR
                  5:23-cv-00626 Document
                                Document2-1
                                         10-1Filed
                                                 Filed
                                                    05/15/23
                                                       10/15/23
                                                              PagePage
                                                                   3 of 77
                                                                        3 of 77


                                                               US 8,926,490 B2
                                                                           Page 2

(56)                    References Cited                                            2011 0118536 A1      5/2011 Phillips et al.
                                                                                    2011 0137104 A1      6/2011 Phillips et al.
                    U.S. PATENT DOCUMENTS                                           2013, O137918 A1     5/2013 Phillips et al.
                                                                                    2013, O144106 A1     6/2013 Phillips et al.
       5.453,072         9, 1995 Anninos et al.                                     2013,014.4107 A1     6/2013 Phillips et al.
       5,496.258         3, 1996 Anninos et al.                                     2013, O144108 A1     6/2013 Phillips et al.
       5,632,720         5, 1997 Kleitz                                             2013, O150650 A1     6/2013 Phillips et al.
       5,667,469         9, 1997 Zhang et al.                                       2013, O150651 A1     6/2013 Phillips et al.
       5,697,883        12, 1997 Anninos et al.                                     2014/O121446 A1      5/2014 Phillips et al.
       5,707,334         1, 1998 Young                                              2014/017998.0 A1     6/2014 Phillips et al.
       5,769,778         6, 1998 Abrams et al.
       5,788,624         8, 1998 Lu et al.                                                    FOREIGN PATENT DOCUMENTS
       5,935,054         8, 1999 Loos
       5,954,629         9, 1999 Yanagidaira et al.                             WO           WO-96-29114 A1          9, 1996
       6,001,055        12, 1999 Souder .............................. 6009     WO          WO-03-058518 A2          T 2003
       6,157,278        12, 2000 Katznelson et al.                              WO        WO-2007-067.148 A1         6, 2007
       6,231,497         5, 2001 Souder                                         WO        WO-2008-074707             6, 2008
       6,234,953         5, 2001 Thomas et al.                                  WO        WO-2009-042718             4/2009
       6,238.333         5, 2001 Loos                                           WO        WO-2009-042.720            4/2009
       6,266.556         T/2001 Ives et al.                                     WO        WO-2009-042721             4/2009
       6,290,638         9, 2001 Canedo et al.                                  WO        WO-2009-042722             4/2009
       6,402,678         6, 2002 Fischell et al.                                WO        WO-2011-017466             2, 2011
       6.463,328        10, 2002 John                                           WO        WO-2011-059986             5, 2011
       6,488,617        12, 2002 Katz ............................... 600/26
       6,648,812        11, 2003 ArdizZone                                                         OTHER PUBLICATIONS
       6,663,557        12, 2003 Werny
       6,679,825          1, 2004 Alicea                                        Jin, Y. et al., “Alpha EEG predicts visual reaction time.” Int. J.
       6,978, 179       12, 2005 Flagget al.
       7,033,312         4, 2006 Rohan et al.                                   Neurosci. 116:1035-1044 (2006).
       7,102,144         9, 2006 Matsuda et al.                                 Jin, Y. et al., “Therapeutic effects of individualized alpha frequency
       7,258,659         8, 2007 Anninou et al.                                 transcranial magnetic stimulation (alpha TMS) on the negative symp
       7,282,021        10, 2007 Rohan et al.                                   toms of schizophrenia.” Schizophr. Bull. 32(3):556-561 (Jul.
       7,297,100        11/2007 Thomas et al.                                   2006:Epub Oct. 27, 2005).
       8.465,408         6, 2013 Phillips et al.                                PCT/US08/77575 Search Report dated Dec. 9, 2008.
       8,475,354         T/2013 Phillips et al.
       8,480,554         T/2013 Phillips et al.                                 PCT/US08/77573 Search Report dated Nov. 24, 2008.
       8,585,568        11/2013 Phillips                                        PCT/US08/77571 Search Report dated Nov. 21, 2008.
 2002fOOO7128             1, 2002 Ives et al.                                   PCT/US08/77569 Search Report dated Jan. 26, 2009.
 2003/0093028            5/2003 Spiegel                                         PCT/US 10/44465 Search Report and Written Opinion mailed Sep.
 2004/O1385.78           T/2004 Pineda et al.                                   29, 2010.
 2004.0143296            T/2004 Wang                                            Anninos et al., “Nonlinear Analysis of Brain Activity in Magnetic
 2005.0043774            2, 2005 Devlin et al.                                  Influenced Parkinson Patients.” Brain Topography 13(2):135-144
 2005/OO7O778            3, 2005 Lackey et al.
 2005/0107654            5/2005 Riehl                                           (2000).
 2005/0107655            5/2005 Holzner                                         Anninos et al., “MEG evaluation of Parkinson's diseased patients
 2005, 0118286           6, 2005 Suffin et al.                                  after external magnetic stimulation.” Acta neurol. Belg. 107:5-10
 2005/O124847            6, 2005 ArdizZone et al.                               (2007).
 2005, 0124848           6, 2005 Holzner                                        Hamidi et al., “Repetitive transcranial magnetic stimulation affects
 2005/O154426            7/2005 Boveja et al.                                   behavior by biasing endogenous cortical oscillations.” Frontiers in
 2005/O187423            8, 2005 ArdizZone et al.                               Integrative Neuroscience 3(14): 1-12 (2009).
 2005/0228209           10, 2005 Schneider                                      Klimesch et al., “EEG alpha oscillations: The inhibition-timing
 2005/025,6539          11/2005 George et al.                                   hypothesis.” Brain Research Reviews 53:63-88 (2003).
 2006, OO15153            1, 2006 Gliner et al.                                 Klimesch et al., “Enhancing cognitive performance with repetitive
 2006, OO58572           3, 2006 Anninos et al.                                 transcranial magnetic stimulation at human individual alpha fre
 2006/0094924            5, 2006 Riehl                                          quency.” Eur, J. Neuroscience 17:1129-1133 (2003).
 2006, O1491.19          T/2006 Wang                                            Sauseng et al., “Spontaneous locally restricted EEG alpha activity
 2006, O161039           T/2006 Juliana et al.
 2006, O189866           8, 2006 Thomas et al.                                  determines cortical excitability in the motor cortex.”
 2006/0212090            9, 2006 Lozano et al.                                  Neuropsychologia 47:284-288 (2009).
 2006/0217781            9, 2006 John                                           EP0883.3077 Supplementary Search Report and Written Opinion
 2006/0258950           11, 2006 Hargrove et al.                                dated Dec. 21, 2010.
 2007/OOO4957            1/2007 Hilburg                                         First Annual Brain and Behavior Symposium: The Future of the
 2007/0106170            5/2007 Dunseath, Jr. et al.                            Brain (Dr. Yi Jin) (Jun. 8. 2007) online retrieved on Dec. 16, 2011
 2007/O142874            6, 2007 John                                           Retrieved from the Internet: http://neurosciencecenter.
 2007/O179558            8, 2007 Gliner et al.                                  brooksideinstitute.com/2007 symposium 03Speaker.asp.
 2007/O191727            8, 2007 Fadem                                          Discovery Science: Transcranial Magnetic Stimulation Treatment for
 2007/0203390            8, 2007 Rohan et al.                                   Addiction, Autism. Depression (Dr. Yi Jin) from PopSci's Future of
 2007/02O8209            9, 2007 Holcomb
 2007/02821.56          12, 2007 Konings                                        Pleasure originally broadcast Oct. 26, 2009 online retrieved on
 2008.OOO9772             1, 2008 Tyler et al.                                  Dec. 16, 2011 Retrieved from the Internet: http://www.youtube.
 2008, 0046013           2, 2008 Lozano                                         com/watch?v=E3tPuB31CYc.
 2008/0081941            4, 2008 Tononi                                         MERT. Magno-EEG Resonant Therapy (Aug. 29.
 2008/O125669            5/2008 Suffin et al.                                   2007) online retrieved on Dec. 19, 2011 Retrieved from the
 2009, OO82690           3, 2009 Phillips et al.                                Internet:       http://web.archive.org/web/20080514214345/http://
 2009/0083071            3, 2009 Phillips                                       neurosciencecenterbrooksideinstitute.com/mert.asp; http://web.
 2009, O198144           8, 2009 Phillips                                       archive.org/web/20080514161113/http://neurosciencecenter.
 2009/02040 15           8, 2009 Phillips                                       brooksideinstitute.com/mert disorders.asp; and http://web.archive.
 2011/0034822            2, 2011 Phillips et al.                                org/web/20080509095813/http://neuroseiencecenter.
 2011 0112427            5, 2011 Phillips et al.                                brooksideinstitute.com/mertifaq.asp.
        CaseCase
             5:23-cv-00626-XR
                 5:23-cv-00626 Document
                               Document2-1
                                        10-1Filed
                                                Filed
                                                   05/15/23
                                                      10/15/23
                                                             PagePage
                                                                  4 of 77
                                                                       4 of 77


                                                         US 8,926,490 B2
                                                                  Page 3

(56)                   References Cited                                U.S. Appl. No. 12/237,295 Office Action dated May 9, 2011.
                                                                       U.S. Appl. No. 12/237,328 Office Action dated Jul. 19, 2012.
                  OTHER PUBLICATIONS                                   U.S. Appl. No. 12/237,328 Office Action dated Oct. 12, 2011.
                                                                       U.S. Appl. No. 12/850,547 Office Action dated Jul. 19, 2012.
What is TMS (Jun. 8, 2011) online retrieved on Dec. 19, 2011           U.S. Appl. No. 12/850,547 Office Action dated Oct. 13, 2011.
Retrieved from the Internet: http://web.archive.org/web/                      S10/056075 Search Report and Written Opinion mailed Mar.
20101014023718/http://braintreatmentcenter.com/tims.html; and          14, 2011.
http://www.braintreatmentcenter.com/addiction.
Triggs et al., “Effects of Left Frontal Transcranial Magnetic Stimu    U.S. Appl. No. 12/944,549 Office Action dated Mar. 25, 2014.
                                                                       PCT/U S08/77569 Preliminary Reporton Patentability datedMar. 30,
lation on Depressed Mood, Cognition, and Corticomotor Threshold.”      2010.
Society of Biological Psychiatry 1999.                                 PCT/U S08/77569 Written Opinion dated Jan. 26, 2009.
Angelakis et al., “EEG Neurofeedback: A brief overview and an          PCT/U S08/77571 Written Opinion dated Nov. 21, 2008.
example of peak alpha frequency training for cognitive enhancement
in the elderly.” Clin. Neuropsychol., 21(1): 110-29 (2007).            PCT/U S08/77571 Preliminary Reporton Patentability datedMar. 30,
Applied Signal Processing. (2004) 20 pgs. http://users.abo.fi/         2010.
htoivonefcourses/sbappl/asp chapter 1.pdf.                             PCT/U S08/77573Preliminary Reporton Patentability datedMar. 30,
Arns et al., “Potential differential effects of 9HZ rTMS and 10 HZ     2010.
rTMS in the treatment of depression.” Letter to the Editor, Brain      PCT/U S08/77573 Written Opinion dated Nov. 24, 2008.
Stimulation (2010), 3, 124-126.                                        PCT/U S08/77575 Preliminary Reporton Patentability datedMar. 30,
Blum, "Computer-based electroencephalography: technical basics,        2010.
basis for new applications, and potential pitfalls.”                   PCT/U S10/056075 Preliminary Report on Patentability dated May
Electroencephalography and Clinical Neurophysiology 106, pp. 118       24, 2012.
126 (1998).                                                            PCT/U S10/44465 Preliminary Report on Patentability dated Feb. 7,
Gaussian Peak FitVI., LabVIEW 2009 Help. National Instruments. 4       2012.
pgs. Jun. 2009.                                                        U.S. Appl. No. 12/237,295 Office Action dated Oct. 21, 2013.
Myung, “Tutorial on Maximum Likelihood Estimation.” Journal of         U.S. Appl. No. 12/237,304 Office Action dated Sep. 25, 2013.
Mathematical Psychology, 47, pp. 90-100 (2003).                        U.S. Appl. No. 12/944,549 Office Action dated Sep. 13, 2013.
O'Haver, "Curve Fitting C. Non-Linear Iterative Curve Fitting.” Jun.   U.S. Appl. No. 13/681,964 Office Action dated Jan. 22, 2014.
6, 2009. http://web.archive.org/web/20090606121639/http://             U.S. Appl. No. 13/682,057 Office Action dated Jan. 22, 2014.
terpconnect.umd.edu/~toh/spectrum/CurveFittingC.html.                  U.S. Appl. No. 13/682,098 Office Action dated Jan. 24, 2014.
Real-Time Filtering in BioExplorer. Jan. 25, 2007. http://web.         U.S. Appl. No. 13/682,147 Office Action dated Apr. 25, 2013.
archive.org/web/20070 125020332/http://www.brain-trainer.com/          U.S. Appl. No. 13/682,147 Office Action dated Dec. 20, 2013.
Filtering.pdf.                                                         U.S. Appl. No. 13/682, 18.1 Office Action dated Feb. 12, 2014.
U.S. Appl. No. 12/942,922 Office Action dated Nov. 19, 2012.           U.S. Appl. No. 12/237,295 Office Action dated May 23, 2014.
U.S. Appl. No. 12/237,319 Office Action Oct. 14, 2011.                 U.S. Appl. No. 13/682,098 Office Action dated Jun. 30, 2014.
U.S. Appl. No. 12/237,319 Office Action Jul. 19, 2012.                 U.S. Appl. No. 13/682, 18.1 Office Action dated Jun. 27, 2014.
U.S. Appl. No. 12/237.304 Office Action dated Jul. 3, 2012.
U.S. Appl. No. 12/237,295 Office Action dated Dec. 6, 2011.            * cited by examiner
   CaseCase
        5:23-cv-00626-XR
            5:23-cv-00626 Document
                          Document2-1
                                   10-1Filed
                                           Filed
                                              05/15/23
                                                 10/15/23
                                                        PagePage
                                                             5 of 77
                                                                  5 of 77


U.S. Patent         Jan. 6, 2015     Sheet 1 of 30         US 8,926,490 B2




                                   Figure 1




                                   Figure 2
   CaseCase
        5:23-cv-00626-XR
            5:23-cv-00626 Document
                          Document2-1
                                   10-1Filed
                                           Filed
                                              05/15/23
                                                 10/15/23
                                                        PagePage
                                                             6 of 77
                                                                  6 of 77


U.S. Patent         Jan. 6, 2015    Sheet 2 of 30          US 8,926,490 B2




                               Figure 3




                               Figure 4
   CaseCase
        5:23-cv-00626-XR
            5:23-cv-00626 Document
                          Document2-1
                                   10-1Filed
                                           Filed
                                              05/15/23
                                                 10/15/23
                                                        PagePage
                                                             7 of 77
                                                                  7 of 77


U.S. Patent         Jan. 6, 2015        Sheet 3 of 30               US 8,926,490 B2




                        *)& %'-,?«.…4»*«,~&#v)-';«* -~*¿.…~*);…
                            #   #?          Y&s - - -
                                                                &
   CaseCase
        5:23-cv-00626-XR
            5:23-cv-00626 Document
                          Document2-1
                                   10-1Filed
                                           Filed
                                              05/15/23
                                                 10/15/23
                                                        PagePage
                                                             8 of 77
                                                                  8 of 77


U.S. Patent         Jan. 6, 2015    Sheet 4 of 30          US 8,926,490 B2




                                                                 (?IH
                                                                 9
                                                                 „
   CaseCase
        5:23-cv-00626-XR
            5:23-cv-00626 Document
                          Document2-1
                                   10-1Filed
                                           Filed
                                              05/15/23
                                                 10/15/23
                                                        PagePage
                                                             9 of 77
                                                                  9 of 77


U.S. Patent          Jan. 6, 2015      Sheet 5 Of 30       US 8,926,490 B2




     82b




                64




               82b




                                    Figure 8
  CaseCase
       5:23-cv-00626-XR
           5:23-cv-00626 Document
                         Document2-1
                                  10-1Filed
                                          Filed
                                             05/15/23
                                                10/15/23
                                                       PagePage
                                                            10 of10
                                                                  77of 77


U.S. Patent        Jan. 6, 2015     Sheet 6 of 30         US 8,926,490 B2




       64




           82a




     82b


                                  Figure 9
  CaseCase
       5:23-cv-00626-XR
           5:23-cv-00626 Document
                         Document2-1
                                  10-1Filed
                                          Filed
                                             05/15/23
                                                10/15/23
                                                       PagePage
                                                            11 of11
                                                                  77of 77


U.S. Patent        Jan. 6, 2015     Sheet 7 Of 30          US 8,926,490 B2




               Figure 10F                           Figure 10G
  CaseCase
       5:23-cv-00626-XR
           5:23-cv-00626 Document
                         Document2-1
                                  10-1Filed
                                          Filed
                                             05/15/23
                                                10/15/23
                                                       PagePage
                                                            12 of12
                                                                  77of 77


U.S. Patent        Jan. 6, 2015     Sheet 8 of 30           US 8,926,490 B2




                                                    Figure 11B


   194
                                      194                   sis




                                            102h          - N38


         Figure 11G                                 Figure 11H
  CaseCase
       5:23-cv-00626-XR
           5:23-cv-00626 Document
                         Document2-1
                                  10-1Filed
                                          Filed
                                             05/15/23
                                                10/15/23
                                                       PagePage
                                                            13 of13
                                                                  77of 77


U.S. Patent        Jan. 6, 2015     Sheet 9 Of 30         US 8,926,490 B2




   Figure l l I             Figure l l J                 Figure lK




                                  Figure 12
  CaseCase
       5:23-cv-00626-XR
           5:23-cv-00626 Document
                         Document2-1
                                  10-1Filed
                                          Filed
                                             05/15/23
                                                10/15/23
                                                       PagePage
                                                            14 of14
                                                                  77of 77


U.S. Patent             Jan. 6, 2015    Sheet 10 of 30          US 8,926,490 B2




                                                         1406




     Figure 14                         v/

                 1504                   1502a 1502b




                                                                 Figure 15
  CaseCase
       5:23-cv-00626-XR
           5:23-cv-00626 Document
                         Document2-1
                                  10-1Filed
                                          Filed
                                             05/15/23
                                                10/15/23
                                                       PagePage
                                                            15 of15
                                                                  77of 77


U.S. Patent         Jan. 6, 2015       Sheet 11 of 30          US 8,926,490 B2




            1602a
                                                        1606


       is
                                    V/
   1602c
           ()
       G
                                   Figure 16
  CaseCase
       5:23-cv-00626-XR
           5:23-cv-00626 Document
                         Document2-1
                                  10-1Filed
                                          Filed
                                             05/15/23
                                                10/15/23
                                                       PagePage
                                                            16 of16
                                                                  77of 77


U.S. Patent        Jan. 6, 2015     Sheet 12 of 30        US 8,926,490 B2
  CaseCase
       5:23-cv-00626-XR
           5:23-cv-00626 Document
                         Document2-1
                                  10-1Filed
                                          Filed
                                             05/15/23
                                                10/15/23
                                                       PagePage
                                                            17 of17
                                                                  77of 77


U.S. Patent                                               US 8,926,490 B2
  CaseCase
       5:23-cv-00626-XR
           5:23-cv-00626 Document
                         Document2-1
                                  10-1Filed
                                          Filed
                                             05/15/23
                                                10/15/23
                                                       PagePage
                                                            18 of18
                                                                  77of 77


U.S. Patent                                                US 8,926,490 B2




                                                                   6I?InãIA


                                                          []
                                                          996
  CaseCase
       5:23-cv-00626-XR
           5:23-cv-00626 Document
                         Document2-1
                                  10-1Filed
                                          Filed
                                             05/15/23
                                                10/15/23
                                                       PagePage
                                                            19 of19
                                                                  77of 77


U.S. Patent        Jan. 6, 2015     Sheet 15 Of 30        US 8,926,490 B2




    07
    |
    Uu9




           970 Z

                                                                  02
                                                                  |
                                                                  q9
  CaseCase
       5:23-cv-00626-XR
           5:23-cv-00626 Document
                         Document2-1
                                  10-1Filed
                                          Filed
                                             05/15/23
                                                10/15/23
                                                       PagePage
                                                            20 of20
                                                                  77of 77


U.S. Patent        Jan. 6, 2015     Sheet 16 of 30           US 8,926,490 B2




                                     21 18f

                                          21 18g
                                                     2118h

                              Figure 21




                                                              2236




                              Figure 22
  CaseCase
       5:23-cv-00626-XR
           5:23-cv-00626 Document
                         Document2-1
                                  10-1Filed
                                          Filed
                                             05/15/23
                                                10/15/23
                                                       PagePage
                                                            21 of21
                                                                  77of 77


U.S. Patent        Jan. 6, 2015             Sheet 17 Of 30   US 8,926,490 B2




                     2348-              i
                             234.4b -

                                  Figure 23
                         2404                         246




                             2402a             N
                                                   2402h
     2458

                                  Figure 24
  CaseCase
       5:23-cv-00626-XR
           5:23-cv-00626 Document
                         Document2-1
                                  10-1Filed
                                          Filed
                                             05/15/23
                                                10/15/23
                                                       PagePage
                                                            22 of22
                                                                  77of 77


U.S. Patent        Jan. 6, 2015     Sheet 18 of 30        US 8,926,490 B2




                                          Figure 25
  CaseCase
       5:23-cv-00626-XR
           5:23-cv-00626 Document
                         Document2-1
                                  10-1Filed
                                          Filed
                                             05/15/23
                                                10/15/23
                                                       PagePage
                                                            23 of23
                                                                  77of 77


U.S. Patent        Jan. 6, 2015     Sheet 19 of 30          US 8,926,490 B2




                                                     2606




                           Figure 26
  CaseCase
       5:23-cv-00626-XR
           5:23-cv-00626 Document
                         Document2-1
                                  10-1Filed
                                          Filed
                                             05/15/23
                                                10/15/23
                                                       PagePage
                                                            24 of24
                                                                  77of 77


U.S. Patent        Jan. 6, 2015      Sheet 20 of 30       US 8,926,490 B2




                              2758




                           S-                                   2707b
                                                                 2782b




                                  Figure 27
  CaseCase
       5:23-cv-00626-XR
           5:23-cv-00626 Document
                         Document2-1
                                  10-1Filed
                                          Filed
                                             05/15/23
                                                10/15/23
                                                       PagePage
                                                            25 of25
                                                                  77of 77


U.S. Patent        Jan. 6, 2015     Sheet 21 of 30          US 8,926,490 B2




                                                     2806




                           Figure 28
  CaseCase
       5:23-cv-00626-XR
           5:23-cv-00626 Document
                         Document2-1
                                  10-1Filed
                                          Filed
                                             05/15/23
                                                10/15/23
                                                       PagePage
                                                            26 of26
                                                                  77of 77


U.S. Patent          Jan. 6, 2015   Sheet 22 of 30        US 8,926,490 B2




                2.997:




                3095 a




                3095




                               Figure 30
  CaseCase
       5:23-cv-00626-XR
           5:23-cv-00626 Document
                         Document2-1
                                  10-1Filed
                                          Filed
                                             05/15/23
                                                10/15/23
                                                       PagePage
                                                            27 of27
                                                                  77of 77


U.S. Patent        Jan. 6, 2015       Sheet 23 of 30      US 8,926,490 B2




               A(f) -Ge(-(f-s)/2d)
                                  Figure 31

                                   S+1 Hz

               H(X, A) = XX(f) - A(f)
                                  Figure 32
  CaseCase
       5:23-cv-00626-XR
           5:23-cv-00626 Document
                         Document2-1
                                  10-1Filed
                                          Filed
                                             05/15/23
                                                10/15/23
                                                       PagePage
                                                            28 of28
                                                                  77of 77


U.S. Patent          Jan. 6, 2015    Sheet 24 of 30              US 8,926,490 B2




                                               *::::::::::::::




              iteration
                  :




               Exexix. 8




                                       : SS;

                                 Frequency six
                                Figure 34
  CaseCase
       5:23-cv-00626-XR
           5:23-cv-00626 Document
                         Document2-1
                                  10-1Filed
                                          Filed
                                             05/15/23
                                                10/15/23
                                                       PagePage
                                                            29 of29
                                                                  77of 77


U.S. Patent                                               US 8,926,490 B2




           | | M?        |




              y",...) 3 fill:
  CaseCase
       5:23-cv-00626-XR
           5:23-cv-00626 Document
                         Document2-1
                                  10-1Filed
                                          Filed
                                             05/15/23
                                                10/15/23
                                                       PagePage
                                                            30 of30
                                                                  77of 77


U.S. Patent                                               US 8,926,490 B2




               J., &pid...It
  CaseCase
       5:23-cv-00626-XR
           5:23-cv-00626 Document
                         Document2-1
                                  10-1Filed
                                          Filed
                                             05/15/23
                                                10/15/23
                                                       PagePage
                                                            31 of31
                                                                  77of 77


U.S. Patent        Jan. 6, 2015     Sheet 27 Of 30        US 8,926,490 B2




                              Figure 36b
  CaseCase
       5:23-cv-00626-XR
           5:23-cv-00626 Document
                         Document2-1
                                  10-1Filed
                                          Filed
                                             05/15/23
                                                10/15/23
                                                       PagePage
                                                            32 of32
                                                                  77of 77


U.S. Patent         Jan. 6, 2015       Sheet 28 of 30     US 8,926,490 B2




                                                  High
                                                  High

                                                  High




                                   Figure 37


                                                                      *




                                                                 $9
                                                                 $3
                                                                 $2




               ||                  Figure 38
                                                         ||
  CaseCase
       5:23-cv-00626-XR
           5:23-cv-00626 Document
                         Document2-1
                                  10-1Filed
                                          Filed
                                             05/15/23
                                                10/15/23
                                                       PagePage
                                                            33 of33
                                                                  77of 77


U.S. Patent             Jan. 6, 2015           Sheet 29 Of 30               US 8,926,490 B2


         HAMD                                Figure 39

                                                                   -O-SHAM
         -2 -l                                                      - A - NEST




                 SHAM         Week 1         Week 2       Week 3        Week 4




            OO                               Figure 40

             80

    Change 60
    in
    HAMD

            40



            20


            O www.



                        -50            -25            O            25        50
                                         Change in Alpha Q
  CaseCase
       5:23-cv-00626-XR
           5:23-cv-00626 Document
                         Document2-1
                                  10-1Filed
                                          Filed
                                             05/15/23
                                                10/15/23
                                                       PagePage
                                                            34 of34
                                                                  77of 77


U.S. Patent        Jan. 6, 2015          Sheet 30 of 30                        US 8,926,490 B2




                                                                *::::: is s:



                                  E.
                       cS: refe3s in 3rtita frantal cortex i:

                              Figure 42
       CaseCase
            5:23-cv-00626-XR
                5:23-cv-00626 Document
                              Document2-1
                                       10-1Filed
                                               Filed
                                                  05/15/23
                                                     10/15/23
                                                            PagePage
                                                                 35 of35
                                                                       77of 77


                                                        US 8,926,490 B2
                                1.                                                                        2
        SYSTEMS AND METHODS FOR                                        fit than that of the first gain, shifting the standard of deviation,
       DEPRESSION TREATMENT USING                                      d, up or down slightly from the first standard of deviation,
   NEURO-EEG SYNCHRONIZATION THERAPY                                   determining a new standard of deviation resulting in a better
                                                                       fit than that of the first standard of deviation, shifting the mean
                  RELATED APPLICATIONS                                 frequency, S, up or down slightly from the first mean fre
                                                                       quency, determining a new mean frequency resulting in a
   This application claims the benefit of U.S. Provisional better fit than that of the first mean frequency, and repeating
Patent Application No. 61/260,785, filed Nov. 12, 2009, and steps 2), 3), and 4), in which the first gain, the first standard of
is a continuation in part of U.S. patent application Ser. No. deviation, and the first mean frequency are replaced with a
12/237,328 filed Sep. 24, 2008, now U.S. Pat. No. 8,480,554, 10 second gain, a second standard of deviation, and a second
the contents of which are herein incorporated by reference in mean            frequency, respectively, until the three parameters are
their entirety.                                                        optimized, comparing the intrinsic frequency from step (a) to
           BACKGROUND OF THE INVENTION                                 an average intrinsic frequency of a healthy population data
                                                                    15 base; if the intrinsic frequency from step (a) is higher than the
   Mental disorders generate serious problems for the average intrinsic frequency of the healthy population data
affected people, their families, and Society. Currently, psy base, shifting down the intrinsic frequency of the Subject by
chiatrists and neurophysiologists treat these disorders with a applying a magnetic field close to a head of the Subject,
variety of medications, many of which have significant nega wherein said magnetic field has a frequency lower than the
tive side effects.                                                     intrinsic frequency of the subject; and if the intrinsic fre
   Repetitive Transcranial Magnetic Stimulation (rTMS) uses quency from step (a) is lower than the average intrinsic fre
an electromagnet placed on the scalp that generates a series of quency of the healthy population database, shifting up the
magnetic field pulses roughly the strength of an MRI scan. intrinsic frequency of the Subject by applying a magnetic field
Some studies have shown that rTMS can reduce the negative close to a head of the Subject, wherein said magnetic field has
symptoms of schizophrenia and depression under certain cir 25 a frequency higher than the intrinsic frequency of the Subject.
cumstances. To generate low frequency magnetic field pulses                Provided herein is a method of using a Transcranial Mag
using an electromagnet such as in rTMS requires high cur netic Stimulation (TMS) device for influencing an intrinsic
rent. Over time, this high current results in significant heat frequency of a subject within a specified EEG band, compris
that must be actively dissipated.                                      ing: adjusting output of said TMS device; changing EEG
                                                                    30 frequency, Q-factor, or coherence by repetitive firing of a
              SUMMARY OF THE INVENTION                                 magnetic field using said TMS device; and applying said
                                                                       magnetic field close to a head of the subject, wherein the
   Described are methods and systems for novel, inexpensive, intrinsic frequency of the subject within the specified EEG
easy to use therapy for a number of mental disorders. band is determined by: obtaining EEG data of the subjects
Described are methods and devices to treat mental disorders 35 brain; removing any DC component in the signal; performing
that involve no medication. Methods and devices described              a Fast Fourier Transformation, X(f), on the EEG data; and
herein gently “tune' the brain and affect mood, focus, and achieving a fitted Gaussian curve, A(f), of the EEG data by:
cognition of human Subjects. Methods and devices described using the equation A(f)=Ge-O-2d) (also depicted in FIG.
herein gently “tune' the brain and affect mood, focus, and 31), wherein G is gain, d is standard deviation, and S is the
cognition of Subjects.                                              40 mean frequency based on the specified EEG band, and deter
   In one aspectare methods of treating a subject, comprising:         mining a goodness of fit measure by optimizing using the
(a) adjusting output of a magnetic field for influencing an following equation
intrinsic frequency of a specified EEG band of the subject
toward a pre-selected or target intrinsic frequency of the
specified EEG band; and (b) applying said magnetic field 45
close to a head of the subject.
   Provided herein are methods of treating a Subject, compris
ing determining the intrinsic frequency (f) of the Subject
within the specified EEG band by: obtaining EEG data of the (also depicted in FIG. 32), by: estimating a first mean fre
Subject’s brain; removing any DC component in the signal; 50 quency, a first standard of deviation, and first gain for the first
performing a Fast Fourier Transformation, X(f), on the EEG optimizing loop, shifting the gain, G, up or down slightly
data; and achieving a fitted Gaussian curve, A(f), of the EEG from the first gain, determining a new gain resulting in a better
data by: using the equation A(f)=Ge''' (also depicted fit than that of the first gain, shifting the standard of deviation,
in FIG. 31), wherein G is gain, d is standard deviation, and s d, up or down slightly from the first standard of deviation,
is the mean frequency based on the specified EEG band, and 55 determining a new standard of deviation resulting in a better
determining a goodness of fit measure by optimizing using fit than that of the first standard of deviation, shifting the mean
the following equation                                                 frequency, S, up or down slightly from the first mean fre
                                                                       quency, determining a new mean frequency resulting in a
                                                                       better fit than that of the first mean frequency, and repeating
                                                                    60 steps 2), 3), and 4), in which the first gain, the first standard of
                                                                       deviation, and the first mean frequency are replaced with a
                                                                       second gain, a second standard of deviation, and a second
                                                                       mean frequency, respectively, until the three parameters are
(also depicted in FIG. 32), by: estimating a first mean fre optimized.
quency, a first standard of deviation, and first gain for the first 65 In some embodiments, the method comprises the step of
optimizing loop, shifting the gain, G, up or down slightly measuring EEG data of the Subject after the applying step. In
from the first gain, determining a new gain resulting in a better Some embodiments, the method comprises the steps of
      CaseCase
           5:23-cv-00626-XR
               5:23-cv-00626 Document
                             Document2-1
                                      10-1Filed
                                              Filed
                                                 05/15/23
                                                    10/15/23
                                                           PagePage
                                                                36 of36
                                                                      77of 77


                                                      US 8,926,490 B2
                               3                                                                4
adjusting frequency of said magnetic field based on the EEG         In some embodiments, at least one of the intrinsic fre
data of the Subject; and repeating the applying step with an quency and the fitted Gaussian curve is used to determine a
adjusted frequency. In some embodiments, applying of the Q-factor of the intrinsic frequency within the specified EEG
magnetic field applies the magnetic field to a diffuse area in a band of the subject.
brain of the Subject. In some embodiments, the magnetic field       In some embodiments, at least one of the intrinsic fre
is generated by movement of at least one permanent magnet. quency and the fitted Gaussian curve is used to determine a
In some embodiments, said movement comprises at least one coherence value of intrinsic frequencies among multiple sites
of rotational motion, linear motion, and Swing motion. In in the brain of a subject within a specified EEG band.
Some embodiments, a frequency of the magnetic field with            In some embodiments, at least one of the intrinsic fre
the specified EEG band is from about 0.5Hz to about 100 Hz. 10 quency and the fitted Gaussian curve is used to determine an
In some embodiments, the strength of the at least one perma EEG phase between two sites in the brain of a subject of a
nent magnet is from about 10 Gauss to about 4 Tesla. In some specified EEG frequency.
embodiments, the distance between the at least one perma            In some embodiments, shifting the standard of deviation
nent magnet and the Subject is from about/32 into about 12 in. 15 comprises a shift from the first standard deviation of at least
In Some embodiments, the step of applying the magnetic field one of about 0.005, about 0.01, about 0.02, about 0.05, about
is for about 5 minutes to about two hours. In some embodi            0.1, about 0.2, about 0.5, about 0.6, about 0.7, about 0.75,
ments, the method comprises repeating the applying step after about 0.8, about 0.9, about 1.0, about 1.1, about 1.2, about 1.5,
an interval about 6 hours to about 14 days.                          about 1.75, about 2.0, and about 2.5. As used herein, the term
   In some embodiments, the method comprises: (a) locating “about when used in reference to standard deviation can
a first electrode operable to detect electrical brain activity on mean variations of 1%, 10%, 20%, 25%, 50%, 1%-5%,
the subject in at least one of an area of low electrical resistivity 1%-10%, 5% to 10%, 10% to 20%, 10% to 50%, 10% to 25%,
on a Subject, and an area with Substantially no electrical           and/or 25% to 50%.
impulse interference on a Subject; (b) locating a second elec          In some embodiments, shifting the gain comprises a shift
trode operable to detect a reference signal on the Subject; and 25 from the first gain of at least one of about 0.005, about 0.01,
(c) determining the intrinsic frequency from the electrical about 0.02, about 0.05, about 0.1, about 0.2, about 0.5, about
brain activity detected by the first electrode and the reference 0.6,    about 0.7, about 0.75, about 0.8, about 0.9, about 1.0,
                                                                     about  1.1, about 1.2, about 1.5, about 1.75, about 2.0, and
signal detected by the second electrode.
   In some embodiments, the method improves an indication 30 reference toAsgainused
                                                                     about 2.5.
                                                                                      can
                                                                                          herein, the term “about when used in
                                                                                           mean variations of 1%, 10%, 20%, 25%,
selected from the group consisting of replacement for medi 50%, 1%-5%, 1%-10%,
tation, quick nap, stress release, attention span, comprehen 50%, 10% to 25%, and/or5%              to 10%, 10% to 20%, 10% to
                                                                                                25% to 50%.
Sion, memory, lowered blood pressure, increased libido,                In some embodiments, shifting the mean frequency com
sports performance, academic performance, increased blood prises a shift from the first mean frequency of at least one of
flow, lowered blood flow, increased metabolism, lowered 35 about 0.005, about 0.01, about 0.02, about 0.05, about 0.1,
metabolism, and any combination thereof.                          about 0.2, about 0.5, about 0.6, about 0.7, about 0.75, about
   In some embodiments, the method improves a disorder 0.8, about 0.9, about 1.0, about 1.1, about 1.2, about 1.5, about
selected from the group consisting of depression, bipolar,        1.75, about 2.0, and about 2.5. As used herein, the term
anxiety, obsessive-compulsive, seizure, Parkinson's disease, "about when used in reference to mean frequency can mean
ADHD, autism, substance abuse, head injury, Alzheimer's 40 variations of 1%, 10%, 20%, 25%, 50%, 1%-5%, 1%-10%,
disease, eating disorder, sleep disorder, tinnitus, fibromyal 5% to 10%, 10% to 20%, 10% to 50%, 10% to 25%, and/or
gia, and any combination thereof.                                 25% to 50%.
   In some embodiments, the method improves a character               Provided herein is a device comprising: at least one per
istic selected from the group consisting of peripheral visual manent magnet, a subunit coupled to the magnet, wherein the
response, attention span, immediate reaction time (IRT), 45 Subunit enables movement of said at least one permanent
movement time (MT), simple perceptual reaction time (SPR), magnet at a frequency between about 0.5 Hz and about 100
conflict perceptual reaction time (CPR), and any combination HZ, and logic that is operable to determine an intrinsic fre
thereof.                                                          quency (f) of a brain of a subject within a specified EEG band
   In some embodiments, the magnetic field results from a by: obtaining EEG data of the subject’s brain; removing any
first magnetic source and a second magnetic source. In some 50 DC component in the signal; performing a Fast Fourier Trans
embodiments, the first magnetic source and the second mag formation, X(f), on the EEG data; achieving a fitted Gaussian
netic source are out of phase relative to each other.             curve, A(f), of the EEG data by: using the equation
   In some embodiments, the EEG band is the alphaband, and A(f)=Ge''' (also depicted in FIG. 31), wherein G is
the mean frequency ranges from about 8 Hz to about 13 Hz.         gain, d is standard deviation, and S is the mean frequency
   In Some embodiments, removing the DC component of the 55 based on the specified EEG band, and determining a goodness
signal comprises filtering the EEG data with a 10th order 3 Hz of fit measure by optimizing using the following equation
high-pass IIR filter. In some embodiments, removing the DC
component of the signal comprises filtering the EEG data
twice with a 10th order 3 Hz high-pass IIR filter.
   In some embodiments, the EEG data comprises about 30 60
seconds worth of EEG data at about 256 samples per second.
   In some embodiments, the first gain is about one fourth ("/4)
of the peak value of a peak value of the Fast Fourier Trans also depicted in FIG. 32), by: estimating a first mean fre
formation of the EEG data.                                        quency, a first standard of deviation, and first gain for the first
   In Some embodiments, a second optimization is performed 65 optimizing loop, shifting the gain, G, up or down slightly
having a first gain of at least about 1.5 times the peak value of from the first gain, determining a new gain resulting in a better
the Fast Fourier Transformation of the EEG data.                  fit than that of the first gain, shifting the standard of deviation,
       CaseCase
            5:23-cv-00626-XR
                5:23-cv-00626 Document
                              Document2-1
                                       10-1Filed
                                               Filed
                                                  05/15/23
                                                     10/15/23
                                                            PagePage
                                                                 37 of37
                                                                       77of 77


                                                        US 8,926,490 B2
                                  5                                                                     6
d, up or down slightly from the first standard of deviation, 0.8, about 0.9, about 1.0, about 1.1, about 1.2, about 1.5, about
determining a new standard of deviation resulting in a better 1.75, about 2.0, and about 2.5. As used herein, the term
fit than that of the first standard of deviation, shifting the mean "about when used in reference to mean frequency can mean
frequency, S, up or down slightly from the first mean fre variations of 1%, 10%, 20%, 25%, 50%, 1%-5%, 1%-10%,
quency, determining a new mean frequency resulting in a 5% to 10%, 10% to 20%, 10% to 50%, 10% to 25%, and/or
better fit than that of the first mean frequency, and repeating 25% to 50%.
steps 2), 3), and 4), in which the first gain, the first standard of       In another aspect are methods of altering an intrinsic fre
deviation, and the first mean frequency are replaced with a quency of a brain of a subject within a specified EEG band,
second gain, a second standard of deviation, and a second
mean frequency, respectively, until the three parameters are 10 comprising:
                                                                        subject
                                                                                      (a) determining the intrinsic frequency of the
                                                                                 within  the specified EEG band; (b) comparing the
optimized,
    In some embodiments, the device is operable to at least one quency of a healthyfrom
                                                                        intrinsic frequency        step (a) to an average intrinsic fre
of influence the intrinsic frequency of the brain of a subject frequency from step (a) is higherdatabase;
                                                                                               population
                                                                                                             than  the
                                                                                                                      (c) if the intrinsic
                                                                                                                       average intrinsic
within the specified EEG band; influence a Q-factor of the frequency of the healthy population database,                   shifting down
intrinsic frequency; influence a coherence of intrinsic fre the intrinsic frequency of the Subject by applying
                                                                     15
                                                                                                                               a specific
quencies among multiple sites in the brain of a subject within
a specified EEG band; and influence an EEG phase between magnetic field close to a head of the Subject, wherein said
two sites in the brain of a subject of a specified EEG fre specific magnetic field has a frequency lower than the intrin
quency.                                                                 sic frequency of the Subject; and (d) if the intrinsic frequency
    In some embodiments, a magnetic field is generated by from step (a) is lower than the average intrinsic frequency of
movement of at least the permanent magnet. In some embodi the healthy population database, shifting up the intrinsic fre
ments, said movement comprises at least one of rotational quency of the Subject by applying a specific magnetic field
motion, linear motion, and Swing motion.                                close to a head of the Subject, wherein said specific magnetic
    In some embodiments, the device comprises logic that field has a frequency higher than the intrinsic frequency of the
controls the frequency in increments of about 0.1 Hz.                25 Subject.
    In some embodiments, the device improves an indication                 In another aspect are methods of treating a subject, com
selected from the group consisting of replacement for medi prising: (a) adjusting output of a magnetic field for influenc
tation, quick nap, stress release, attention span, comprehen ing a Q-factor, a measure of frequency selectivity of a speci
Sion, memory, lowered blood pressure, increased libido, fied EEG band, of the subject toward a pre-selected or target
sports performance, academic performance, increased blood 30 Q-factor of the band; and (b) applying said magnetic field
flow, lowered blood flow, increased metabolism, lowered                 close to a head of the subject.
metabolism, and any combination thereof.                                   In another aspect are methods of treating a subject, com
    In some embodiments, the device improves a disorder prising: determining the Q-factor of the intrinsic frequency
selected from the group consisting of depression, bipolar, within the specified EEG band of the subject; comparing the
anxiety, obsessive-compulsive, seizure, Parkinson's disease, 35 Q-factor of the intrinsic frequency from step (a) to an average
ADHD, autism, substance abuse, head injury, Alzheimer's Q-factor of the intrinsic frequency of a healthy population
disease, eating disorder, sleep disorder, tinnitus, fibromyal database; if the Q-factor of the intrinsic frequency from step
gia, and any combination thereof.                                       (a) is higher than the average Q-factor of the intrinsic fre
    In some embodiments, the device improves a characteristic quency of the healthy population database, tuning down the
selected from the group consisting of peripheral visual 40 Q-factor of the intrinsic frequency of the Subject by applying
response, attention span, immediate reaction time (IRT), a magnetic field with a plurality of frequencies or with a
movement time (MT), simple perceptual reaction time (SPR),              single pre-selected frequency close to a head of the Subject;
conflict perceptual reaction time (CPR), and any combination and if the Q-factor of the intrinsic frequency from step (a) is
thereof.                                                                lower than the average Q-factor of the intrinsic frequency of
    In some embodiments, shifting the standard of deviation 45 the healthy population database, tuning up the Q-factor of the
comprises a shift from the first standard deviation of at least intrinsic frequency of the Subject by applying a magnetic field
one of about 0.005, about 0.01, about 0.02, about 0.05, about           with a pre-selected frequency to a head of the Subject.
0.1, about 0.2, about 0.5, about 0.6, about 0.7, about 0.75,               In another aspect are methods of treating a subject, com
about 0.8, about 0.9, about 1.0, about 1.1, about 1.2, about 1.5,       prising: (a) adjusting output of a magnetic field for influenc
about 1.75, about 2.0, and about 2.5. As used herein, the term 50 ing a coherence of intrinsic frequencies among multiple sites
“about when used in reference to standard deviation can                 in a brain of the subject within a specified EEG band toward
mean variations of 1%, 10%, 20%, 25%, 50%, 1%-5%,                       a pre-selected or target coherence value; and (b) applying said
1%-10%, 5% to 10%, 10% to 20%, 10% to 50%, 10% to 25%,                  magnetic field close to a head of the Subject
and/or 25% to 50%.                                                         In another aspect are methods adjusting output of a mag
    In some embodiments, shifting the gain comprises a shift 55 netic field for influencing a coherence of intrinsic frequencies
from the first gain of at least one of about 0.005, about 0.01, among multiple sites in a brain of the Subject within a speci
about 0.02, about 0.05, about 0.1, about 0.2, about 0.5, about          fied EEG band toward a pre-selected or target coherence
0.6, about 0.7, about 0.75, about 0.8, about 0.9, about 1.0,            value comprising: determining the coherence value of the
about 1.1, about 1.2, about 1.5, about 1.75, about 2.0, and             intrinsic frequencies among multiple locations throughout a
about 2.5. As used herein, the term “about when used in 60 Scalp of the Subject; comparing the coherence value from step
reference to gain can mean variations of 1%, 10%, 20%, 25%,             (a) to an average coherence value of a healthy population
50%, 1%-5%, 1%-10%, 5% to 10%, 10% to 20%, 10% to                       database; if the coherence value from step (a) is higher than
50%, 10% to 25%, and/or 25% to 50%.                                     the average coherence value of the healthy population data
    In some embodiments, shifting the mean frequency com base, lowering the coherence value of the Subject by applying
prises a shift from the first mean frequency of at least one of 65 at least two asynchronous magnetic fields close to a head of
about 0.005, about 0.01, about 0.02, about 0.05, about 0.1,             the subject; if the coherence value from step (a) is lower than
about 0.2, about 0.5, about 0.6, about 0.7, about 0.75, about           the average coherence value of the healthy population data
      CaseCase
           5:23-cv-00626-XR
               5:23-cv-00626 Document
                             Document2-1
                                      10-1Filed
                                              Filed
                                                 05/15/23
                                                    10/15/23
                                                           PagePage
                                                                38 of38
                                                                      77of 77


                                                      US 8,926,490 B2
                                   7                                                                 8
base, raising the coherence value of the Subject by applying at wherein applying the magnetic field influences the deter
least one synchronized magnetic field close to a head of the mined EEG phase toward the average EEG phase of a healthy
Subject.                                                             population.
   In another aspectare methods of using a Transcranial Mag            In another aspect are methods for using a Transcranial
netic Stimulation (TMS) device for influencing an intrinsic Magnetic Stimulation (TMS) device for influencing an EEG
frequency of a subject within a specified EEG band, compris phase of a Subject of a specified EEG frequency, comprising:
ing: (a) adjusting output of said TMS device; (b) changing (a) adjusting output of said TMS device; (b) changing the
EEG frequency, Q-factor, or coherence by repetitive firing of EEG phase by repetitive firing of at least one magnetic field
a magnetic field using said TMS device; and (c) applying said 10 using said TMS device; and (c) applying said magnetic field
magnetic field close to a head of the Subject;                       close to a head of the subject.
   In another aspect are methods of treating anxiety in a              In some embodiments, the magnetic field results from a
Subject, comprising tuning up the Q-factor of an intrinsic first magnetic source and a second magnetic source. In some
frequency of the Subject by applying a magnetic field close to embodiments, the first magnetic source and the second mag
ahead of the Subject, wherein the magnetic field comprises at 15 netic source are out of phase relative to each other. In some
least one of (a) a single pre-selected frequency; (b) a plurality embodiments, the amount that the first magnetic source and
offrequencies within a specified EEG band; and (c) an intrin the second magnetic source are out of phase relative to each
sic frequency of a brain of the subject within a specified EEG other is called the magnetic phase.
band. In some embodiments, any of the devices described                In some embodiments, the methods described are with the
herein may be used to treat anxiety.                                 proviso that the methods are not used to treat Schizophrenia.
   In some embodiments, are method of treating depression in           In some embodiments of at least one aspect described
a subject, comprising tuning down the Q-factor of an intrinsic above, the step of applying the magnetic field is for a pre
frequency of the Subject by applying a magnetic field close to determined cumulative treatment time. In some embodiments
ahead of the Subject, wherein the magnetic field comprises at of at least one aspect described herein, the pre-selected or
least one of (a) a single frequency; (b) a plurality of frequen 25 target intrinsic frequency with the specified EEG band is from
cies within a specified EEG band; and (c) an intrinsic fre about 0.5 Hz to about 100 Hz. In some embodiments of at
quency of a brain of the subject within a specified EEG band. least one aspect described above, the pre-selected or target
In some embodiments, any of the devices described herein intrinsic            frequency with the specified EEG band is from about
                                                                     1 Hz to about 100 Hz. In some embodiments of at least one
may be used to treat depression.
   In another aspect are methods for treating a Subject, com 30 aspect described above, the pre-selected or target intrinsic
prising: (a) adjusting output of a magnetic field for influenc frequency with the specified EEG band is not greater than
                                                                     about 50 Hz. In some embodiments of at least one aspect
ing an EEG phase between two sites in the brain of a subject described
of a specified EEG frequency toward a pre-selected EEG with the specified       above, the pre-selected or target intrinsic frequency
phase of the specified EEG frequency; and (b) applying said 35 In some embodiments      EEG band is not greater than about 30 Hz.
magnetic field close to a head of the Subject.                                               of at least one aspect described above,
                                                                     the pre-selected or target intrinsic frequency with the speci
   In some embodiments, the pre-selected EEG phase is lower fied EEG band is not greater than about 20 Hz. In some
than the EEG phase between the two sites in the brain of the embodiments of at least one aspect described above, the pre
subject. In some embodiments, the pre-selected EEG phase is selected or target intrinsic frequency with the specified EEG
any EEG phase lower than the EEG phase between the two 40 band is not greater than about 10 Hz. In some embodiments of
sites in the brain of the subject. In some embodiments, the at least one aspect described above, the pre-selected or target
pre-selected EEG phase is higher than the EEG phase intrinsic frequency with the specified EEG band is greater
between the two sites in the brain of the subject. In some than about 3 Hz. In some embodiments of at least one aspect
embodiments, the pre-selected EEG phase is any EEG phase described above, the pre-selected or target intrinsic frequency
higher than the EEG phase between the two sites in the brain 45 with the specified EEG band is greater than about 1 Hz. In
of the subject. In some embodiments, the pre-selected EEG            Some embodiments, of at least one aspect described above,
phase is an EEG phase of a population of people. The popu the pre-selected or target intrinsic frequency with the speci
lation of people may be a set of people having a particular fied EEG band is up to about 25 Hz. As used herein, the term
trait, characteristic, ability, or feature. The population may be "about when referring to a frequency can mean variations of
a healthy population of people. The population of people may 50 0.1 Hz to 0.2 Hz, 0.1 Hz to 0.5 Hz, 0.5 Hz to 1 Hz, or 1 Hz to
be a set of people not having a particular disorder, such as 5 Hz. In some embodiments, applying of the magnetic field is
anxiety, depression, or other disorders mentioned herein. In to the motor cortex of the subject.
Some embodiments, the methods comprise measuring EEG                   In some embodiments, the pre-selected and/or target intrin
data of two sites in the brain of the Subject, and calculating the sic frequency is chosen from a plurality of intrinsic frequen
EEG phase between the two sites in the brain of a subject. The 55 cies in the specified EEG band. In some embodiments the
specified EEG frequency may be an intrinsic frequency as pre-selected and/or target intrinsic frequency is chosen from
described herein. The specified EEG frequency may be a a plurality of intrinsic frequencies across a plurality of EEG
pre-selected frequency as described herein. The pre-selected bands. In some embodiments the specified EEG band is the
frequency may be an average intrinsic frequency of a healthy Alphaband. In some embodiments the specified EEG band is
population database within a specified EEG band.                  60 the Beta band.
   In another aspect are methods for influencing an EEG                In some embodiments of at least one aspect described
phase of a specified EEG frequency between multiple loca above, the methods further comprise the step of measuring
tions of a brain of a Subject, comprising: (a) determining the EEG data of the subject before the applying step. In some
EEG phase the between at least two locations measured on the embodiments of at least one aspect described above, said
head of the subject; (b) comparing the EEG phase from step 65 higher frequency is not greater than about 50 Hz. In some
(a) to an average EEG phase of a healthy population; and (c) embodiments of at least one aspect described above, said
applying a magnetic field close to a head of the Subject higher frequency is not greater than about 30 Hz.
      CaseCase
           5:23-cv-00626-XR
               5:23-cv-00626 Document
                             Document2-1
                                      10-1Filed
                                              Filed
                                                 05/15/23
                                                    10/15/23
                                                           PagePage
                                                                39 of39
                                                                      77of 77


                                                    US 8,926,490 B2
                                9                                                                  10
   In some embodiments of at least one aspect described               In some embodiments where the step of applying the mag
above, the varying frequencies (e.g. hopping frequencies) are netic field is for a pre-determined cumulative treatment time,
moving average frequencies based on a pre-determined fre said pre-determined cumulative treatment time is at least 5
quency around an intrinsic frequency within a predetermined min. In some embodiments where the step of applying the
frequency range. In some embodiments, the varying frequen magnetic field is for a pre-determined cumulative treatment
cies are randomly selected within a predetermined frequency time, said pre-determined cumulative treatment time is from
range. In some embodiments of at least one aspect described about 5 minto about two hours.
above, the varying frequencies are moving average frequen             In some embodiments of at least one aspect described
cies within a specified EEG band of a healthy population above,             the methods further comprise repeating the applying
database. Those moving average frequencies can change 10 step after
from an initial frequency to a target frequency within a spe interval ofantreatment
                                                                                  interval of treatment. In some embodiments, the
                                                                                           is from about 6 hours to about 14 days.
cific amount of time. In some embodiments of at least one
aspect described above, the varying frequencies are frequen           In some embodiments of at least one aspect described
cies hopping around within a pre-determined frequency above, the method improves an indication selected from the
range. In some embodiments of at least one aspect described 15 group consisting of replacement for meditation, quick nap,
above, the varying frequencies are frequencies hopping stress release, attention span, comprehension, memory, low
around an intrinsic frequency within a specified EEG band of ered blood pressure, increased libido, sports performance,
a healthy population database. In some embodiments of at academic performance, and any combination thereof. In
least one aspect described above, the pre-selected or target Some embodiments of at least one aspect described above, the
frequency is an average intrinsic frequency of a healthy popu method improves a mental disorder selected from the group
lation database within a specified EEG band. In some consisting of depression, bipolar, anxiety, obsessive-compul
embodiments of at least one aspect described above, the pre sive, seizure, Parkinson's disease, ADHD, autism, Substance
selected or target frequency is an intrinsic frequency of a brain abuse, head injury, Alzheimer's disease, eating disorder,
of the subject within a specified EEG band.                         sleep disorder, tinnitus, and any combination thereof. In some
   In some embodiments of at least one aspect described 25 embodiments of at least one aspect described above, the
above, the methods further comprise the step of measuring method improves symptoms of fibromyalgia. In some
EEG data of the subject after the applying step. In some embodiments of at least one aspect described above, the
embodiments, further comprising the steps of:                       method halts the onset of a seizure. In some embodiments of
adjusting frequency of said magnetic field based on the EEG at least one aspect described above, the method prevents the
data of the Subject; and repeating the applying step with an 30 onset of a seizure. In some embodiments of at least one aspect
adjusted frequency.
   In some embodiments of at least one aspect described described               above, the method improves a characteristic
                                                                    selected from the group consisting of peripheral visual
above, the applying of the magnetic field is continuous, in that response,     attention span, immediate reaction time (IRT),
it does not consist of discrete pulses separated by significant
sections in which no magnetic field is applied. In some 35 movement time (MT), simple perceptual reaction time (SPR),
embodiments of at least one aspect described above, the mag conflict perceptual reaction time (CPR), and any combination
netic field is continuously applied. A magnetic field that is thereof. In some embodiments of at least one aspect described
continuously applied may alternate between a positive and above, the method provides an improvement as measured
negative field and include one or more neutral field(s), or using a rating scale selected from the group consisting of
alternate between a positive field and a neutral field, or alter 40 HAMA, HAMD, PANSS, MADRS, BARS, SAS, and any
nate between a negative field and a neutral field, or some other combination thereof. In some embodiments of at least one
combination of magnetic fields. It is continuous in the sense aspect described above, the method provides an improvement
that it has a repetitive pattern (waveform) of charged fields as measured using the Unified Parkinson's Rating Scale. In
(whether positive, negative, or a combination thereof) and Some embodiments of at least one aspect described above, the
uncharged fields. In some embodiments of at least one aspect 45 method provides an improvement as measured using a modi
described above, the applying of the magnetic field applies fied Unified Parkinson's Rating Scale. In some embodiments
the magnetic field to a diffused area in a brain of the subject. of at least one aspect described above, the method uses a
   In some embodiments of at least one aspect described Permanent Magneto-EEG Resonant Therapy (pMERT)
above, the magnetic field is generated by movement of at least device (alternatively called a Neuro-EEG Synchronization
one permanent magnet. In some embodiments, said move 50 Therapy (NEST) device). In some embodiments of at least
ment comprises rotation of at least one said permanent mag one aspect described above, the method uses a device
net. In some embodiments, said movement comprises linear described herein. In some embodiments of at least one aspect
motion of at least one said permanent magnet. In some described above, the method does not use a Transcranial
embodiments, said movement comprises curvilinear motion Magnetic Stimulation (TMS) device.
of at least one said permanent magnet. In some embodiments, 55 In another aspect are devices comprising,
said movement comprises at least one of rotational motion,            (a) at least one permanent magnet; and
linear motion, and Swing motion. In some embodiments, the             (b) a subunit coupled to the magnet;
strength of the at least one permanent magnetic is from about wherein the subunit enables movement of at least one said
10 Gauss to about 4 Tesla. In some embodiments, the distance        magnet at a frequency between about 0.5 Hz and about 100
between the at least one permanent magnet and the Subject is 60 HZ.
from about 0 inches to about 12 inches, from about/32 inches          In another aspect are devices comprising,
to about 12 inches, from about/16 inches to about 5 inches, or        (a) at least one permanent magnet; and
from about 1 inch to about 5 inches. As used herein, the term         (b) a subunit coupled to the magnet;
“about when referring to distance between the at least one wherein the subunit enables movement of at least one said
permanent magnet and the Subject can mean variations of/64 65 magnet at a frequency between about 2 Hz, and about 20 Hz.
inch, /32 inch, /16 inch, /8 inch, /4 inch, /3 inch, /2 inch, or 1    In another aspect are devices comprising a means for
inch.                                                               applying a magnetic field to a head of a Subject; whereby the
      CaseCase
           5:23-cv-00626-XR
               5:23-cv-00626 Document
                             Document2-1
                                      10-1Filed
                                              Filed
                                                 05/15/23
                                                    10/15/23
                                                           PagePage
                                                                40 of40
                                                                      77of 77


                                                   US 8,926,490 B2
                               11                                                               12
means for applying the magnetic field is capable of influenc frequency in response to EEG readings of a subject before
ing an intrinsic frequency of a brain of the Subject within a and/or during treatment. In some embodiments of at least one
specified EEG band.                                             aspect described above, the devices further comprise logic
   In another aspect are devices comprising a means for that allows a user to set duration of a treatment before said
applying a magnetic field to a head of a Subject; whereby the treatment. In some embodiments, the user may be, for non
means for applying the magnetic field is capable of influenc limiting example, a patient, a therapist, a psychiatrist, a psy
ing a Q-factor of an intrinsic frequency of a brain of the chologist, a neurologist, a family doctor, a general practitio
subject within a specified EEG band.                            ner, a another medical professional, or a person treating a
   In another aspect are devices comprising a means for patient. In some embodiments, the user is not a patient.
applying a magnetic field to a head of a Subject; whereby the 10 In some embodiments of at least one aspect described
means for applying the magnetic field is capable of influenc above, the devices comprise a white noise generator.
ing a coherence of intrinsic frequencies among multiple sites      In some embodiments, the devices further comprise a cou
in a brain of the subject within a specified EEG band.          pling to at least one of an internet line and a phone line. In
   In some embodiments of at least one aspect described Some embodiments, at least a portion of the coupling to the
above, the subunit comprises a rotating mechanism. In some 15 internet line or to the phone line is wireless. The device may
embodiments, said rotating mechanism comprises:                 further comprise a Smart card for storing and transferring
   (a) a motor;                                                 information.
   (b) a power source capable of powering the motor; and           In some embodiments of at least one aspect described
   (c) a rotating element coupled to the motor and coupled to above, the devices further comprise logic that calculates
      the magnet.                                               information from EEG data collected from the subject within
   In some embodiments of at least one aspect described a specified EEG band,
above, said device comprises at least one permanent magnet. wherein said information comprises at least one of items
In some embodiments of at least one aspect described above, listed below:
the strength of the at least one permanent magnet is from          (a) at least one intrinsic frequency;
about 10 Gauss to about 4 Tesla. In some embodiments of at 25      (b) Q-factor of the at least one intrinsic frequency;
least one aspect described above, the magnetic field is an         (c) a coherence value of intrinsic frequencies;
alternating magnetic field.                                        (d) an EEG phase; and
   In some embodiments of at least one aspect described            (e) any combination thereof.
above, the magnetic field is generated by movement of at least     In some embodiments, the devices further comprise logic
one permanent magnet. In some embodiments, the movement 30 that uploads said information through at least one of an inter
of the at least one said magnetis at a frequency between about net line and a telephone line to an EEG data analysis service
0.5 Hz and about 100 Hz. In some embodiments, the move          capable of storing said information. In some embodiments,
ment of the at least one said magnet is at a frequency between said EEG data analysis service is capable of associating the
about 2 Hz, and about 20 Hz.                                     said information with an identification associated with the
   In some embodiments of at least one aspect described 35 Subject.
above, said movement comprises rotation of at least one said        In some embodiments of at least one aspect described
permanent magnet. In some embodiments of at least one above, the devices further comprise logic that uploads EEG
aspect described above, said movement comprises linear data collected from the subject to an EEG data analysis ser
motion of at least one said permanent magnet. In some vice, wherein the EEG data analysis service is capable of
embodiments of at least one aspect described above, said 40 validating information uploaded from the device, wherein
movement comprises Swing motion of at least one said per said information comprises at least one of items listed below:
manent magnet. In some embodiments, said movement com               (a) at least one intrinsic frequency;
prises at least one of rotational motion, linear motion, and        (b) Q-factor of the at least one intrinsic frequency;
Swing motion.                                                       (c) a coherence value of intrinsic frequencies;
   In some embodiments of at least one aspect described 45 (d) an EEG phase; and
above, said movement generates an alternating magnetic              (e) any combination thereof.
field. In some embodiments of at least one aspect described         In some embodiments, said information comprises at least
above, the magnetic field is continuously applied. In some two of the listed items. In some embodiments of at least one
embodiments of at least one aspect described above, the mag aspect described above, further comprising logic that down
netic field covers a diffused area in a brain of a subject. In 50 loads a treatment dosage quota. In some embodiments, the
Some embodiments of at least one aspect described above, the treatment dosage quota is chosen by a user treating the Subject
device is a Permanent Magneto-EEG Resonant Therapy based on a diagnosis of the Subject. In some embodiments, the
(pMERT) device. In some embodiments of at least one aspect treatment dosage quota is chosen by a user who is charged for
described above, the device is a Neuro-EEG Synchronization requesting a download of a cumulative treatment time based
Therapy (NEST) device. As used herein, the terms Neuro 55 on a diagnosis of the Subject. In some embodiments, the user
EEG Synchronization Therapy (NEST) device and Perma is charged by a billing service before, during, or after the
nent Magneto-EEG Resonant Therapy (pMERT) device may download of the dosage quota.
be used interchangeably.                                            In some embodiments of at least one aspect described
   In some embodiments of at least one aspect described above, the devices further comprise logic that uploads a Sub
above, the devices further comprise logic that controls the 60 ject's EEG data through at least one of an internet line and a
frequency to be any frequency between about 2 and about 20 phone line to an EEG data analysis service. In some embodi
HZ in increments of about 0.1 Hz. In some embodiments of at       ments of at least one aspect described above, the devices
least one aspect described above, the devices further comprise further comprise logic that records usage information for
logic that controls the frequency to be any frequency between using the device. In some embodiments, the device further
about 2 and about 50 Hz in increments of about 0.1 Hz. In 65 comprises logic that ceases to deliver treatment after a treat
Some embodiments of at least one aspect described above, the ment dosage quota is depleted. In some embodiments, the
devices further comprise logic that automatically changes the billing service is a vendor of the device. In some embodi
      CaseCase
           5:23-cv-00626-XR
               5:23-cv-00626 Document
                             Document2-1
                                      10-1Filed
                                              Filed
                                                 05/15/23
                                                    10/15/23
                                                           PagePage
                                                                41 of41
                                                                      77of 77


                                                     US 8,926,490 B2
                             13                                                                     14
ments of at least one aspect described above, the devices           (c) based on each Subject and each therapeutic dosage quota
further comprise logic that allows a user to establish a user       administered to each Subject, fields for storing at least one of
acCOunt.                                                            (1) EEG data of the subject,
   In some embodiments, the device comprises at least two (2) intrinsic frequency within a specified EEG band of the
permanent magnets. In some embodiments, the device com Subject,
prises a helmet to be used for a subjects head. In some (3) Q-factor of the intrinsic frequency of the subject
embodiments of at least one aspect described above, the (4) an EEG phase of a specified EEG frequency of the subject,
device comprises a communication Subunit for coupling to an (5) a coherence value of intrinsic frequencies of the Subject,
internet line. In some embodiments of at least one aspect 10 (6)        treatment information of the subject, and
described above, the device comprises a communication Sub (7)Indevice     some
                                                                                usage information for the subject.
                                                                                embodiments, the user information excludes iden
unit for coupling to a phone line. In some embodiments, the tifying information           (e.g. user names).
device comprises a memory Subunit for storing information              In  some   embodiments     of at least one aspect described
during a treatment.                                                 above, the methods further comprise the step of charging at
   In another aspect are methods for ordering a therapeutic 15 least one of the user, the Subject, and an insurance company
dosage quota through internet, comprising,                          associated with the subject a fee for use of the device based on
   (a) receiving a request from a user to access a user account the dosage quota ordered in at least one of the user account
      through internet for ordering the therapeutic dosage and the device.
      quota,                                                           In another aspect are methods for administration of treat
   (b) allowing the user to select at least one desired thera ment of Subjects, comprising,
      peutic dosage quota; and                                         (a) storing data in a device of an individual Subject during
   (c) allowing the downloading ofatherapeutic dosage quota               treatment using the device, wherein the device com
      into a device comprising a means for applying a mag                 prises a means for applying a magnetic field to a head of
      netic field to a head of a subject.                                 the subject;
   The user may be allowed, in Some embodiments, to down 25 (b) retrieving the data of said individual subject from said
load the therapeutic dosage quota. In some embodiment, the                device; and
methods further comprise the step of establishing a user               (c) updating a database for the Subject with the data,
account based on a request from a user for ordering a thera               through at least one of an internet line and a phone line.
peutic dosage quota.                                                   In some embodiments, said data of said individual Subject
   In another aspect are methods for uploading EEG data 30 comprises at least one of EEG data of the subject, at least one
associated with a subject through internet, comprising,             intrinsic frequency within a specified EEG band of the sub
   (a) creating a database for storing a user account associated ject, Q-factor of the intrinsic frequency of the subject, a
      with a user;                                                  coherence value of intrinsic frequencies of the Subject, an
   (b) storing the user account in the database,                    EEG phase of a specified EEG frequency of the subject,
   (c) receiving a request from the user to access the user 35 treatment information of the Subject, and device usage infor
      acCOunt,                                                      mation for the Subject. In some embodiments, the retrieving
   (d) allowing said EEG data to be recorded into a device and updating steps occur upon the Subjects visit to a psychia
      comprising a means for applying a magnetic field to a trist, a therapist, a treatment provider, and/or another type of
      head of the subject;                                          medical professional. In some embodiments, the retrieving
   (e) determining from said EEG data at least one of an 40 and updating steps occur prior to a Subject's visit to a psy
      intrinsic frequency within a specified EEG band, Q-fac chiatrist, atherapist, a treatment provider, and/or another type
      tor of the intrinsic frequency, an EEG phase, and a coher of medical professional. In some embodiments, the retrieving
      ence value of intrinsic frequencies; and                      and updating steps occur following a Subject's visit to a
   (f) allowing the uploading of at least one of the EEG data, psychiatrist, a therapist, a treatment provider, and/or another
      the intrinsic frequency within a specified EEG band, the 45 type of medical professional.
      Q-factor of the intrinsic frequency, the EEG phase, the          In some embodiments of at least one aspect described
      coherence value of intrinsic frequencies, and any com above, the methods or devices use a Transcranial Magnetic
      bination thereof.                                             Stimulation (TMS) device.
   In some embodiments, allowing the user to upload may                Provided herein is a method comprising adjusting an out
include allowing the user to move data from a device as 50 put current of an electric alternating current source for influ
described herein to a database. The method may comprise encing an intrinsic frequency of an EEG band of a subject
receiving a request from the user to access the user account toward a target frequency of the EEG band; and applying said
through at least one of an internet line or a phone line for output current across a head of the Subject.
access to said database. The method may comprise allowing              In some embodiments, the step of adjusting the output
the user to upload at least one of an intrinsic frequency within 55 current comprises setting the output current to a frequency
a specified EEG band, Q-factor of the intrinsic frequency, an that is lower than the intrinsic frequency of the subject.
EEG phase, and a coherence value of intrinsic frequencies.             In some embodiments, the step of adjusting the output
The data may include at least one of the EEG data, an intrinsic current comprises setting the output current to a frequency
frequency within a specified EEG band, Q-factor of the intrin that is higher than the intrinsic frequency of the Subject.
sic frequency, a coherence value of intrinsic frequencies, or 60 In some embodiments, the step of adjusting the output
any combination thereof.                                            current comprises setting the output current to the target
   In some embodiments of at least one aspect described frequency.
above, the device is any device described herein. In some              Provided herein is a method comprising determining the
embodiments of at least one aspect described above, the user intrinsic frequency of the EEG band of the subject; and com
account comprises                                                65 paring the intrinsic frequency to the target frequency of the
(a) user information;                                               EEG band, wherein the target frequency is an average intrin
(b) user access information; and                                    sic frequency of the EEG band of a healthy population of
      CaseCase
           5:23-cv-00626-XR
               5:23-cv-00626 Document
                             Document2-1
                                      10-1Filed
                                              Filed
                                                 05/15/23
                                                    10/15/23
                                                           PagePage
                                                                42 of42
                                                                      77of 77


                                                      US 8,926,490 B2
                               15                                                                     16
people, wherein if the intrinsic frequency is higher than the on the Subject in at least a portion of the ear canal of the
target frequency, the step of adjusting the output current com subject, and wherein the second electrode is located on the
prises setting the output current to a frequency that is lower Subject.
than the intrinsic frequency of the Subject, and if the intrinsic        In some embodiments of the methods described herein, the
frequency is lower than the target frequency, the step of 5 method or methods may comprise locating a first electrode
adjusting the output current comprises setting the output cur operable to detect electrical brain activity on the subject in at
rent to a frequency that is higher than the intrinsic frequency least one of an area of low electrical resistivity on a subject
of the subject.                                                       and an area with Substantially no electrical impulse interfer
   Provided herein is a method comprising adjusting an out 10 ence          on a subject. The method or methods may further com
put current of an electric alternating current source for influ prise       locating a second electrode operable to detect a refer
encing a Q-factor of an intrinsic frequency of an EEG band of furthersignal
                                                                      ence           on the Subject. The method or methods may
                                                                              comprise determining the intrinsic frequency from the
a subject toward a target Q-factor, and applying said output electrical          brain activity detected by the first electrode and the
current across a head of the Subject.                                 reference   signal detected by the second electrode. In some
   In some embodiments, the step of adjusting the output 15 embodiments,               determining the intrinsic frequency may com
current comprises varying a frequency of the output current. prise removing the reference signal detected by the second
   In some embodiments, the step of adjusting the output electrode from the electrical brainactivity detected by the first
current comprises setting the output current to a frequency electrode. The method or methods may further comprise
that is higher than the intrinsic frequency of the Subject.           determining the Q-factor of an intrinsic frequency of the
   In some embodiments, the step of adjusting the output specified EEG band from the electrical brain activity detected
current comprises setting the output current to a frequency by the first electrode and the reference signal detected by the
that is lower than the intrinsic frequency of the subject.            second electrode. In some embodiments, determining the
   In some embodiments, the step of adjusting the output Q-factor of an intrinsic frequency of the specified EEG band
current comprises setting the output current to the target comprises ascertaining the Q-factor from the electrical brain
frequency.                                                         25 activity detected by the first electrode and the reference signal
   In some embodiments, the method further comprises deter detected by the second electrode.
mining the Q-factor of the intrinsic frequency of the EEG                In some embodiments of the methods described herein, the
band of the Subject; and comparing the Q-factor to the target method or methods may comprise locating a first electrode
Q-factor, wherein the target Q-factor is an average Q-factor of operable to detect electrical brain activity on the subject in at
the intrinsic frequencies of the EEG band of a healthy popu 30 least a portion of the ear canal of the subject. The method or
lation of people, wherein if the Q-factor of the intrinsic fre methods may further comprise locating a second electrode
quency is higher than the target Q-factor, the step of adjusting operable to detect a reference signal on the subject. The
the output current comprises varying a frequency of the out method or methods may further comprise determining the
put current, and if the Q-factor of the intrinsic frequency is intrinsic frequency from the electrical brain activity detected
lower than the target Q-factor, the step of adjusting the output 35 by the first electrode and the reference signal detected by the
current comprises setting the output current to a frequency second electrode.
that is the intrinsic frequency of the Subject.                          In some embodiments, a device as described herein is
   In some embodiments, influencing an intrinsic frequency operable to influence an EEG phase between two sites in the
may include influencing harmonics of the pre-selected intrin brain of a subject of a specified EEG frequency. The device
sic frequency of the specified EEG band. In some embodi 40 may comprise a second permanent magnet, wherein the Sub
ments, the pre-selected intrinsic frequency is a harmonic of unit is coupled to the second magnet, and wherein the Subunit
the peak intrinsic frequency of a specified EEG band. In some enables movement of the second magnet at a frequency
embodiments, influencing the pre-selected intrinsic fre between about 0.5 Hz and about 100 Hz. The subunit may
quency includes applying harmonic frequencies of the pre enable movement of the second magnet at a frequency
selected intrinsic frequency. In some embodiments, the vary 45 between about 2 Hz, and about 20 Hz. The first permanent
ing frequencies comprise harmonic frequencies of a single magnet may have a first rotational orientation relative to a
frequency. The single frequency may comprise the pre-se treatment Surface of the device and the second permanent
lected intrinsic frequency.                                           magnet may have a second rotational orientation relative to
   In some embodiments, a device as described herein is               the treatment surface of the device. The device may be oper
operable to influence an intrinsic frequency of the brain of a 50 able to move the first permanent magnet at the same fre
subject within a specified EEG band. A device as described quency as the second permanent magnet. The first rotational
herein may be operable to influence a Q-factor of an intrinsic orientation relative to a first portion of a treatment surface of
frequency of the brain of a subject within a specified EEG the device may be between at least about 0 degrees and about
band. A device as described herein may be operable to influ 360 degrees different from the second rotational orientation
ence a coherence of intrinsic frequencies among multiple 55 relative to a second portion of the treatment surface of the
sites in the brain of a subject within a specified EEG band.          device. The first rotational orientation relative to a first por
   In some embodiments, a device as described hereinfurther           tion of a treatment surface of the device may be at least one of:
comprises a first electrode operable to detect electrical brain between at least about 0 degrees and about 180 degrees,
activity; and a second electrode operable to detect a reference between at least about 0 degrees and about 90 degrees,
signal, wherein the first electrode is located on the subject in 60 between at least about 0 degrees and about 45 degrees,
at least one of an area of low electrical resistivity on a subject, between at least about 0 degrees and about 30 degrees,
and an area with Substantially no electrical impulse interfer between at least about 0 degrees and about 15 degrees,
ence on a Subject, and wherein the second electrode is located between at least about 0 degrees and about 10 degrees, at least
on the Subject. In some embodiments, a device as described about 5 degrees, at least about 10 degrees, at least about 15
herein further comprises a first electrode operable to detect 65 degrees, at least about 30 degrees, at least about 45 degrees, at
electrical brain activity; and a second electrode operable to least about 60 degrees, at least about 90 degrees, at least about
detect a reference signal, wherein the first electrode is located     120 degrees, at least about 180 degrees, at least about 240
      CaseCase
           5:23-cv-00626-XR
               5:23-cv-00626 Document
                             Document2-1
                                      10-1Filed
                                              Filed
                                                 05/15/23
                                                    10/15/23
                                                           PagePage
                                                                43 of43
                                                                      77of 77


                                                    US 8,926,490 B2
                               17                                                                18
degrees, and at least about 270 degrees different from the the subject within a specified EEG band; (b) a Q-factor of an
second rotational orientation relative to a second portion of intrinsic frequency of a brain of the subject within a specified
the treatment surface of the device. The specified EEG fre EEG band; (c) a coherence of intrinsic frequencies among
quency may be an intrinsic frequency as described herein. multiple sites in a brain of the subject within a specified EEG
The specified EEG frequency may be a pre-selected fre band; or (d) a combination thereof. Provided herein is a
quency as described herein. The pre-selected frequency may method of treating depression in a Subject, comprising:
be an average intrinsic frequency of a healthy population adjusting output of a magnetic field for influencing an intrin
database within a specified EEG band.                              sic frequency of a specified EEG band of the subject toward a
   In some embodiments, a magnetic field results from a first pre-selected intrinsic frequency of the specified EEG band;
magnetic source and a second magnetic source. In some 10 and applying said magnetic field close to a head of the Subject
embodiments, the first magnetic source and the second mag and thereby increasing blood flow in the cortex. In some
netic source are out of phase relative to each other. In some embodiments, the blood flow increase is in the frontal cortex.
embodiments, the amount that the first magnetic source and            Provided herein is a method of treating depression in a
the second magnetic source are out of phase relative to each Subject, comprising: adjusting output of a magnetic field for
other is called the magnetic phase.                             15 influencing a Q-factor of an intrinsic frequency within a
   In some embodiments, the first portion of the treatment specified EEG band of the subject toward a pre-selected
Surface is the portion of the treatment Surface approximately Q-factor, and applying said magnetic field close to a head of
closest to the first permanent magnet, and wherein the second the subject and thereby increasing blood flow in the cortex. In
portion of the treatment surface is the portion of the treatment some embodiments, the blood flow increase is in the frontal
Surface approximately closest to the second permanent mag COrteX.
net. In some embodiments, the first portion of the treatment          Provided herein is a method of treating depression in a
surface is the portion of the treatment surface closest to the Subject, comprising: (a)
first permanent magnet that is intended to be approximately           adjusting output of a magnetic field for influencing a coher
tangential to the head of the Subject nearest that treatment ence of intrinsic frequencies among multiple sites in a brain of
Surface, and wherein the second portion of the treatment 25 the subject within a specified EEG band toward a pre-selected
Surface is the portion of the treatment Surface approximately coherence value; and (b) applying said magnetic field close to
closest to the second permanent magnet that is intended to be ahead of the subject and thereby increasing blood flow in the
approximately tangential to the head of the Subject nearest cortex. In some embodiments, the blood flow increase is in
that treatment Surface.                                            the frontal cortex.
  In some embodiments of the devices disclosed herein, the 30         Provided herein is a method for treating depression in a
difference between the first rotational orientation and the        Subject, comprising: adjusting output of a magnetic field for
second rotational orientation results in a magnetic phase influencing an EEG phase between two sites in the brain of a
when the first permanent magnet is moved at the same fre subject of a specified EEG frequency toward a pre-selected
quency as the second permanent magnet. The magnetic phase EEG phase of the specified EEG frequency; and applying said
of the device may be operable to influence an EEG phase 35 magnetic field close to a head of the subject and thereby
between a first site and a second site in the brain of a subject increasing blood flow in the cortex. In some embodiments,
within a specified EEG band. The first site generally aligns the blood flow increase is in the frontal cortex.
with the first permanent magnet, and the second site generally        Provided herein is a method of treating depression in a
aligns with the second permanent magnet of the device.             Subject, comprising tuning down the Q-factor of an intrinsic
   Provided herein is a device comprising,                      40 frequency of the Subject by applying a magnetic field close to
   (a) a means for applying a first magnetic field to a head of a head of the subject thereby increasing blood flow in the
      a Subject; and                                               cortex, wherein the magnetic field comprises at least one of
   (b) a means for applying a second magnetic field to a head (a) a single pre-selected frequency; (b) a plurality of frequen
      of a subject;                                                cies within a specified EEG band; and (c) an intrinsic fre
   whereby the means for applying the first magnetic field and 45 quency of a brain of the subject within a specified EEG band.
the means for applying the second magnetic field are capable In some embodiments, the blood flow increase is in the frontal
of influencing an EEG phase between at least two sites in a COrteX.
brain of the subject of a specified EEG frequency.                    In some embodiments, the method further comprises the
   The magnetic fields (first magnetic field, and second mag step of measuring EEG data of the Subject after the applying
netic field) may be of the same frequency, but out of phase 50 step. In some embodiments, the method further comprises the
with each other. Additional magnetic fields may be provided steps of adjusting frequency of said magnetic field based on
by additional means for applying Such magnetic fields. These the EEG data of the Subject; and repeating the applying step
too may be out of phase with each other, or with any of the with an adjusted frequency.
magnetic fields. Nevertheless, the magnetic fields in some            In some embodiments, the applying of the magnetic field
embodiments may have the same frequencies. The devices 55 applies the magnetic field to a diffuse area in a brain of the
may be a Permanent Magneto-EEG Resonant Therapy Subject. In some embodiments, the magnetic field is gener
(pMERT) (i.e. a Neuro-EEG Synchronization Therapy NEST ated by movement of at least one permanent magnet.
device) as described herein. The specified EEG frequency              In some embodiments, the strength of the at least one
may be an intrinsic frequency as described herein. The speci permanent magnetic is from about 10 Gauss to about 4 Tesla.
fied EEG frequency may be a pre-selected frequency as 60 In some embodiments, the distance between the at least one
described herein. The pre-selected frequency may be an aver permanent magnet and the Subject is from about /32 in to
age intrinsic frequency of a healthy population database about 12 in.
within a specified EEG band.                                          In some embodiments, the step of applying the magnetic
   In some aspects, is a device for use in treating a Subject, field is for about 5 minutes to about two hours.
comprising: a Transcranial Magnetic Stimulation (TMS) 65 In some embodiments, the method further comprises
device; whereby the means for applying the magnetic field is repeating the applying step after an interval about 6 hours to
capable of influencing (a) an intrinsic frequency of a brain of about 14 days. In some embodiments, the method further
       CaseCase
            5:23-cv-00626-XR
                5:23-cv-00626 Document
                              Document2-1
                                       10-1Filed
                                               Filed
                                                  05/15/23
                                                     10/15/23
                                                            PagePage
                                                                 44 of44
                                                                       77of 77


                                                        US 8,926,490 B2
                               19                                                                    20
comprises: (a) locating a first electrode operable to detect         intrinsic frequency of a specified EEG band of a subject
electrical brain activity on the Subject in at least one of an area  toward a pre-selected intrinsic frequency of the specified
of low electrical resistivity on a Subject, and an area with         EEG band; and applying said magnetic field close to a head of
Substantially no electrical impulse interference on a subject;       the Subject; wherein the pre-selected intrinsic frequency is a
(b) locating a second electrode operable to detect a reference       frequency that decreases blood flow in a lower region of the
signal on the Subject; and (c) determining the intrinsic fre         brain of the subject.
quency from the electrical brain activity detected by the first         The methods may further comprise taking EEG measure
electrode and the reference signal detected by the second            ments   of the subject before the adjusting step or after the
electrode.
                                                                     applying  step, or both before the adjusting step and after the
   In some embodiments, the method provides an improve 10 applying step. The methods may further comprise determin
ment as measured using a HAMD rating scale.
   Provided herein is a device for use in treating depression in ing at least one of the Subjects intrinsic frequency of the
a Subject, comprising: a means for applying a magnetic field specified EEG band and the subject's Q-factor of an intrinsic
to a head of a subject thereby increasing blood flow in the frequency within a specified EEG band.
cortex; whereby the means for applying the magnetic field is 15 In some methods, the applying of the magnetic field applies
capable of influencing at least one of: (a) an intrinsic fre the magnetic field to a diffuse area in a brain of the subject.
quency of a brain of the subject within a specified EEG band;           In some methods, the magnetic field is generated by move
(b) a Q-factor of an intrinsic frequency of a brain of the ment of at least one permanent magnet. In some methods, the
subject within a specified EEG band; (c) a coherence of strength of the at least one permanent magnetic is from about
intrinsic frequencies among multiple sites in a brain of the         10 Gauss to about 4 Tesla.
subject within a specified EEG band; and (d) a EEG phase                In some methods, the step of applying the magnetic field is
between two sites in the brain of a subject of a specified EEG for about 5 minutes to about two hours.
frequency. In some embodiments, the blood flow increase is              The methods may further comprise repeating the applying
in the frontal cortex.                                               step after an interval about 6 hours to about 14 days.
   In some embodiments, the device comprises at least one 25 The methods may further comprise: (a) locating a first
permanent magnet. In some embodiments, the magnetic field electrode operable to detect electrical brain activity on the
is generated by movement of at least one permanent magnet.           subject in at least one of an area of low electrical resistivity on
In some embodiments, the movement of the at least one said           a Subject, and an area with Substantially no electrical impulse
magnet is at a frequency between about 0.5 Hz and about 100 interference on a subject; (b) locating a second electrode
HZ. In some embodiments, said movement comprises at least 30 operable to detect a reference signal on the Subject; and (c)
one of rotational motion, linear motion, and Swing motion. In determining the intrinsic frequency or the Q-factor or both
some embodiments, the movement generates an alternating from the electrical brainactivity detected by the first electrode
magnetic field.                                                      and the reference signal detected by the second electrode.
   In some embodiments, the device comprises logic that                 The methods may provide an improvement as measured
controls the frequency to be any frequency between about 0.5 35 using a HAMD rating scale.
HZ and about 100 Hz in increments of about 0.1 Hz. In some              Provided herein is a system for treating depression com
embodiments, the device comprises logic that automatically prising: a means for applying a magnetic field to a head of a
changes the frequency in response to EEG readings of a Subject; whereby the means for applying the magnetic field is
Subject during treatment.                                            capable of influencing at least one of: (a) an intrinsic fre
   In some embodiments, the device comprises logic that 40 quency of a brain of the subject within a specified EEG band;
calculates information from EEG data collected from the              (b) a Q-factor of an intrinsic frequency of the brain of the
subject within a specified EEG band, wherein said informa subject within a specified EEG band; (c) a coherence of
tion comprises at least one of items listed below: (a) at least intrinsic frequencies among multiple sites in the brain of the
one intrinsic frequency; (b) Q-factor of the at least one intrin subject within a specified EEG band; and (d) a EEG phase
sic frequency; (c) a coherence value of intrinsic frequencies; 45 between two sites in the brain of the subject of a specified
(d) an EEG phase; and (e) any combination thereof.                   EEG frequency, and a device capable of determining the
   In some embodiments, the device comprises: (a) a first blood flow of at least one of the cortex and a lower region of
electrode operable to detect electrical brain activity; and (b) a the brain.
second electrode operable to detect a reference signal;                 The system may comprise at least one permanent magnet.
wherein the first electrode is located on the subject in at least 50 The magnetic field is generated by movement of at least one
one of an area of low electrical resistivity on a subject, and an permanent magnet. In some embodiments, the movement of
area with Substantially no electrical impulse interference on a the at least one said magnet is at a frequency between about
subject, and wherein the second electrode is located on the 0.5 Hz and about 100 Hz. In some embodiments, said move
Subject.                                                             ment comprises at least one of rotational motion, linear
   Provided herein is a method to treat depression compris 55 motion, and Swing motion. In some embodiments, said move
ing: adjusting output of a magnetic field for influencing at ment generates an alternating magnetic field.
least one of an intrinsic frequency of a specified EEG band of          In some embodiments, the system comprises logic that
a Subject toward a pre-selected intrinsic frequency of the controls the frequency to be any frequency between about 0.5
specified EEG band and a Q-factor of an intrinsic frequency HZ and about 100 Hz in increments of about 0.1 Hz.
within a specified EEG band of a subject toward a pre-se 60 In some embodiments, the system comprises logic that
lected Q-factor and applying said magnetic field close to a automatically changes the frequency in response to EEG
head of the subject; wherein the pre-selected intrinsic fre readings of a Subject during treatment.
quency is a frequency that increases blood flow in the cortex           In some embodiments, the system comprises logic that
of the subject, and wherein the pre-selected Q-factor is a calculates information from EEG data collected from the
Q-factor that increases blood flow in the cortex of the subject. 65 subject within a specified EEG band, wherein said informa
   Provided herein is a method for treating depression com tion comprises at least one of items listed below: (a) at least
prising: adjusting output of a magnetic field for influencing an one intrinsic frequency; (b) Q-factor of the at least one intrin
      CaseCase
           5:23-cv-00626-XR
               5:23-cv-00626 Document
                             Document2-1
                                      10-1Filed
                                              Filed
                                                 05/15/23
                                                    10/15/23
                                                           PagePage
                                                                45 of45
                                                                      77of 77


                                                     US 8,926,490 B2
                               21                                                               22
sic frequency; (c) a coherence value of intrinsic frequencies; top rear of the device, to allow it to be connected via a USB
(d) an EEG phase; and (e) any combination thereof.                cable to a PC, allowing uploading of data and downloading of
   In some embodiments, the system comprises: (a) a first a dosage quota.
electrode operable to detect electrical brain activity; and (b) a    FIG. 8 shows the pMERT or NEST device from FIG. 7 in
second electrode operable to detect a reference signal; which a subject is lying with the head against the concave
wherein the first electrode is located on the subject in at least Surface. At least one moving magnet is unseen inside the
one of an area of low electrical resistivity on a subject, and an pMERT or NEST device in order to deliver therapy to the
area with Substantially no electrical impulse interference on a subject. The subjects head is pressed against the button EEG
subject, and wherein the second electrode is located on the 10 electrode,
                                                                  right ear.
                                                                              with the second electrode attached to the subjects
Subject.
                                                                     FIG. 9 shows an alternate angle of the subject receiving
           INCORPORATION BY REFERENCE                             therapy   from the pMERT or NEST device as described in
                                                                    FIG 8.
                                                                       FIG. 10 shows some exemplary embodiments for various
   All publications and patent applications mentioned in this 15 movements
specification are herein incorporated by reference to the same                   of at least one permanent magnet.
extent as if each individual publication or patent application embodiments forthrough
                                                                       FIGS.   11A
                                                                                        various
                                                                                                11K show additional exemplary
                                                                                                movements of at least one perma
was specifically and individually indicated to be incorporated nent magnet.
by reference.                                                          FIG. 12 shows an example of the Q-factor as used in this
       BRIEF DESCRIPTION OF THE DRAWINGS
                                                                    invention. The figure shows a sample graph of the frequency
                                                                    distribution of the energy of an EEG signal. It can be seen that
                                                                    a frequency range. Afcan be defined as the frequency band
   A better understanding of the features and advantages of width for which the energy is above one-half the peak energy.
the systems and methods provided will be obtained by refer The frequency f is defined as the intrinsic frequency in the
ence to the following detailed description that sets forth illus 25 specified band. The Q-factor is defined as the ratio offAf. As
trative embodiments and the accompanying drawings of can be seen, when AF decreases for a given fo, the Q-factor
which:                                                              will increase. This can occur when the peakenergy E of the
   FIG. 1 shows an exemplary device in which the magnet signal increases or when the bandwidth of the EEG signal
rotates so that the plane of rotation is perpendicular to the decreases.
Surface of the Scalp.                                            30    FIG. 13 shows an example embodiment of a diametrically
   FIG. 2 shows an exemplary device in which a horseshoe magnetized cylindrical magnet for use in a NEST device.
magnetis positioned such that the plane of rotation is parallel        FIG. 14 shows an example embodiment of a NEST device
to the surface of the scalp.                                        having a diametrically magnetized cylindrical magnet rotat
   FIG.3 shows an exemplary device which two bar magnets ing about its cylinder axis and applied to a Subject.
are rotated synchronously to provide a more uniform phase 35 having    FIG. 15 shows an example embodiment of a NEST device
for the magnetic field in the brain.                                         two diametrically magnetized cylindrical magnets
   FIG. 4 shows an exemplary device in which the magnet             rotating about their cylinder axes and applied to a subject.
                                                                       FIG.16
rotates so that the plane of rotation is perpendicular to the having three      shows an example embodiment of a NEST device
                                                                                   diametrically magnetized cylindrical magnets
Surface of the scalp and a pair of electrodes is used to record 40 rotating about their cylinder axes and applied to a subject.
the EEG of the patient.                                                FIG. 17 shows an example embodiment of a NEST device
   FIG. 5 shows a sample EEG segment for a subject before having            three diametrically magnetized cylindrical magnets
therapy is delivered. The block on the left shows a time series configured to rotate about their cylinder axes.
EEG while the subject is sitting at rest with eyes closed. The         FIG. 18 shows an exploded view of the example embodi
block in the center shows the energy across the frequency 45 ment of the NEST device of FIG. 17 having three diametri
spectrum for the sampled EEG. The vertical line drawn cally magnetized cylindrical magnets configured to rotate
through the peaks is at 9.1 Hz, the subjects intrinsic alpha about their cylinder axes.
frequency. The circle at the right shows the distribution of           FIG. 19 shows the example NEST device embodiment of
EEG energy at the intrinsic alpha frequency throughout the FIG. 17 having three diametrically magnetized cylindrical
Scalp, looking down on the top of the Subjects head. In the 50 magnets configured to rotate about their cylinder axes and
circle representation, the majority of the EEG energy at the including a frame and base for mounting the NEST device.
alpha frequency is concentrated at the back of the brain.              FIG. 20 shows an example embodiment of a NEST device
   FIG. 6 is similar to FIG. 5, except the EEG was sampled having eight diametrically magnetized cylindrical magnets
immediately following therapy. In this, it can be seen that the configured to rotate about their cylinder axes.
energy associated with the intrinsic alpha frequency has 55 FIG. 21 shows the magnet rotation of the example NEST
increased significantly. From the circle representation on the device embodiment of FIG. 20 having eight diametrically
right, it can be seen that the distribution of energy at the magnetized cylindrical magnets configured to rotate about
intrinsic alpha frequency throughout the head is more uni their cylinder axes.
form, though the majority of energy is still concentrated at the       FIG.22 shows an example embodiment of a NEST device
back of the brain.                                               60 having two axially polarized half-disc magnets that rotate
   FIG. 7 shows an exemplary embodiment of the pMERT or about a common rotation axis.
NEST device. In this embodiment, abutton EEG electrode is              FIG. 23 shows an exploded view of an alternate embodi
located on the concave Surface of the device and a second           ment of an example NEST device embodiment similar to that
reference electrode extends via a wire from the side of the         of FIG. 22 having two rectangular magnets that rotate about a
device. The display and control buttons are located on top of 65 common rotation axis.
the device to provide information and allow the user to adjust         FIG. 24 shows an example embodiment of a NEST device
parameters and enter patient data. A USB port is located at the similar to the embodiments depicted in FIGS. 22 and/or 23
      CaseCase
           5:23-cv-00626-XR
               5:23-cv-00626 Document
                             Document2-1
                                      10-1Filed
                                              Filed
                                                 05/15/23
                                                    10/15/23
                                                           PagePage
                                                                46 of46
                                                                      77of 77


                                                      US 8,926,490 B2
                            23                                                                     24
having two magnets rotating about a common rotation axis             FIG. 35d, and shows the fitted Gaussian curve of the Fast
applied to a subject and showing the controller Subunit.              Fourier Transformation curve having an intrinsic frequency
   FIG. 25 shows block diagram of an example embodiment               of 9.27 Hz, and having a deltaf (Af) of 1.06 Hz.
of a NEST showing the elements of the NEST device and its                FIG.37 shows a general relationship between the measures
controller subunit.                                                   of neural activity in the cortex and a possible indication for
    FIG. 26 shows an example embodiment of a NEST device major Depressive Disorder (MDD).
having a single bar magnet that moves linearly along its                 FIG.38 is a comparison of change in the HAMD score of
north-South axis once each time the Supporting ring is rotated,       Responders versus Non-Responders; a graph of baseline and
providing a pulse-type alternating magnetic field at the fre weekly change in HAMD-17 scores for the NEST device
quency of rotation.                                                10 fixed frequency test group, the NEST device random (hop
    FIG. 27 shows an example embodiment of a NEST device ping) frequency test group, and the SHAM group.
having an EEG electrode located in the subject’s ear canal,              FIG. 39 is a comparison of the change in HAMD scores
and a reference EEG electrode located on an earlobe of the            Subjects receiving NEST therapy versus Subjects receiving
Subject.                                                              SHAM (i.e. control) therapy showing the average drop in
    FIG. 28 shows an example embodiment of a NEST device 15 HAMD-17 score for the active NEST group compared to
applied to a subject, wherein the NEST device has three SHAM.
diametrically magnetized cylindrical magnets rotating about              FIG. 40 depicts the percent improvement in HAMD score
their cylinder axes having a magnetic phase between at least compared to the percent change in Q-factor for Subjects given
two of the magnets that is not Zero.                                  the NEST device treatment.
    FIG. 29 shows the magnetic field strengths of two magnets            FIG. 41 shows the change in HAMA score of two patients
moving at the same frequency at the same time, but having a over a period of three weeks.
magnetic phase relative to one another (out of phase relative            FIG. 42 shows how the increase in rCBF in orbital frontal
to each other).                                                       cortex predicts clinical improvement in depression (r=-0.67.
    FIG. 30 shows a theoretical EEG electrode readings mea P=0.04).
sured at two locations on a subject’s head within a single EEG 25
band when the two locations are exhibiting similar (or the                DETAILED DESCRIPTION OF THE INVENTION
same) frequency, but are out of phase relative to each other,
i.e. displaying an EEG phase.                                            While certain embodiments have been provided and
    FIG. 31 shows an equation that may be used to determine described herein, it will be readily apparent to those skilled in
the fitted Gaussian curve A(f) of EEG data from a subject. 30 the art that such embodiments are provided by way of
    FIG. 32 shows an equation for the goodness of fit of the example only. It should be understood that various alterna
FFT (Fast Fourier Transformation) X(f) and the fitted Gaus tives to the embodiments described herein may be employed,
sian curve A(f) of the EEG data from a subject.                       and are part of the invention described herein.
   FIG. 33 shows the Fast Fourier Transformation of EEG                  Since brain activity is a distributed phenomenon, conven
data of a subject in the alphaband, and shows one, two, nine 35 tional high-energy pulses used by rTMS that focus on a spe
and fifteen optimization iteration(s) of the fitted Gaussian cific area of the brain may not be optimal for influencing the
curve A(f) where the gain G is chosen as a low value (one overall frequency of the brain. Instead of using short high
fourth of the peak value of the FFT curve in the alpha band) energy pulses at the desired frequency, it is possible instead
Such that with Subsequent iterations, the fitted curve rises up use a sinusoidal or near-sinusoidal magnetic field (likely with
from the x-axis to determine the optimal fit of A(f).              40 lower energy) to generate a similar effect. To affect the brain
   FIG. 34 shows the Fast Fourier Transformation of EEG               with a lower energy magnetic field, the stimulation may need
data of a Subject in the alpha band, and shows one, three, to be applied for a longer period.
eight, eleven, and fifteen optimization iteration(s) of the fitted       In some embodiments, described are methods and devices
Gaussian curve A(f) where the gain G is chosen as a high that provide low frequency sinusoidal or near-sinusoidal tran
value (1.5 times the peak value of the FFT curve in the alpha 45 Scranial magnetic stimulation therapy by rotating one or more
band) such that with subsequent iterations, the fitted curve permanent magnets in close proximity to the Subjects head.
moved down toward the x-axis to determine the optimal fit of             Described are methods and systems for novel, inexpensive,
A(f).                                                                 easy to use therapy for a number of mental disorders.
    FIG.35a shows an example EEG waveform for a subject Described are methods and devices to treat mental disorders
having Major Depressive Disorder.                                  50 that involve no medication. Methods and devices described
   FIG. 35b shows the Fast Fourier Transformation of EEG              herein gently “tune' the brain and affect mood, focus, and
data of FIG. 35a which is an example EEG waveform for a cognition of Subjects.
subject having Major Depressive Disorder.                                In one aspectare methods of treating a subject, comprising:
    FIG. 35c shows an example EEG waveform for a subject (a) adjusting output of a magnetic field for influencing an
who does not have Major Depressive Disorder.                       55 intrinsic frequency of a specified EEG band of the subject
   FIG. 35d shows the Fast Fourier Transformation of EEG              toward a pre-selected or target intrinsic frequency of the
data of FIG. 35c which is an example EEG waveform for a specified EEG band; and (b) applying said magnetic field
subject who does not have Major Depressive Disorder.                  close to a head of the subject.
    FIG. 36 a shows the Fast Fourier Transformation curve of             Provided herein are methods of treating a Subject, compris
EEG data of an example EEG waveform for a subject having 60 ing determining the intrinsic frequency (f) of the Subject
Major Depressive Disorder, also depicted in FIG. 35b, and within the specified EEG band by: obtaining EEG data of the
shows the fitted Gaussian curve of the Fast Fourier Transfor          Subject's brain; removing any DC component in the signal;
mation curve having an intrinsic frequency of 8.56 Hz, and performing a Fast Fourier Transformation the EEG data to
having a delta f (Af) of 0.51 Hz.                                     determine a FFT curve X(f); and achieving a fitted Gaussian
  FIG. 36b shows the Fast Fourier Transformation curve of 65 curve, A(f), of a local maximum of the FFT curve X(f) by:
EEG data of an example EEG waveform for a subject who               using the equation A(f)=Ge''' (also depicted in FIG.
does not have Major Depressive Disorder, also depicted in            31), wherein G is gain, d is standard deviation, and S is the
       CaseCase
            5:23-cv-00626-XR
                5:23-cv-00626 Document
                              Document2-1
                                       10-1Filed
                                               Filed
                                                  05/15/23
                                                     10/15/23
                                                            PagePage
                                                                 47 of47
                                                                       77of 77


                                                        US 8,926,490 B2
                           25                                                                           26
mean frequency based on the specified EEG band, and deter               a Gaussian function, and a Lorentzian curve function. In some
mining a goodness of fit measure by optimizing using the                embodiments, the fitted curve is determined by polynomial
following equation                                                      interpolation.
                                                                            In some embodiments, the method comprises comparing
                                                                        the intrinsic frequency to an average intrinsic frequency of a
                                                                        healthy population database; if the intrinsic frequency is
                                                                        higher than the average intrinsic frequency of the healthy
                                                                        population database, shifting down the intrinsic frequency of
                                                                        the  Subject by applying a magnetic field close to a head of the
(also depicted in FIG. 32), by: estimating a first mean fre 10 Subject, wherein said magnetic field has a frequency lower
quency, a first standard of deviation, and first gain for the first than the intrinsic frequency of the subject; and if the intrinsic
optimizing loop, shifting the gain, G, up or down slightly frequency is lower than the average intrinsic frequency of the
from the first gain, determining a new gain resulting in a better healthy population database, shifting up the intrinsic fre
fit than that of the first gain, shifting the standard of deviation, 15 quency of the Subject by applying a magnetic field close to a
d, up or down slightly from the first standard of deviation, head of the subject, wherein said magnetic field has a fre
determining a new standard of deviation resulting in a better quency higher than the intrinsic frequency of the Subject.
fit than that of the first standard of deviation, shifting the mean         Provided herein is a method of using a Transcranial Mag
frequency, S, up or down slightly from the first mean fre netic Stimulation (TMS) device for influencing an intrinsic
quency, determining a new mean frequency resulting in a frequency of a subject within a specified EEG band, compris
better fit than that of the first mean frequency, and repeating ing: adjusting output of said TMS device; changing EEG
steps 2), 3), and 4), in which the first gain, the first standard of frequency, Q-factor, or coherence by repetitive firing of a
deviation, and the first mean frequency are replaced with a magnetic field using said TMS device; and applying said
second gain, a second standard of deviation, and a second magnetic field close to a head of the subject, wherein the
mean frequency, respectively, until the three parameters are 25 intrinsic frequency of the subject within the specified EEG
optimized, comparing the intrinsic frequency from step (a) to band is determined by: obtaining EEG data of the subjects
an average intrinsic frequency of a healthy population data brain; removing any DC component in the signal; performing
base; if the intrinsic frequency from step (a) is higher than the a Fast Fourier Transformation the EEG data to determine a
average intrinsic frequency of the healthy population data FFT curve X(f); and achieving a fitted Gaussian curve, A(f),
base, shifting down the intrinsic frequency of the Subject by 30 of         a local maximum of the FFT curve X(f) by: using the
applying a magnetic field close to a head of the Subject, wherein GA(f)=Ge-O-2d)
                                                                        equation                            (also depicted in FIG. 31),
wherein said magnetic field has a frequency lower than the frequency based on the specified deviation,
                                                                                       is gain, d is standard             and s is the mean
                                                                                                               EEG band, and determining
intrinsic frequency of the subject; and if the intrinsic fre a goodness of fit measure by optimizing using the following
quency from step (a) is lower than the average intrinsic fre 35 equation
quency of the healthy population database, shifting up the
intrinsic frequency of the Subject by applying a magnetic field
close to a head of the Subject, wherein said magnetic field has
a frequency higher than the intrinsic frequency of the Subject.
    Provided herein are methods of treating a Subject, compris 40
ing determining the intrinsic frequency (f) of the Subject
within the specified EEG band by: obtaining EEG data of the (also depicted in FIG. 32), by: estimating a first mean fre
subjects brain; performing a Fourier Transformation (which quency, a first standard of deviation, and first gain for the first
may or may not be a fast fourier transformation) of the EEG optimizing loop, shifting the gain, G, up or down slightly
data to determine a curve X(f); and achieving a fitted curve 45 from the first gain, determining a new gain resulting in a better
around a local maximum of the curve X(f).                               fit than that of the first gain, shifting the standard of deviation,
    In Some embodiments, the fitted curve is a Gaussian curve.          d, up or down slightly from the first standard of deviation,
In some embodiments, the fitted curve is a second degree determining a new standard of deviation resulting in a better
polynomial curve. In some embodiments, the fitted curve is a fit than that of the first standard of deviation, shifting the mean
third degree polynomial curve. In some embodiments, the 50 frequency, S, up or down slightly from the first mean fre
fitted curve is a complex curve. In some embodiments, the quency, determining a new mean frequency resulting in a
fitted curve is used to determine the Q-factor. In some better                   fit than that of the first mean frequency, and repeating
                                                                        steps 2), 3), and 4), in which the first gain, the first standard of
embodiments, the fitted curve is used in determining a coher deviation,               and the first mean frequency are replaced with a
ence value. In some embodiments the goodness of fit is deter 55 second gain,              a second standard of deviation, and a second
mined by a least squares method. In some embodiments the mean frequency,                      respectively, until the three parameters are
goodness of fit is determined by a ordinary least squares optimized.
method. In some embodiments the goodness of fit is deter                    In some embodiments, the local maximum of the FFT X(f)
mined by a total least squares method. In some embodiments curve                is based on the EEG band of interest (the specified EEG
the goodness of fit is determined by a nonlinear least squares 60 band). In some embodiments, the local maximum is between
method. In some embodiments the goodness of fit is deter 8 Hz and 13 Hz within the alpha band.
mined by a weighted least squares method. In some embodi                    As used herein the terms “FFT', “Fast Fourier Transform',
ments the fitted curve is determined by nonlinear regression. and “Fast Fourier Transformation' may be used interchange
In some embodiments the fitted curve is determined by ably.
regression analysis. In some embodiments the fitted curve is 65 In some embodiments, the intrinsic frequency of a brain of
determined by at least one of an exponential function, a loga a Subject, for example, in the alpha band, may be determined
rithmic function, a trigonometric function, a power function, as follows: Capture 30 sec worth of EEG data at 256 samples/
       CaseCase
            5:23-cv-00626-XR
                5:23-cv-00626 Document
                              Document2-1
                                       10-1Filed
                                               Filed
                                                  05/15/23
                                                     10/15/23
                                                            PagePage
                                                                 48 of48
                                                                       77of 77


                                                       US 8,926,490 B2
                                27                                                                  28
sec. Filter the data twice with a 10th order 3 Hz high-pass IIR     adjusted  frequency.    In some   embodiments, applying of the
filter. Note that this removes any DC component in the signal. magnetic field applies the magnetic field to a diffuse area in a
Perform a Fast Fourier Transform (FFT) on the EEG data to brain of the Subject. In some embodiments, the magnetic field
determine X(f). The size of the FFT is twice the number of is generated by movement of at least one permanent magnet.
EEG samples. Achieve the best fit of a Gaussian curve to the 5 In some embodiments, said movement comprises at least one
FFT in the band from 8 Hz-13 Hz over the following param of rotational motion, linear motion, and Swing motion. In
eters (depicted in FIG.31 and below), where mean frequency Some embodiments, a frequency of the magnetic field with
is “s’, gain is “G” and standard deviation is “d.                   the specified EEG band is from about 0.5Hz to about 100 Hz.
        A(f)=Ge(-(fs 2d)                                            In some embodiments, the strength of the at least one perma
                                                                 10 nent magnet is from about 10 Gauss to about 4 Tesla. In some
   To determine a goodness of fit measure, Subtract one wave embodiments, the distance between the at least one perma
form from the other, take the absolute value, and sum. Use a        nent magnet and the Subject is from about/32 into about 12 in.
window around the Gaussian curve that goes +/-1 Hz on In Some embodiments, the step of applying the magnetic field
either side of the Gaussian peak. Although the Mean fre is for about 5 minutes to about two hours. In some embodi
quency is limited to a value between 8 Hz and 13 Hz, the 15 ments, the method comprises repeating the applying step after
window is allowed to go outside this region if necessary. The an interval about 6 hours to about 14 days.
formula for goodness of fit of the FFT of the EEG data X(f)            In some embodiments, the method comprises: (a) locating
and the fitted Gaussian curve A(f) is given below (and a first electrode operable to detect electrical brain activity on
depicted in FIG. 32).                                               the subject in at least one of an area of low electrical resistivity
                                                                    on a Subject, and an area with Substantially no electrical
                                                                    impulse interference on a Subject; (b) locating a second elec
                                                                    trode operable to detect a reference signal on the Subject; and
                                                                    (c) determining the intrinsic frequency from the electrical
                                                                    brain activity detected by the first electrode and the reference
                                                                 25 signal detected by the second electrode.
    Before the optimization loop, choose estimates for S, d, and       In some embodiments, the method improves an indication
G. For each cycle of the loop, perform the following:               selected from the group consisting of replacement for medi
1. Shift the gain up or down slightly:                              tation, quick nap, stress release, attention span, comprehen
   a. Calculate the fit for the current G.                          Sion, memory, lowered blood pressure, increased libido,
   b. Calculate the fit for G+0.01                               30 sports performance, academic performance, increased blood
  c. Calculate the fit for G-0.01                                     flow, lowered blood flow, increased metabolism, lowered
  d. Set the new G to the value that has the best fit.               metabolism, and any combination thereof.
2. Shift the standard deviation up or down slightly:                    In some embodiments, the method improves a disorder
    a. Calculate the fit for the current d.                          selected from the group consisting of depression, bipolar,
    b. Calculate the fit for d+0.001                              35 anxiety, obsessive-compulsive, seizure, Parkinson's disease,
    c. Calculate the fit for d-0.001                                 ADHD, autism, substance abuse, head injury, Alzheimer's
    d. Set the new d to the value that has the best fit.             disease, eating disorder, sleep disorder, tinnitus, fibromyal
3. Shift the mean frequency up or down slightly:                     gia, and any combination thereof.
    a. Calculate the fit for the currents.                              In some embodiments, the method improves a character
    b. Calculate the fit for s+1 FFT sample                       40 istic selected from the group consisting of peripheral visual
    c. Calculate the fit for S-1 FFT sample                          response, attention span, immediate reaction time (IRT),
    d. Set the new s to the value that has the best fit for which    movement time (MT), simple perceptual reaction time (SPR),
the new s is in the range from 8 Hz to 13 Hz.                        conflict perceptual reaction time (CPR), and any combination
    The loop continues until all three parameters are optimized thereof.
and none of them changes. The optimization method goes 45 In some embodiments, the magnetic field results from a
through two complete optimizations in order to avoid local first magnetic source and a second magnetic source. In some
optima. It first picks a starting point that with a very low value embodiments, the first magnetic source and the second mag
for G (4 the peak value of the FFT in the alpha band) so that netic source are out of phase relative to each other.
the fitted curve will rise up from the bottom to determine the          In some embodiments, the EEG band is the alphaband, and
optimal fit (as depicted in FIG. 33). Then the algorithm goes 50 the mean frequency ranges from about 8 Hz to about 13 Hz.
through a second optimization with a high G (1.5x the peak              In some embodiments, removing the DC component of the
value of the FFT in the alphaband) that will result in an initial signal comprises filtering the EEG data with a 10th order 3 Hz
curve that is guaranteed to be above the FFT and move down high-pass IIR filter. In some embodiments, removing the DC
to determine the optimal fit (as depicted in FIG.34). The value component of the signal comprises filtering the EEG data
for the alpha frequency is the mean frequency s for the curve 55 twice with a 10th order 3 Hz high-pass IIR filter.
that results in the best match. FIGS. 36 and 37 show sample             In some embodiments, the EEG data comprises about 30
fitted curves to the Fourier transform of the EEG data. FIG.33       seconds worth of EEG data at about 256 samples per second.
shows the curve as iterations progress moving up from a low             In Some embodiments, the first gain is about one fourth ("/4)
G. FIG. 34 shows the same optimization moving down from of the peak value of a peak value of the Fast Fourier Trans
an initial high G. In this example, both methods converge to 60 formation of the EEG data.
the same fitted curve. However, one method may give a better            In some embodiments, a second optimization is performed
fit if the Fourier transform contains spurious peaks or is noisy. having a first gain of at least about 1.5 times the peak value of
In some embodiments, the method comprises the step of the Fast Fourier Transformation of the EEG data.
measuring EEG data of the Subject after the applying step.              In some embodiments, at least one of the intrinsic fre
    In some embodiments, the method comprises the steps of 65 quency and the fitted Gaussian curve is used to determine a
adjusting frequency of said magnetic field based on the EEG Q-factor of the intrinsic frequency within the specified EEG
data of the Subject; and repeating the applying step with an band of the subject.
      CaseCase
           5:23-cv-00626-XR
               5:23-cv-00626 Document
                             Document2-1
                                      10-1Filed
                                              Filed
                                                 05/15/23
                                                    10/15/23
                                                           PagePage
                                                                49 of49
                                                                      77of 77


                                                      US 8,926,490 B2
                              29                                                                  30
   In some embodiments, at least one of the intrinsic fre          frequency, S, up or down slightly from the first mean fre
quency and the fitted Gaussian curve is used to determine a quency, determining a new mean frequency resulting in a
coherence value of intrinsic frequencies among multiple sites better fit than that of the first mean frequency, and repeating
in the brain of a subject within a specified EEG band.             steps 2), 3), and 4), in which the first gain, the first standard of
   In some embodiments, at least one of the intrinsic fre          deviation, and the first mean frequency are replaced with a
quency and the fitted Gaussian curve is used to determine an second gain, a second standard of deviation, and a second
EEG phase between two sites in the brain of a subject of a mean           frequency, respectively, until the three parameters are
                                                                   optimized,
specified EEG frequency.
   In some embodiments, shifting the standard of deviation of Ininfluencesome embodiments, the device is operable to at least one
                                                                                  the intrinsic frequency of the brain of a subject
comprises a shift from the first standard deviation of at least 10 within  the  specified  EEG band; influence a Q-factor of the
one of about 0.005, about 0.01, about 0.02, about 0.05, about      intrinsic frequency; influence a coherence of intrinsic fre
0.1, about 0.2, about 0.5, about 0.6, about 0.7, about 0.75,       quencies among multiple sites in the brain of a subject within
about 0.8, about 0.9, about 1.0, about 1.1, about 1.2, about 1.5,  a specified EEG band; and influence an EEG phase between
about 1.75, about 2 and about 2.5. As used herein, the term 15 two sites in the brain of a subject of a specified EEG fre
“about when used in reference to standard deviation can                quency.
mean variations of 1%, 10%, 20%, 25%, 50%, 1%-5%,                    In some embodiments, a magnetic field is generated by
1%-10%, 5% to 10%, 10% to 20%, 10% to 50%, 10% to 25%,            movement of at least the permanent magnet. In some embodi
and/or 25% to 50%.                                                ments, said movement comprises at least one of rotational
   In some embodiments, shifting the gain comprises a shift motion, linear motion, and Swing motion.
from the first gain of at least one of about 0.005, about 0.01,      In some embodiments, the device comprises logic that
about 0.02, about 0.05, about 0.1, about 0.2, about 0.5, about    controls the frequency in increments of about 0.1 Hz.
0.6, about 0.7, about 0.75, about 0.8, about 0.9, about 1.0,         In some embodiments, the device improves an indication
about 1.1, about 1.2, about 1.5, about 1.75, about 2 and about    selected from the group consisting of replacement for medi
2.5. As used herein, the term “about when used in reference 25 tation, quick nap, stress release, attention span, comprehen
to gain can mean variations of 1%, 10%. 20%, 25%, 50%,            Sion, memory, lowered blood pressure, increased libido,
1%-5%, 1%-10%, 5% to 10%, 10% to 20%, 10% to 50%,                 sports performance, academic performance, increased blood
10% to 25%, and/or 25% to 50%.                                    flow, lowered blood flow, increased metabolism, lowered
   In some embodiments, shifting the mean frequency com metabolism, and any combination thereof.
prises a shift from the first mean frequency of at least one of 30 In some embodiments, the device improves a disorder
about 0.005, about 0.01, about 0.02, about 0.05, about 0.1,       selected from the group consisting of depression, bipolar,
about 0.2, about 0.5, about 0.6, about 0.7, about 0.75, about     anxiety, obsessive-compulsive, seizure, Parkinson's disease,
0.8, about 0.9, about 1.0, about 1.1, about 1.2, about 1.5, about ADHD, autism, substance abuse, head injury, Alzheimer's
1.75, about 2 and about 2.5. As used herein, the term “about      disease, eating disorder, sleep disorder, tinnitus, fibromyal
when used in reference to mean frequency can mean varia 35 gia, and any combination thereof.
tions of 1%, 10%, 20%, 25%, 50%, 1%-5%, 1%-10%, 5% to                In Some embodiments, the device improves a characteristic
10%, 10% to 20%, 10% to 50%, 10% to 25%, and/or 25% to            selected from the group consisting of peripheral visual
50%.                                                              response, attention span, immediate reaction time (IRT),
   Provided herein is a device comprising: at least one per movement time (MT), simple perceptual reaction time (SPR),
manent magnet, a subunit coupled to the magnet, wherein the 40 conflict perceptual reaction time (CPR), and any combination
Subunit enables movement of said at least one permanent thereof.
magnet at a frequency between about 0.5 Hz and about 100             In some embodiments, shifting the standard of deviation
HZ, and logic that is operable to determine an intrinsic fre comprises a shift from the first standard deviation of at least
quency (f) of a brain of a subject within a specified EEG band one of about 0.005, about 0.01, about 0.02, about 0.05, about
by: obtaining EEG data of the subject’s brain; removing any 45 0.1, about 0.2, about 0.5, about 0.6, about 0.7, about 0.75,
DC component in the signal; performing a Fast Fourier Trans about 0.8, about 0.9, about 1.0, about 1.1, about 1.2, about 1.5,
formation the EEG data to determine a FFT curve X(f); and about 1.75, about 2 and about 2.5. As used herein, the term
achieving a fitted Gaussian curve, A(f), of a local maximum “about when used in reference to standard deviation can
of the FFT curve X(f) by: using the equation A(f)= mean variations of 1%, 10%, 20%, 25%, 50%, 1%-5%,
Ge-(f-s)/2d) (also depicted in FIG.31), wherein G is gain, dis 50 1%-10%, 5% to 10%, 10% to 20%, 10% to 50%, 10% to 25%,
standard deviation, and S is the mean frequency based on the and/or 25% to 50%.
specified EEG band, and determining a goodness of fit mea            In some embodiments, shifting the gain comprises a shift
Sure by optimizing using the following equation                   from the first gain of at least one of about 0.005, about 0.01,
                                                                       about 0.02, about 0.05, about 0.1, about 0.2, about 0.5, about
                                                                  55   0.6, about 0.7, about 0.75, about 0.8, about 0.9, about 1.0,
                                                                       about 1.1, about 1.2, about 1.5, about 1.75, about 2 and about
                                                                       2.5. As used herein, the term “about when used in reference
                                                                       to gain can mean variations of 1%, 10%. 20%, 25%, 50%,
                                                                       1%-5%, 1%-10%, 5% to 10%, 10% to 20%, 10% to 50%,
(also depicted in FIG. 32), by: estimating a first mean fre 60 10% to 25%, and/or 25% to 50%.
quency, a first standard of deviation, and first gain for the first    In some embodiments, shifting the mean frequency com
optimizing loop, shifting the gain, G, up or down slightly prises a shift from the first mean frequency of at least one of
from the first gain, determining a new gain resulting in a better about 0.005, about 0.01, about 0.02, about 0.05, about 0.1,
fit than that of the first gain, shifting the standard of deviation, about 0.2, about 0.5, about 0.6, about 0.7, about 0.75, about
d, up or down slightly from the first standard of deviation, 65 0.8, about 0.9, about 1.0, about 1.1, about 1.2, about 1.5, about
determining a new standard of deviation resulting in a better 1.75, about 2 and about 2.5. As used herein, the term “about
fit than that of the first standard of deviation, shifting the mean when used in reference to mean frequency can mean varia
      CaseCase
           5:23-cv-00626-XR
               5:23-cv-00626 Document
                             Document2-1
                                      10-1Filed
                                              Filed
                                                 05/15/23
                                                    10/15/23
                                                           PagePage
                                                                50 of50
                                                                      77of 77


                                                    US 8,926,490 B2
                             31                                                                  32
tions of 1%, 10%, 20%, 25%, 50%, 1%-5%, 1%-10%, 5% to                 In another aspectare methods of using a Transcranial Mag
10%, 10% to 20%, 10% to 50%, 10% to 25%, and/or 25% to             netic Stimulation (TMS) device for influencing an intrinsic
50%.                                                               frequency of a subject within a specified EEG band, compris
   In another aspect are methods of altering an intrinsic fre ing: (a) adjusting output of said TMS device; (b) changing
quency of a brain of a subject within a specified EEG band,        EEG frequency, Q-factor, or coherence by repetitive firing of
comprising: (a) determining the intrinsic frequency of the a magnetic field using said TMS device; and (c) applying said
subject within the specified EEG band; (b) comparing the magnetic field close to a head of the Subject;
intrinsic frequency from step (a) to an average intrinsic fre prising:In another aspect are methods for treating a Subject, com
quency of a healthy population database; (c) if the intrinsic 10            (a) adjusting output of a magnetic field for influenc
                                                                   ing an
frequency from step (a) is higher than the average intrinsic of a specifiedEEG   phase between two sites in the brain of a subject
frequency of the healthy population database, shifting down phase of the specified  EEG frequency toward a pre-selected EEG
the intrinsic frequency of the Subject by applying a specific magnetic field close toEEG        frequency; and (b) applying said
                                                                                            a head of the Subject.
magnetic field close to a head of the Subject, wherein said           In another aspect are methods of treating anxiety in a
specific magnetic field has a frequency lower than the intrin 15 Subject, comprising tuning up the Q-factor of an intrinsic
sic frequency of the Subject; and (d) if the intrinsic frequency frequency of the Subject by applying a magnetic field close to
from step (a) is lower than the average intrinsic frequency of ahead of the Subject, wherein the magnetic field comprises at
the healthy population database, shifting up the intrinsic fre least one of (a) a single pre-selected frequency; (b) a plurality
quency of the Subject by applying a specific magnetic field offrequencies within a specified EEG band; and (c) an intrin
close to a head of the Subject, wherein said specific magnetic sic frequency of a brain of the subject within a specified EEG
field has a frequency higher than the intrinsic frequency of the band. In some embodiments, any of the devices described
Subject.                                                           herein may be used to treat anxiety.
   In another aspect are methods of treating a subject, com           Increased neuronal activity in a region of the brain is asso
prising: (a) adjusting output of a magnetic field for influenc ciated with an increase in blood flow, and hence a higher rate
ing a Q-factor, a measure of frequency selectivity of a speci 25 of oxygenated/deoxygenated hemoglobin as measured by
fied EEG band, of the subject toward a pre-selected or target Blood Oxygenation Level Detection (BOLD). In Major
Q-factor of the band; and (b) applying said magnetic field Depressive Disorder (“MDD” and/or shortened herein in
close to a head of the subject.                                    Some embodiments as “depression'), there is a significant
   In another aspect are methods of treating a subject, com decrease in blood flow, and therefore a decrease in metabolic
prising: determining the Q-factor of the intrinsic frequency 30 activity in the cortex. In some embodiments, the blood flow
within the specified EEG band of the subject; comparing the increase (and or increase in metabolic activity) is in the fron
Q-factor of the intrinsic frequency from step (a) to an average tal cortex. This can be shown in studies using SPECT and
Q-factor of the intrinsic frequency of a healthy population PET scans. The lower the blood flow to the cortex, the greater
database; if the Q-factor of the intrinsic frequency from step the severity of the depression. This decreased blood flow
(a) is higher than the average Q-factor of the intrinsic fre 35 becomes more significant for Subjects with increased cogni
quency of the healthy population database, tuning down the tive impairment associated with their depression. The
Q-factor of the intrinsic frequency of the Subject by applying decrease in regional cerebral blood flow (rCBF) is particu
a magnetic field with a plurality of frequencies or with a larly evident in the prefrontal cortex and cingulated gyrus.
single pre-selected frequency close to a head of the Subject;      Studies of correlations between rCBF and symptom severity
and if the Q-factor of the intrinsic frequency from step (a) is 40 in MDD show a decrease in metabolism in the amygdale,
lower than the average Q-factor of the intrinsic frequency of lentiform nucleus, parahippocampal gyrus, and an increase in
the healthy population database, tuning up the Q-factor of the metabolism in the postero-lateral parietal cortex. Other stud
intrinsic frequency of the Subject by applying a magnetic field ies have shown an increase in blood flow in the lower regions
with a pre-selected frequency to a head of the Subject.            of the brain during MDD, such as the cerebellum and
   In another aspect are methods of treating a subject, com 45 amygdala for depressed Subjects. The metabolism of a region
prising: (a) adjusting output of a magnetic field for influenc of the brain can be related to the energy consumed by that
ing a coherence of intrinsic frequencies among multiple sites region. An area of high metabolism may be considered an area
in a brain of the subject within a specified EEG band toward of high energy or high activity. Likewise, an area of low
a pre-selected or target coherence value; and (b) applying said metabolism may be considered an area of low energy.
magnetic field close to a head of the Subject                   50    Provided herein is a method for treating depression com
   In another aspect are methods adjusting output of a mag prising: adjusting output of a magnetic field for influencing at
netic field for influencing a coherence of intrinsic frequencies least one of an intrinsic frequency of a specified EEG band of
among multiple sites in a brain of the Subject within a speci a Subject toward a pre-selected intrinsic frequency of the
fied EEG band toward a pre-selected or target coherence specified EEG band and a Q-factor of an intrinsic frequency
value comprising: determining the coherence value of the 55 within a specified EEG band of a subject toward a pre-se
intrinsic frequencies among multiple locations throughout a lected Q-factor and applying said magnetic field close to a
Scalp of the Subject; comparing the coherence value from step head of the subject; wherein the pre-selected intrinsic fre
(a) to an average coherence value of a healthy population quency is a frequency that increases blood flow in the cortex
database; if the coherence value from step (a) is higher than of the subject, and wherein the pre-selected Q-factor is a
the average coherence value of the healthy population data 60 Q-factor that increases blood flow in the cortex of the subject.
base, lowering the coherence value of the Subject by applying Provided herein is a method for treating depression compris
at least two asynchronous magnetic fields close to a head of ing: adjusting output of a magnetic field for influencing an
the subject; if the coherence value from step (a) is lower than intrinsic frequency of a specified EEG band of a subject
the average coherence value of the healthy population data toward a pre-selected intrinsic frequency of the specified
base, raising the coherence value of the Subject by applying at 65 EEG band and applying said magnetic field close to a head of
least one synchronized magnetic field close to a head of the the Subject; wherein the pre-selected intrinsic frequency is a
Subject.                                                           frequency that increases blood flow in the cortex of the sub
       CaseCase
            5:23-cv-00626-XR
                5:23-cv-00626 Document
                              Document2-1
                                       10-1Filed
                                               Filed
                                                  05/15/23
                                                     10/15/23
                                                            PagePage
                                                                 51 of51
                                                                       77of 77


                                                      US 8,926,490 B2
                                33                                                                   34
ject. Provided herein is a method for treating depression com interference on a subject; (b) locating a second electrode
prising: adjusting output of a magnetic field for influencing a operable to detect a reference signal on the Subject; and (c)
Q-factor of an intrinsic frequency within a specified EEG determining the intrinsic frequency or the Q-factor or both
band of a Subject toward a pre-selected Q-factor and applying from the electrical brainactivity detected by the first electrode
said magnetic field close to a head of the subject; wherein the and the reference signal detected by the second electrode.
pre-selected Q-factor is a Q-factor that increases blood flow            The methods may provide an improvement as measured
in the dorsal and frontal regions of the cortex of the subject. In using a HAMD rating scale. In some embodiments, severity
Some embodiments, the dorsal and frontal region comprises of psychosis, depression, and movement disorders can be
at least one of the orbital frontal cortex, prefrontal tip, and assessed with PANSS, Montgomery-Asberg Depression Rat
dorsal lateral prefrontal cortex.                                  10 ing Scale (MADRS), Barnes Akathisia Rating Scale (BARS),
   Provided herein is a method for treating depression com and Simpson-Angus Scale (SAS). In some embodiments,
prising: adjusting output of a magnetic field for influencing an severity of psychosis, depression, and movement disorders
intrinsic frequency of a specified EEG band of a subject can be assessed with the Hamilton Anxiety Scale (HAMA),
toward a pre-selected intrinsic frequency of the specified the Hamilton Depression Scale (HAMD), or any methods
EEG band; and applying said magnetic field close to a head of 15 known in the art.
the Subject; wherein the pre-selected intrinsic frequency is a           Provided herein is a system for treating depression com
frequency that decreases blood flow in a lower region of the prising: a means for applying a magnetic field to a head of a
brain of the subject. Provided herein is a method for treating Subject; whereby the means for applying the magnetic field is
depression comprising: adjusting output of a magnetic field capable of influencing at least one of: (a) an intrinsic fre
for influencing a Q-factor of an intrinsic frequency of a speci quency of a brain of the subject within a specified EEG band;
fied EEG band of a subject toward a pre-selected Q-factor;            (b) a Q-factor of an intrinsic frequency of the brain of the
and applying said magnetic field close to a head of the Subject;      subject within a specified EEG band; (c) a coherence of
wherein the pre-selected Q-factor is a Q-factor that decreases intrinsic frequencies among multiple sites in the brain of the
blood flow in a parietal-occipital region of the brain of the subject within a specified EEG band; and (d) a EEG phase
Subject. In some embodiments, the parietal-occipital region 25 between two sites in the brain of the subject of a specified
comprises at least one of the anterior cingulated gyrus, ante EEG frequency, and a device capable of determining the
rior temporal lobe, parietal lobe, occipital lobe, limbic sys blood flow of at least one of the cortex, a dorsal and frontal
tem, and basal ganglia.                                               region, and a parietal-occipital region of the brain. In some
   Provided herein is a method for treating depression com embodiments, the parietal-occipital region comprises at least
prising: adjusting output of a magnetic field for influencing an 30 one of the anterior cingulate, anterior temporal lobe, parietal
intrinsic frequency of a specified EEG band of a subject lobe, occipital lobe, limbic system, and basal ganglia. In some
toward a pre-selected intrinsic frequency of the specified embodiments, the dorsal and frontal region comprises at least
EEG band; and applying said magnetic field close to a head of one of the orbital frontal cortex, prefrontal tip, and dorsal
the Subject; wherein the pre-selected intrinsic frequency is a lateral prefrontal cortex.
frequency that decreases blood flow in a rear region of the 35 The system may comprise at least one permanent magnet.
brain of the subject. Provided herein is a method for treating The magnetic field is generated by movement of at least one
depression comprising: adjusting output of a magnetic field permanent magnet. In some embodiments, the movement of
for influencing a Q-factor of an intrinsic frequency of a speci the at least one said magnet is at a frequency between about
fied EEG band of a subject toward a pre-selected Q-factor; 0.5 Hz and about 100 Hz. In some embodiments, said move
and applying said magnetic field close to a head of the Subject; 40 ment comprises at least one of rotational motion, linear
wherein the pre-selected Q-factor is a Q-factor that decreases motion, and Swing motion. In some embodiments, said move
blood flow in a parietal-occipital region of the brain of the ment generates an alternating magnetic field.
Subject. In some embodiments, the parietal-occipital region              In some embodiments, the system comprises logic that
comprises at least one of the anterior cingulate, anterior tem controls the frequency to be any frequency between about 0.5
poral lobe, parietal lobe, occipital lobe, limbic system, and 45 HZ and about 100 Hz in increments of about 0.1 Hz.
basal ganglia.                                                           In some embodiments, the system comprises logic that
   The methods may further comprise taking EEG measure automatically changes the frequency in response to EEG
ments of the subject before the adjusting step or after the readings of a Subject during treatment.
applying step, or both before the adjusting step and after the           In some embodiments, the system comprises logic that
applying step. The methods may further comprise determin 50 calculates information from EEG data collected from the
ing at least one of the Subjects intrinsic frequency of the subject within a specified EEG band, wherein said informa
specified EEG band and the subject's Q-factor of an intrinsic tion comprises at least one of items listed below: (a) at least
frequency within a specified EEG band.                                one intrinsic frequency; (b) Q-factor of the at least one intrin
   In some methods, the applying of the magnetic field applies sic frequency; (c) a coherence value of intrinsic frequencies;
the magnetic field to a diffuse area in a brain of the subject. In 55 (d) an EEG phase; and (e) any combination thereof.
Some methods, the magnetic field is generated by movement                In some embodiments, the system comprises: (a) a first
of at least one permanent magnet. In some methods, the electrode operable to detect electrical brain activity; and (b) a
strength of the at least one permanent magnetic is from about second electrode operable to detect a reference signal;
10 Gauss to about 4 Tesla.                                            wherein the first electrode is located on the subject in at least
   In Some methods, the step of applying the magnetic field is 60 one of an area of low electrical resistivity on a Subject, and an
for about 5 minutes to about two hours.                               area with Substantially no electrical impulse interference on a
   The methods may further comprise repeating the applying subject, and wherein the second electrode is located on the
step after an interval about 6 hours to about 14 days.                Subject.
   The methods may further comprise: (a) locating a first                Parallel to the rCBF studies, EEG studies have shown that
electrode operable to detect electrical brain activity on the 65 MDD subjects have higher alpha band activities. The alpha
subject in at least one of an area of low electrical resistivity on band is a dominant EEG component with frequency ranged
a subject, and an area with Substantially no electrical impulse between 8 Hz and 13 Hz. A negative correlation has been
      CaseCase
           5:23-cv-00626-XR
               5:23-cv-00626 Document
                             Document2-1
                                      10-1Filed
                                              Filed
                                                 05/15/23
                                                    10/15/23
                                                           PagePage
                                                                52 of52
                                                                      77of 77


                                                    US 8,926,490 B2
                              35                                                                36
shown between alpha power and therCBF in the cortex where         system energy is at least half its peak value. FIG. 12 also
the alpha was measured. This suggests that a high alpha           shows a pictorial example of the elements of Q-factor. In the
power is indicative of low rCBF, and therefore a low metabo       plot shown in FIG. 12, fo is the alpha frequency and Af(delta
lism (and energy), in the region of cortex where the EEG was      f) is the bandwidth at half energy Emax.
recorded. A number of studies have shown this excessive              Q-factor gives a representation of the resonance of an oscil
EEG alpha power, which may be a result of neural activity latory system. If the system has a high Q, then it has high
being overly synchronous. By applying a low magnitude resonance, and tends to oscillate with very little loss in
alternating magnetic field, activity becomes less synchronous energy. A physical example for this type of system would be
and EEG alpha power decreases. These changes correlate a pendulum, which can oscillate for a long time with no
with improvement in clinical symptoms.                         10 external energy input. A system with a low Q, however, has
   To understand alpha power and its relation to system much less resonance, and may be considered to be damped.
energy, the frequency spectrum of the EEG was examined.              The Q-factor of the EEG waveform can be represented by
FIGS. 38a–38d show the Fourier transform of two subjects, fitting a Gaussian-shaped curve to the frequency plot, as
both with significantly different activity in the alpha band.     shown in FIG. 36a, and FIG. 36b (having a measure of energy
Subjects were recorded during a resting period with eyes 15 shown on the y-axes of these plots, and frequency in Hertz
closed, which is a time when the alpha activity is most evi shown on the x-axis of these plots). In this, Afis defined as the
dent. However, alpha power is still present in the brain even bandwidth at 0.7071 of the maximum amplitude, because the
when the eyes are open and the alpha wave is not seen on the energy of a system is proportional to the square of the Fourier
conventional EEG. The plot of FIG.35a shows an EEG that is transform. The high-Q EEG has significantly more reso
significantly more synchronous than the plot of FIG.35c. The nance, and therefore less energy consumption, than the low-Q
Fourier transform (FIG.35b) of the EEG of FIG.35a shows EEG. It can be stated, therefore, that the region of cortex
an alpha frequency band that is more focused around the underneath the electrode requires less energy, and therefore
alpha frequency than the Fourier transform (FIG. 35d) of the has a lower metabolism, for the high-Q patient than the low-Q
EEG data of FIG.35c).                                             patient.
   FIG. 35a-35d show EEG waveforms (CZ location) and 25 FIG. 36a, and FIG. 36b depict the frequency plots from
frequency plots of two patients, which show a different focus FIG. 35b, and FIG. 35d, respectively, with a fitted Gaussian
of activity around the alpha frequency. FIG. 35a shows an waveforms shown. FIG. 36 a shows the fitted Gaussian curve
example EEG waveform for a subject having Major Depres of the Fast Fourier Transformation curve having an intrinsic
sive Disorder (with time in seconds on the X-axis, and ampli frequency of 8.56 Hz, and having a deltaf (Af) of 0.51 Hz. The
tude in mV on the y-axis). FIG. 35b shows the Fast Fourier 30 Q-factor of the fitted Gaussian curve peak is in FIG. 36a is
Transformation of EEG data of FIG.35a which is an example         16.78.
EEG waveform for a subject having Major Depressive Dis               FIG. 36b shows the Fast Fourier Transformation curve of
order (with a measure of energy shown on the y-axis, and EEG data of an example EEG waveform for a subject who
frequency in Hertz shown on the x-axis). FIG. 35c shows an does not have Major Depressive Disorder, also depicted in
example EEG waveform for a subject who does not have 35 FIG. 35d, and shows the fitted Gaussian curve of the Fast
Major Depressive Disorder (with time in seconds on the Fourier Transformation curve having an intrinsic frequency
x-axis, and amplitude in mV on the y-axis). FIG. 35d shows of 9.27 Hz, and having a deltaf (Af) of 1.06 Hz. The Q-factor
the Fast Fourier Transformation of EEG data of FIG. 35c           of the fitted Gaussian curve peak is in FIG. 36a is 7.74.
which is an example EEG waveform for a subject who does              The power of the alpha band relative to other bands is
not have Major Depressive Disorder (with a measure of 40 generally higher for patients with MDD. Since the overall
energy shown on the y-axis, and frequency in Hertz shown on metabolism of the brain is generally constant, the increase in
the x-axis). While the plots in FIGS. 38a–38d are taken from alpha power will result in a higher alpha Q-factor, which
individuals having MDD and/or not having MDD, the wave indicates a lower metabolism, and energy, of the cortex.
forms alone are not necessarily indicative or dispositive of Patients with MDD usually have lower metabolism in the
having MDD, although they may be. Each individual should 45 cortex, especially in the frontal regions, therefore the Q-factor
be diagnosed according to diagnostic norms, and not neces of alpha EEG in those regions will be high, indicative of a
sarily diagnosed based on the waveforms of their brain EEG low-energy system. FIG. 37 shows a general relationship
data. A subject who does not have MDD may have a EEG between the measures of neural activity in the cortex and a
waveform such as shown in FIG. 35a. Likewise, a subject possible indication for Major Depressive Disorder (MDD).
who has MDD may have an EEG waveform such as shown in 50 Lowering the Q-factor of patients with MDD may improve
FIG. 35c, and treating such a subject with a device and or by MDD symptoms in some patients. The methods and devices
a method provided herein may still provide the improvement provided herein can lower the Q-factor of a subject.
in their depression noted herein by shifting their intrinsic         The brain is a non-linear resonant system. To increase the
frequency, changing their Q-factor, and/or changing their resonance, and thereby the Q-factor of the system, an alter
coherence, etc. Each subject should be treated as an indi 55 nating magnetic field may be applied that matches the alpha
vidual, and changes to their EEG waveforms are relative to frequency. To decrease the resonance and lower the Q-factor,
their own starting EEG waveforms. Nevertheless, generally an alternating magnetic field is applied that is slightly off the
speaking, a population of Subjects having MDD might have alpha frequency. Since the brain is a resonant system, the
waveforms more rhythmic than that of a population of sub magnetic field does not need to be large. It is not necessary, in
jects not having MDD.                                          60 Some embodiments, to actively cause current to flow in the
   This focusing of the energy in the band can be quantified by brain.
the Q-factor of the Fourier transform. Q-factor represents the       The low energy sinusoidal alternating magnetic field cre
ratio of the total energy of a system stored divided by the ates a low Voltage alternating electric field in the tissue, but
energy lost in a single oscillation of the system. It can be any current created directly is negligible. The methods and
characterized by the equation for Q depicted in FIG. 12, 65 devices provided herein, in some embodiments, “encourage'
where fo is the alpha frequency and Af(delta f) is the band firing at the magnetic field frequency by causing the baseline
width, the width of the range of frequencies for which the potential across the neuron to vary slightly in time with the
      CaseCase
           5:23-cv-00626-XR
               5:23-cv-00626 Document
                             Document2-1
                                      10-1Filed
                                              Filed
                                                 05/15/23
                                                    10/15/23
                                                           PagePage
                                                                53 of53
                                                                      77of 77


                                                      US 8,926,490 B2
                               37                                                                  38
electric field. The variation of the potential can be subthresh increasing blood flow in the cortex. In some embodiments,
old, which will not induce any neuronal firing. In some the blood flow increase is in the frontal cortex.
embodiments, if the magnetic field frequency matches the              Provided herein is a method of treating depression in a
alpha frequency of a region of cortex, the Q-factor of that Subject, comprising tuning down the Q-factor of an intrinsic
region will increase. If it does not match, in Some embodi frequency of the Subject by applying a magnetic field close to
ments, the Q-factor will decrease.                                 a head of the subject thereby increasing blood flow in the
   Alpha frequency in the brain is not constant, however, and cortex,
                                                                   (a) a
                                                                            wherein the magnetic field comprises at least one of
                                                                         single pre-selected frequency; (b) a plurality of frequen
can change from one moment to the next, and can vary spa
tially throughout the brain. Therefore, applying an alternating 10 cies within a specified EEG band; and (c) an intrinsic fre
magnetic field at a single frequency will increase resonant quency          of a brain of the subject within a specified EEG band.
                                                                   In some embodiments, the blood flow increase is in the frontal
behavior at Some times and locations, and decrease it at oth         COrteX.
ers. As noted in examples described herein, single alternating
magnetic field at a single calculated average frequency may stepIn ofsome        embodiments, the method further comprises the
                                                                             measuring EEG data of the Subject after the applying
reduce the overall Q-factor of the cortex if the Q-factor was 15 step. In some embodiments, the method further comprises the
high before treatment began, and may increase the Q-factor if steps of adjusting frequency of said magnetic field based on
the Q-factor was low before treatment began.                         the EEG data of the Subject; and repeating the applying step
   If the brain was a linear resonator, one would be unable to       with an adjusted frequency.
change the Q-factor simply by applying an external magnetic             In some embodiments, the applying of the magnetic field
field. Once the magnetic field was turned off, it might be applies the magnetic field to a diffuse area in a brain of the
expected that the brain to return to its original state. Instead,    Subject. In some embodiments, the magnetic field is gener
however, as shown in examples mentioned herein using the ated by movement of at least one permanent magnet.
methods and devices provided herein, the brain adjusts its              In some embodiments, the strength of the at least one
Q-factor a small amount due to the applied magnetic field, permanent magnetic is from about 10 Gauss to about 4 Tesla.
and that adjustment is additive as therapy progresses.            25 In some embodiments, the distance between the at least one
   Application of a low energy alternating magnetic field near permanent magnet and the Subject is from about /32 in to
the head of a patient suffering from MDD (i.e., the patient has about 12 in.
a high Q-factor) with the magnetic field frequency equal to             In some embodiments, the step of applying the magnetic
the average alpha frequency should result in a decrease in the field is for about 5 minutes to about two hours.
patient's Q-factor. The decrease in Q-factor causes the cortex 30 In some embodiments, the method further comprises
to be higher energy, which causes a decrease in the symptoms repeating the applying step after an interval about 6 hours to
of MDD.                                                              about 14 days. In some embodiments, the method further
   In some embodiments, treatment of MDD with devices and            comprises: (a) locating a first electrode operable to detect
methods provided herein are designed to create low energy electrical brain activity on the Subject in at least one of an area
alternating magnetic fields at a specific frequency in the alpha 35 of low electrical resistivity on a subject, and an area with
band.                                                                Substantially no electrical impulse interference on a Subject;
   Provided herein is a method of treating depression in a (b) locating a second electrode operable to detect a reference
Subject, comprising: adjusting output of a magnetic field for signal on the Subject; and (c) determining the intrinsic fre
influencing an intrinsic frequency of a specified EEG band of quency from the electrical brain activity detected by the first
the Subject toward a pre-selected intrinsic frequency of the 40 electrode and the reference signal detected by the second
specified EEG band; and applying said magnetic field close to electrode.
ahead of the subject and thereby increasing blood flow in the           In some embodiments, the method provides an improve
cortex. In some embodiments, the blood flow increase is in           ment as measured using a HAMD rating scale.
the frontal cortex.                                                     Provided herein is a device for use in treating depression in
   Provided herein is a method of treating depression in a 45 a subject, comprising: a means for applying a magnetic field
Subject, comprising: adjusting output of a magnetic field for to a head of a subject thereby increasing blood flow in the
influencing a Q-factor of an intrinsic frequency within a cortex; whereby the means for applying the magnetic field is
specified EEG band of the subject toward a pre-selected capable of influencing at least one of (a) an intrinsic fre
Q-factor, and applying said magnetic field close to a head of quency of a brain of the subject within a specified EEG band;
the subject and thereby increasing blood flow in the cortex. In 50 (b) a Q-factor of an intrinsic frequency of a brain of the
some embodiments, the blood flow increase is in the frontal          subject within a specified EEG band; (c) a coherence of
COrteX.                                                              intrinsic frequencies among multiple sites in a brain of the
   Provided herein is a method of treating depression in a subject within a specified EEG band; and (d) a EEG phase
Subject, comprising: (a)                                             between two sites in the brain of a subject of a specified EEG
   adjusting output of a magnetic field for influencing a coher 55 frequency. In some embodiments, the blood flow increase is
ence of intrinsic frequencies among multiple sites in a brain of in the frontal cortex.
the subject within a specified EEG band toward a pre-selected           In some embodiments, the device comprises at least one
coherence value; and (b) applying said magnetic field close to permanent magnet. In some embodiments, the magnetic field
ahead of the subject and thereby increasing blood flow in the is generated by movement of at least one permanent magnet.
cortex. In some embodiments, the blood flow increase is in 60 In some embodiments, the movement of the at least one said
the frontal cortex.                                           magnet is at a frequency between about 0.5 Hz and about 100
   Provided herein is a method for treating depression in a HZ. In some embodiments, said movement comprises at least
Subject, comprising: adjusting output of a magnetic field for one of rotational motion, linear motion, and Swing motion. In
influencing an EEG phase between two sites in the brain of a Some embodiments, the movement generates an alternating
subject of a specified EEG frequency toward a pre-selected 65 magnetic field.
EEG phase of the specified EEG frequency; and applying said     In some embodiments, the device comprises logic that
magnetic field close to a head of the subject and thereby controls the frequency to be any frequency between about 0.5
       CaseCase
            5:23-cv-00626-XR
                5:23-cv-00626 Document
                              Document2-1
                                       10-1Filed
                                               Filed
                                                  05/15/23
                                                     10/15/23
                                                            PagePage
                                                                 54 of54
                                                                       77of 77


                                                      US 8,926,490 B2
                                 39                                                                40
HZ and about 100 Hz in increments of about 0.1 Hz. In some              In some embodiments, the method further comprises the
embodiments, the device comprises logic that automatically step of measuring EEG data of the Subject after the applying
changes the frequency in response to EEG readings of a step. In some embodiments, the method further comprises the
Subject during treatment.                                            steps of adjusting frequency of said magnetic field based on
   In some embodiments, the device comprises logic that the EEG data of the Subject; and repeating the applying step
calculates information from EEG data collected from the              with an adjusted frequency.
subject within a specified EEG band, wherein said informa               In some embodiments, the applying of the magnetic field
tion comprises at least one of items listed below: (a) at least applies the magnetic field to a diffuse area in a brain of the
one intrinsic frequency; (b) Q-factor of the at least one intrin Subject. In some embodiments, the magnetic field is gener
sic frequency; (c) a coherence value of intrinsic frequencies; 10 ated by movement of at least one permanent magnet.
(d) an EEG phase; and (e) any combination thereof.                      In some embodiments, the strength of the at least one
   In some embodiments, the device comprises: (a) a first permanent magnetic is from about 10 Gauss to about 4 Tesla.
electrode operable to detect electrical brain activity; and (b) a In some embodiments, the distance between the at least one
second electrode operable to detect a reference signal; permanent magnet and the Subject is from about /32 in to
wherein the first electrode is located on the subject in at least 15 about 12 in.
one of an area of low electrical resistivity on a subject, and an       In some embodiments, the step of applying the magnetic
area with Substantially no electrical impulse interference on a field is for about 5 minutes to about two hours.
subject, and wherein the second electrode is located on the             In some embodiments, the method further comprises
Subject.                                                             repeating the applying step after an interval about 6 hours to
   Provided herein is a method of treating depression in a about 14 days. In some embodiments, the method further
Subject, comprising: adjusting output of a magnetic field for comprises: (a) locating a first electrode operable to detect
influencing an intrinsic frequency of a specified EEG band of electrical brain activity on the Subject in at least one of an area
the Subject toward a pre-selected intrinsic frequency of the of low electrical resistivity on a subject, and an area with
specified EEG band; and applying said magnetic field close to Substantially no electrical impulse interference on a Subject;
a head of the Subject and thereby increasing energy in the 25 (b) locating a second electrode operable to detect a reference
cortex and/or metabolism of the cortex. In some embodi               signal on the Subject; and (c) determining the intrinsic fre
ments, the blood flow increase and/or the increased metabo           quency from the electrical brain activity detected by the first
lism is in the frontal cortex.                                       electrode and the reference signal detected by the second
   Provided herein is a method of treating depression in a electrode.
Subject, comprising: adjusting output of a magnetic field for 30 In some embodiments, the method provides an improve
influencing a Q-factor of an intrinsic frequency within a ment as measured using a HAMD rating scale.
specified EEG band of the subject toward a pre-selected                 Provided herein is a device for use in treating depression in
Q-factor, and applying said magnetic field close to a head of a subject, comprising: a means for applying a magnetic field
the Subject and thereby increasing energy in the cortex and/or to a head of a subject thereby increasing energy in the cortex
metabolism of the cortex. In some embodiments, the blood 35 and/or metabolism of the cortex; whereby the means for
flow increase and/or the increased metabolism is in the frontal      applying the magnetic field is capable of influencing at least
COrteX.                                                              one of: (a) an intrinsic frequency of a brain of the Subject
   Provided herein is a method of treating depression in a within a specified EEG band; (b) a Q-factor of an intrinsic
Subject, comprising: (a)                                             frequency of a brain of the subject within a specified EEG
   adjusting output of a magnetic field for influencing a coher 40 band; (c) a coherence of intrinsic frequencies among multiple
ence of intrinsic frequencies among multiple sites in a brain of sites in a brain of the subject within a specified EEG band; and
the subject within a specified EEG band toward a pre-selected (d) a EEG phase between two sites in the brain of a subject of
coherence value; and (b) applying said magnetic field close to a specified EEG frequency. In some embodiments, the blood
a head of the Subject and thereby increasing energy in the flow increase and/or the increased metabolism is in the frontal
cortex and/or metabolism of the cortex. In some embodi 45 COrteX.
ments, the blood flow increase and/or the increased metabo              In some embodiments, the device comprises at least one
lism is in the frontal cortex.                                       permanent magnet. In some embodiments, the magnetic field
   Provided herein is a method for treating depression in a          is generated by movement of at least one permanent magnet.
Subject, comprising: adjusting output of a magnetic field for In some embodiments, the movement of the at least one said
influencing an EEG phase between two sites in the brain of a 50 magnet is at a frequency between about 0.5 Hz and about 100
subject of a specified EEG frequency toward a pre-selected HZ. In some embodiments, said movement comprises at least
EEG phase of the specified EEG frequency; and applying said one of rotational motion, linear motion, and Swing motion. In
magnetic field close to a head of the subject and thereby Some embodiments, the movement generates an alternating
increasing energy in the cortex and/or metabolism of the magnetic field.
cortex. In some embodiments, the blood flow increase and/or 55 In some embodiments, the device comprises logic that
the increased metabolism is in the frontal cortex.               controls the frequency to be any frequency between about 0.5
   Provided herein is a method of treating depression in a HZ and about 100 Hz in increments of about 0.1 Hz. In some
Subject, comprising tuning down the Q-factor of an intrinsic embodiments, the device comprises logic that automatically
frequency of the Subject by applying a magnetic field close to changes the frequency in response to EEG readings of a
a head of the Subject thereby increasing energy in the cortex 60 Subject during treatment.
and/or metabolism of the cortex, wherein the magnetic field         In some embodiments, the device comprises logic that
comprises at least one of (a) a single pre-selected frequency; calculates information from EEG data collected from the
(b) a plurality of frequencies within a specified EEG band;      subject within a specified EEG band, wherein said informa
and (c) an intrinsic frequency of a brain of the Subject within tion comprises at least one of items listed below: (a) at least
a specified EEG band. In some embodiments, the blood flow 65 one intrinsic frequency; (b) Q-factor of the at least one intrin
increase and/or the increased metabolism is in the frontal       sic frequency; (c) a coherence value of intrinsic frequencies;
COrteX.                                                          (d) an EEG phase; and (e) any combination thereof.
       CaseCase
            5:23-cv-00626-XR
                5:23-cv-00626 Document
                              Document2-1
                                       10-1Filed
                                               Filed
                                                  05/15/23
                                                     10/15/23
                                                            PagePage
                                                                 55 of55
                                                                       77of 77


                                                       US 8,926,490 B2
                                 41                                                                  42
   In some embodiments, the device comprises: (a) a first             rotation  may  include, for non-limiting    example, the speed of
electrode operable to detect electrical brain activity; and (b) a rotation, and the acceleration and/or deceleration of rotation,
second electrode operable to detect a reference signal; the time of rotation, and the direction of rotation (e.g. clock
wherein the first electrode is located on the subject in at least wise, counter-clockwise).
one of an area of low electrical resistivity on a subject, and an 5 FIG. 2 shows an exemplary device in which a magnet 2 in
area with Substantially no electrical impulse interference on a the shape of a horseshoe is coupled to and rotated by a motor
subject, and wherein the second electrode is located on the 72,            and the magnet 2 is positioned Such that the plane of
                                                                      rotation is generally parallel to at least a portion of the Surface
Subject.
   In some embodiments, are method of treating depression in of           the scalp of the subject 6, and the rotation axis 36 is
                                                                      generally perpendicular to at least a portion of the Surface of
a subject, comprising tuning down the Q-factor of an intrinsic 10 the      scalp of the subject 6. The motor 72 is coupled to the
frequency of the Subject by applying a magnetic field close to magnet          2 by a drive shaft 4, and the magnet rotation is con
ahead of the Subject, wherein the magnetic field comprises at trolled by          a controller 58 (i.e. controller subunit) that can at
least one of (a) a single frequency; (b) a plurality of frequen least monitor         and/or control the rotation of the magnet 2.
cies within a specified EEG band; and (c) an intrinsic fre Control of the rotation may include, for non-limiting
quency of a brain of the subject within a specified EEG band. 15 example, the speed of rotation, and the acceleration and/or
In some embodiments, any of the devices described herein deceleration of rotation, the time of rotation, and the direction
may be used to treat depression.                                      of rotation (e.g. clockwise, counter-clockwise).
   In some embodiments, the pre-selected EEG phase is lower              FIG.3 shows an exemplary device which two bar magnets
than the EEG phase between the two sites in the brain of the 2a, 2b are coupled to and rotated by motors 72a, 72b, and the
subject. In some embodiments, the pre-selected EEG phase is magnets 2a, 2b are rotated synchronously to provide a more
any EEG phase lower than the EEG phase between the two uniform phase for the magnetic field in the brain of a subject
sites in the brain of the subject. In some embodiments, the 6. The motors 72a, 72b are coupled to the magnets 2a, 2b,
pre-selected EEG phase is higher than the EEG phase respectively, by a drive shafts 4a, 4b, and the rotation of the
between the two sites in the brain of the subject. In some magnets 2a and 2b about rotation axes 36a,36b, respectively,
embodiments, the pre-selected EEG phase is any EEG phase 25 is controlled by a controller 58 (i.e. controller subunit) that
higher than the EEG phase between the two sites in the brain can at least monitor and/or control the rotation of the magnet
of the subject. In some embodiments, the pre-selected EEG 2a, 2b. Control of the rotation of the magnets may include, for
phase is an EEG phase of a population of people. The popu non-limiting example, the speed of rotation, and the accelera
lation of people may be a set of people having a particular tion and/or deceleration of rotation, the time of rotation, and
trait, characteristic, ability, or feature. The population may be 30 the direction of rotation (e.g. clockwise, counter-clockwise).
a healthy population of people. The population of people may The rotation of a single magnet (magnet 2a, for example),
be a set of people not having a particular disorder, such as may be controlled independently from and/or simultaneously
anxiety, depression, or other disorders mentioned herein. In with the rotation of a second magnet (magnet 2b, for
Some embodiments, the methods comprise measuring EEG example) by the controller 58. Additional magnets may be
data of two sites in the brain of the Subject, and calculating the 35 similarly added to the device. In another embodiment, a
EEG phase between the two sites in the brain of a subject. The single motor is coupled to a plurality of magnets, and each of
specified EEG frequency may be an intrinsic frequency as the magnets may be controlled by the controller, indepen
described herein. The specified EEG frequency may be a dently or simultaneously.
pre-selected frequency as described herein. The pre-selected             In some embodiments, the magnetic field used by the meth
frequency may be an average intrinsic frequency of a healthy 40 ods or devices are not capable of exciting brain cells. In some
population database within a specified EEG band.                      embodiments, the magnetic field used by the methods or
   In another aspect are methods for influencing an EEG devices are below thresholds of exciting brain cells. In some
phase of a specified EEG frequency between multiple loca embodiments, the devices described can have one or more
tions of a brain of a Subject, comprising: (a) determining the permanent magnets mounted onto one or more rotating shafts
EEG phase the between at least two locations measured on the 45 in Such a way that it creates an alternating magnetic field
head of the subject; (b) comparing the EEG phase from step when the shaft or shafts are spun. In some embodiments, the
(a) to an average EEG phase of a healthy population; and (c) speed of rotation can be set by the user or controlled using
applying a magnetic field close to a head of the Subject neurological feedback to provide optimal therapy.
wherein applying the magnetic field influences the deter                 Methods and devices described herein can be used to treat
mined EEG phase toward the average EEG phase of a healthy 50 at least one mental disorder listed below:
population.                                                              (a) Major depression;
   In another aspect are methods for using a Transcranial                (b) Bipolar disorder;
Magnetic Stimulation (TMS) device for influencing an EEG                 (c) Schizophrenia;
phase of a Subject of a specified EEG frequency, comprising:             (d) Anxiety disorder;
(a) adjusting output of said TMS device; (b) changing the 55 (e) Obsessive-Compulsive disorder;
EEG phase by repetitive firing of at least one magnetic field            (f) ADHD;
using said TMS device; and (c) applying said magnetic field              (g) Autism;
close to a head of the subject.                                          (h) Sleep disorder;
   FIG. 1 shows an exemplary device having a magnet 2                    (i) Parkinson's disease;
coupled to and rotated by a motor 72 in which the magnet 2 60 (k) Drug addiction;
rotates so that the plane of rotation is generally perpendicular         (1) Substance abuse:
to the surface of the scalp of the subject 6, and the rotation axis      (m) Seizure;
36 is generally parallel to at least a portion of the surface of the     (n) Head Injury:
scalp of the subject 6. The motor 72 is coupled to the magnet            (o) Alzheimer's disease:
2 by a drive shaft 4, and the magnet rotation is controlled by 65 (p) Eating disorder,
a controller 58 (i.e. controller subunit) that can at least moni         (q) Tinnitus; and
tor and/or control the rotation of the magnet 2. Control of the          (r) Fibromyalgia.
      CaseCase
           5:23-cv-00626-XR
               5:23-cv-00626 Document
                             Document2-1
                                      10-1Filed
                                              Filed
                                                 05/15/23
                                                    10/15/23
                                                           PagePage
                                                                56 of56
                                                                      77of 77


                                                      US 8,926,490 B2
                              43                                                                44
   In some embodiments, methods and devices described             eases, hereditary diseases, infections involving the brain,
herein can be used to treat at least two mental disorders listed  encephalitis, brain abscess, bacterial meningitis, kidney fail
above. In some embodiments, methods and devices described         ure, and chronic renal failure. For non-limiting example, the
hereincan be used to treat at least three mental disorders listed injuries may include choking, head injuries, electrical inju
above. In some embodiments, methods and devices described 5 ries, birth injuries, poisonous bites or stings.
hereincan be used to treat at least four mental disorders listed     Methods and devices described herein can be used to
above. In some embodiments, methods and devices described         improve at least one indication selected from the group con
herein can be used to treat at least five mental disorders listed sisting of replacement for meditation, quick nap, stress
                                                                  release,
above. In some embodiments, methods and devices described 10 blood pressure,attention span, comprehension, memory, lowered
herein can be used to treat at least six mental disorders listed                    increased libido, sports performance, aca
above. In some embodiments, methods and devices described         demic   performance,  and any combination thereof. In some
herein are not used to treat Schizophrenia.                       embodiments, methods and devices described herein can be
   In another aspect are methods of treating anxiety in a used          to improve at least two indications from the group pre
                                                                  sented above. In some embodiments, methods and devices
Subject, comprising tuning up the Q-factor of an intrinsic 15 described herein can be used to improve at least three indica
frequency of the Subject by applying a magnetic field close to tions    from the group presented above. In some embodiments,
ahead of the Subject, wherein the magnetic field comprises at methods and devices described herein can be used to improve
least one of (a) a single pre-selected frequency; (b) a plurality at least four indications from the group presented above. In
offrequencies within a specified EEG band; and (c) an intrin some embodiments, methods and devices described herein
sic frequency of a brain of the subject within a specified EEG can be used to improve at least five indications from the group
band. In some embodiments, any of the devices described presented above. In some embodiments, methods and devices
herein may be used to treat anxiety.                              described herein can be used to improve at least six indica
   In some embodiments, are method of treating depression in tions from the group presented above.
a subject, comprising tuning down the Q-factor of an intrinsic       In some embodiments, methods and devices described
frequency of the Subject by applying a magnetic field close to 25 herein can be used to improve at least one indication from the
ahead of the Subject, wherein the magnetic field comprises at group presented above, and at least one mental disorder listed
least one of (a) a single frequency; (b) a plurality of frequen above. In some embodiments, methods and devices described
cies within a specified EEG band; and (c) an intrinsic fre herein can be used to improve at least one indication from the
quency of a brain of the subject within a specified EEG band. group presented above, and at least two mental disorders
In some embodiments, any of the devices described herein 30 listed above. In some embodiments, methods and devices
may be used to treat depression.                                  described herein can be used to improve at least two indica
   In some embodiments, methods and/or devices as                 tions from the group presented above, and at least one mental
described herein can be used to treat symptoms of fibromy disorder listed above. In some embodiments, methods and
algia. In some embodiments, methods and/or devices as devices described herein can be used to improve at least two
described herein can be used to improve symptoms of fibro 35 indications from the group presented above, and at least two
myalgia. For non-limiting example, some symptoms that may mental disorders listed above. In some embodiments, meth
be improved include widespread pain, tenderness to touch, ods and devices described herein can be used to improve at
nausea dizziness, temporomandibular joint dysfunction, skin least one indication from the group presented above, and at
problems, depression, myofascial pain, morning stiffness, least three mental disorders listed above. In some embodi
sleep issues, headaches, chemical sensitivity, dysmenorrhea, 40 ments, methods and devices described herein can be used to
muscle twitches and weakness, fatigue, urinary and pelvic improve at least two indications from the group presented
problems, fibro-fog cognitive and/or memory impairment, above, and at least three mental disorders listed above. In
anxiety, memory loss, breathing problems, and vision prob some embodiments, methods and devices described herein
lems.                                                             can be used to improve at least three indications from the
   In some embodiments, methods and/or devices as 45 group presented above, and at least three mental disorders
described herein can be used to halt the onset of a seizure. In    listed above. In some embodiments, methods and devices
Some embodiments, methods and/or devices as described              described herein can be used to improve at least three indica
herein can be used to prevent the onset of a seizure. In some      tions from the group presented above, and at least two one
embodiments, methods and/or devices as described herein            mental disorders listed above.
can be used to reduce or eliminate seizures by detuning the 50 Methods and devices described herein can be used to
brain near the frequency of the seizures. In some embodi improve at least one characteristic selected from the group
ments, methods and/or devices as described herein can be          consisting of peripheral visual response, attention span,
used to reduce or eliminate seizures by tuning up an area of immediate reaction time (IRT), movement time (MT), simple
the brain (i.e., an intrinsic frequency in aband, such as alpha) perceptual reaction time (SPR), conflict perceptual reaction
different than the seizure area of the brain, thereby reducing 55 time (CPR), and any combination thereof. In some embodi
the energy in the frequency associated with the seizure. The ments, methods and devices described herein can be used to
seizure may be caused by various conditions, diseases, inju improve at least two indications from the group presented
ries, and/or other factors. For non-limiting example, the con above. In some embodiments, methods and devices described
ditions may include abnormalities in the blood vessels of the herein can be used to improve at least three indications from
brain, atherosclerosis, or hardening of the arteries Supplying 60 the group presented above. In some embodiments, methods
the brain, bleeding into the brain, Such as a Subarachnoid and devices described herein can be used to improve at least
hemorrhage, brain tumors, chromosomal abnormalities, con four indications from the group presented above. In some
genital diseases or conditions, high blood pressure, preg embodiments, methods and devices described herein can be
nancy and problems associated with pregnancy, stroke, tran used to improve at least five indications from the group pre
sient ischemic attack (mini-stroke). For non-limiting 65 sented above. In some embodiments, methods and devices
example, the diseases may include liver disease, Alzheimer's described herein can be used to improve at least six indica
disease, dementia diseases, epilepsy, nervous system dis tions from the group presented above.
      CaseCase
           5:23-cv-00626-XR
               5:23-cv-00626 Document
                             Document2-1
                                      10-1Filed
                                              Filed
                                                 05/15/23
                                                    10/15/23
                                                           PagePage
                                                                57 of57
                                                                      77of 77


                                                    US 8,926,490 B2
                             45                                                               46
   In some embodiments, methods and devices described          rotate at a specific frequency or frequencies to bring about the
herein can be used to improve at least one characteristic from desired therapy. A single, dual, or multi-channel EEG is
the group presented above, and at least one mental disorder incorporated in the device to acquire a sample EEG segment
listed above. In some embodiments, methods and devices         and determine the alpha frequency distribution. From this
described herein can be used to improve at least one charac information, the device controls the frequency of rotation of
teristic from the group presented above, and at least two the magnet or magnets to deliver therapy.
mental disorders listed above. In some embodiments, meth          FIG. 4 shows an exemplary device in which the magnet 2
ods and devices described herein can be used to improve at rotates so that the plane of rotation is generally perpendicular
least two characteristics from the group presented above, and to the surface of the scalp of a subject 6 and a bio-feedback
at least one mental disorder listed above. In some embodi 10 sensor and/or EEG electrode 82a is used to control the speed
ments, methods and devices described herein can be used to       of rotation about the rotation axis 36. The rotation of the
improve at least two characteristics from the group presented    magnet 2 is driven by a motor 72 which is coupled to a drive
above, and at least two mental disorders listed above. In some   shaft 4, and the drive shaft 4 is coupled to the magnet 2. In
embodiments, methods and devices described herein can be          some embodiments at least two EEG electrodes, 82a, 82b are
used to improve at least one characteristic from the group 15 used to control the speed of rotation, wherein at least one EEG
presented above, and at least three mental disorders listed electrode, for example EEG electrode 82b, is used as a refer
above. In some embodiments, methods and devices described      ence electrode (and/or a ground electrode). The electrodes,
hereincan be used to improve at least two characteristics from 82a, 82b may be connected to an amplifier 80 which can
the group presented above, and at least three mental disorders amplify the signal received from the electrodes, 82a, 82b. The
listed above. In some embodiments, methods and devices         magnet rotation may be controlled and/or monitored by a
described herein can be used to improve at least three char controller subunit (controller), 58, which may also receive,
acteristics from the group presented above, and at least three record, and/or display the signal or signals received from the
mental disorders listed above. In some embodiments, meth       EEG electrodes 82a, 82b. In some embodiments, the reading
ods and devices described herein can be used to improve at from a reference EEG electrode, for example EEG electrode
least three characteristics from the group presented above, 25 82b, is subtracted and/or otherwise removed from the reading
and at least two one mental disorders listed above.            from the second EEG electrode, for example EEG electrode
  In some embodiments, methods and devices described             82a. In some embodiments, the bio-feedback sensor/EEG
herein can be used to improve at least one characteristic from   electrode is used, at least in part, to determine the Subsequent
the group presented above, and at least one indication pre       treatment regimen for the Subject.
sented above. In some embodiments, methods and devices 30           In some embodiments, the EEG electrodes are used to
described herein can be used to improve at least one charac measure the brain waves of the subject at various times, for
teristic from the group presented above, and at least two non-limiting example, prior to applying a method of treat
indications presented above. In some embodiments, methods ment as provided herein using a device described herein,
and devices described herein can be used to improve at least during application of a method of treatment as provided
two characteristics from the group presented above, and at 35 herein using a device described herein, and/or after applying
least one indication presented above. In some embodiments, a method of treatment as provided herein using a device
methods and devices described herein can be used to improve described herein. In some embodiments, the EEG electrodes
at least two characteristics from the group presented above, are used to measure the brain waves of the subject at various
and at least two indications presented above. In some embodi times, for non-limiting example, prior to using a device
ments, methods and devices described herein can be used to 40 described herein, during use of a device described herein,
improve at least one characteristic from the group presented and/or after using a device described herein. In some embodi
above, and at least three indications presented above. In some ments, the EEG electrodes are used to measure the brain
embodiments, methods and devices described herein can be       waves of the subject continuously for a specified period of
used to improve at least two characteristics from the group time. In some embodiments the specified period of time is for
presented above, and at least three indications presented 45 non-limiting example, at least about one hour, at least about
above. In some embodiments, methods and devices described        45 minutes, at least about 40 minutes, at least about 30 min
herein can be used to improve at least three characteristics utes, at least about 20 minutes, at least about 15 minutes, at
from the group presented above, and at least three indications least about 10 minutes, at least about 5 minutes, at least about
presented above. In some embodiments, methods and devices       1 minute, at least 30 seconds, at least about 10 seconds, at
described herein can be used to improve at least three char 50 least about 5 seconds, and at least about 1 second. The term
acteristics from the group presented above, and at least two “about when referring to the specified period of time of use
one indications presented above.                                of the EEG electrodes to measure brain waves can mean
   Methods and devices described herein can be used to pro variation of, for example, 1 minute to 5 minutes, 30 seconds
vide an improvement to a mental disorder as measured using to 1 minute, 15 seconds to 30 seconds, 5 seconds to 15
a rating scale selected from the group consisting of HAMA, 55 seconds, 1 second to 10 seconds, 1 second to 5 seconds, 0.5
HAMD, PANSS, MADRS, BARS, SAS, and any combina seconds to 1 second, and 0.1 seconds to 0.5 second.
tion thereof. In some embodiments of at least one aspect           In some embodiments, the intrinsic frequency of the Sub
described above, the method provides an improvement as ject is an alpha frequency of a brain of the Subject. In some
measured using the Unified Parkinson's Rating Scale. In embodiments, alpha EEGofa brain of a subject can be critical
Some embodiments of at least one aspect described above, the 60 in normal cognitive processes and the desynchronization of
method provides an improvement as measured using a modi alpha activity can play a pathophysiological role in the mental
fied Unified Parkinson's Rating Scale. The modified Unified disorders listed above. In some embodiments, the therapy
Parkinson's Rating Scale may include, for non-limiting using methods or systems described lasts for about 20 min
example, measuring muscle tone and knee/arm flexibility.        utes, is very gentle, and unnoticeable to the Subject. In some
   In some embodiments, the pMERT (permanent Magneto 65 embodiments, the quantifiable change in alpha frequency can
EEG Resonant Therapy) device (i.e. the NEST device) com be seen clearly following the therapy session, and the patient
prises one or more powerful magnets (>5000 G each) that may have an immediate reduction in Symptoms. The therapy
      CaseCase
           5:23-cv-00626-XR
               5:23-cv-00626 Document
                             Document2-1
                                      10-1Filed
                                              Filed
                                                 05/15/23
                                                    10/15/23
                                                           PagePage
                                                                58 of58
                                                                      77of 77


                                                      US 8,926,490 B2
                            47                                                                   48
using methods or systems described can be mild enough to be        pointing toward a head of a Subject. Accordingly, the Subject
used every day or as needed. The therapy using methods or          is subjected to a dynamic magnetic field having a specific
systems described does not have to involve any medication          polarity.
whatsoever.                                                           In some embodiments, the devices described comprise at
   “Patient' and “subject” are synonyms, and are used inter least one rotating mechanism. In some embodiments,
changeably. As used herein, they mean any animal (e.g. a mechanical subunits including cams, gears and/or linkages
mammal) on which the inventions described herein may be may be utilized to move at least one magnet. These mechani
practiced. Neither the term “subject nor the term “patient' is cal Subunits may be powered through motorized means or
limited to an animal under the care of a physician.                may be connected to other devices moving in the Surrounding
   FIG. 5 shows a sample EEG segment for a subject before 10 environment which will cause the mechanical device to move
therapy is delivered. The block on the left shows a time series the magnet. An external exciter magnet may be positioned
EEG while the subject is sitting at rest with eyes closed. The near the devices described, where the external exciter magnet
block in the center shows the energy across the frequency generating a Sufficiently strong magnetic field to cause move
spectrum for the sampled EEG. The vertical line drawn 15 ment of at least one magnet contained within the devices
through the peaks is at 9.1 Hz, the subjects intrinsic alpha described.
frequency. The circle at the right shows the distribution of          In some embodiments, magnets of the devices described
EEG energy at the intrinsic alpha frequency throughout the can be rotated by a rotating mechanism other than a motor. In
head, looking down on the top of the subject’s head. In the Some embodiments, the devices comprise at least one orifice
circle representation, the majority of the EEG energy at the so that a stream of fluid Such as a gas or liquid may be forced
alpha frequency is concentrated at the back of the brain.          into the devices, wherein the stream offluid being sufficiently
   FIG. 6 is similar to FIG. 5, except the EEG was sampled strong so as to move at least one magnet, thus creating relative
immediately following therapy. In this, it can be seen that the movement between the at least one magnet and a head of a
energy associated with the intrinsic alpha frequency has Subject.
increased significantly. From the circle representation on the 25 While permanent magnets of any strength may be utilized
right, it can be seen that the distribution of energy at the for the methods and devices described herein, generally mag
intrinsic alpha frequency throughout the head is more uni nets having strengths within the range of about 10 Gauss to
form, though the majority of energy is still concentrated at the about 4 Tesla can be used. In some embodiments, the strength
back of the brain.                                                 of at least one permanent magnet is from about 100 Gauss to
The pMERT Device (NEST Device)                                  30 about 2 Tesla. In some embodiments, the strength of at least
   Devices described may contain a plurality of magnets, and one permanent magnet is from about 300 Gauss to about 1
a plurality of magnets may be used to form an array to pro Tesla.
duce a desired magnetic field. Such magnetic field can be a           In some embodiments, the permanent magnets for the
pulsing or temporally variable unipolar magnetic field where methods and devices described comprise rare earth magnets
treatments are performed with a magnetic field having a spe 35 Such as neodymium, iron, boron or Samarium cobalt magnets.
cific pole.                                                        In some embodiments, the permanent magnets for the meth
   In some embodiments of a device or devices as described         ods and devices described are neodymium iron boron mag
herein, the device is operable to influence an intrinsic fre nets. In some embodiments, ceramic magnets, electromag
quency of the brain of a subject within a specified EEG band. nets or other more powerful magnets may be utilized as they
A device as described herein may be operable to influence a 40 become available. In some embodiments, electromagnets
Q-factor of an intrinsic frequency of the brain of a subject may be utilized for the methods and devices described. Cur
within a specified EEG band. A device as described herein rent can be Supplied to the electromagnetby wires penetrating
may be operable to influence a coherence of intrinsic frequen through the devices described and connecting to an external
cies among multiple sites in the brain of a Subject within a power source.
specified EEG band. A device as described herein may be 45 Described are magnetic therapeutic devices and methods
operable to influence a EEG phase of intrinsic frequencies for magnetic therapies where a brain of a Subject is subject to
among multiple sites in the brain of a subject within a speci at least one dynamic magnetic field having an amplitude of at
fied EEG band.                                                       least a half waveform. In certain embodiments, the treatment
   In some embodiments, a method of treating a subject com area is exposed to a half waveform of magnetic flux. In other
prises: (a) adjusting output of a magnetic field for influencing 50 embodiments, the treatment area is exposed to a full wave
a Q-factor, a measure of frequency selectivity of a specified form of magnetic flux. Still other embodiments may permit
EEG band, of the subject toward a pre-selected or target treatment area to be exposed to either a half or full waveform.
Q-factor of the band; and (c) applying said magnetic field To subject the treatment area to Such a dynamic magnetic
close to a head of the subject.                                      field, the magnetic source may be rotated, oscillated, moved
   In some embodiments, devices described can comprise a 55 through a particular pattern, or otherwise moved relative to a
Substantially planar member upon which are affixed a plural head of a subject. The application area of the subject can be
ity of magnets. Thus, the magnets may be oriented so as to positioned relative to the magnetic source so that the mag
permit application of a magnetic field having a substantially netic field extends around and/or through the application area.
uniform polarity to a user. In some embodiments, the magnets In certain embodiments, the devices described comprise at
may also be positioned on the array so that adjacent magnets 60 least one magnet having a north and South magnetic pole and
have opposite polarities.                                            a pole width equal to the width of the magnet at the poles.
   In some embodiments, the devices described may be con                Three parameters of magnetic fields generated by the
figured so as to restrict, in one or more directions, the move devices described can be manipulated:
ment of the magnet within the devices, thereby enabling                 (a) the intensity of the magnetic field at the treatment site,
selection of the polarity of the magnetic field to which the user 65       which can be determined by the strength of the magnets
is subjected. For example, magnets may be placed within the                used and the distance between the magnets and the Sub
devices described so that one face of the magnet is always                 jects head;
      CaseCase
           5:23-cv-00626-XR
               5:23-cv-00626 Document
                             Document2-1
                                      10-1Filed
                                              Filed
                                                 05/15/23
                                                    10/15/23
                                                           PagePage
                                                                59 of59
                                                                      77of 77


                                                      US 8,926,490 B2
                                 49                                                                50
   (b) the frequency of the magnetic field, i.e., the rate of shows a full waveform in the form of a step function where a
      change of the magnetic field, which can be determined magnetic field cycles through a sequence wherein the mag
      by movements of at least one magnet, Such as by varying netic field is positive (+) then neutral, then negative (-), then
      the speed at which at least one magnet moved relative to neutral, and repeats. FIG. 10C shows a half waveform in the
      the application area;                                       5 form of a step function where a magnetic field cycles through
   (c) the amplitude of the net change in magnetic flux (or a sequence wherein the magnetic field is positive (+) then
      waveform) to which the application area is Subjected, neutral, and repeating this sequence. FIG. 10D shows an
      and                                                           alternative a half waveform in the form of a step function
   (d) the phase of the magnetic field between two (or more) where a magnetic field cycles through a sequence wherein the
      magnets (i.e. the magnetic phase) when the magnetic 10 magnetic field is positive (+) then off (or neutral), remaining
      field frequencies of the two (or more) magnets are the off (neutral) for a longer period of time than remaining posi
      same (or Substantially the same).                             tive (+), and repeating this sequence. FIGS. 10E, 10F and 10G.
   As to the amplitude of the net change in magnetic flux, it is each show example full wave forms resulting from embodi
generally known that permanent magnets have a north pole ments of a NEST device having at least one magnet wherein
and Southpole, with north pole magnetic flux emanating from 15 the magnets, or magnets’ north pole and South pole alterna
the north pole, and South pole magnetic flux emanating from tively change distances from the Subject in a regular pattern.
the South pole. In some embodiments, the application area is By shielding a pole of the magnets of the array, half wave
subject to a “full waveform” according to the devices and forms may be created using the same array of magnets, for
methods described. For example, when a permanent magnet example shielding as shown in FIG. 11C and/or FIG. 11D,
rotates relative to an application area, the application area discussed further below.
may initially be subjected to a “full north pole field' where the      In some embodiments, the application area is Subject to a
north pole of the magnet is closest to the application area. As “half waveform” according to the devices and methods
the north pole rotates away from the application area and the described. For example, an object may be subjected to a “half
South pole rotates toward the application area, the strength of waveform where the magnet rotates relative to the applica
the north pole field decreases until a “neutral field' is encoun 25 tion area from a full north pole field to a neutral field or from
tered, approximately at the midpoint of the magnet. As the full south pole field to a neutral filed. In some embodiments,
South pole continues to rotate toward the application area, the the “half waveform’ treatment can be achieved by limiting
application area is Subjected to a South pole field of increasing rotation or movement of the magnets. In some embodiments,
intensity until the South pole is closest to the application area the “half waveform’ treatment can be achieved by shielding
where the application area is subjected to a “full south pole 30 the north pole or South pole of the magnet, leaving only the
field. By rotating in this fashion, the object is subjected to a other pole exposed for the treatment of the application area.
“full waveform.” Likewise, the application area is also subject        To subject the treatment area to a dynamic magnetic field
to a “full waveform' when the magnet rotates from the south by the methods and devices described herein, the magnetic
pole to the north pole. As used herein, a South pole may also Source may be rotated, oscillated, moved through a particular
be referred to as “negative. (-), or S, and a north pole may 35 pattern, or otherwise moved relative to the treatment area. In
also be referred to as “positive.” (+), or N.                       Some embodiments, the magnetic source is rotated about an
   For example, FIG. 10A through FIG. 10G show some axis. In some embodiments, the magnetic source is oscillated
exemplary embodiments for various movements of at least with respect to the application area. In some embodiments,
one permanent magnet. FIG. 10A shows a graph of the mag the magnetic source has a linear movement with respect to the
netic field over time. That is, it shows a graph92a expressing 40 application area. Such linear movement can be like a piston
an example magnetic field experienced by a Subject 6a as a movement. In some embodiments, the magnetic source has a
magnet 2a rotation about an axis between the north pole (+) Swing motion with respect to the application area. Such Swing
and South pole (-) of the magnet 2a. The position of the motion can be like a Swinging pendulum movement. In some
magnet relative to the Subject 6a and the field strength (+ or -, embodiments, the magnetic source has a combination of rota
amplitude can vary, depending on for example, the applica 45 tion, linear, oscillated, and Swing movements. In some
tion, method, magnet and therapy being delivered) is shown embodiments, the magnetic source has any combination of
in FIG. 10A. For example at Time-0, the subject 6a may rotation, linear, oscillated, and Swing movements. In some
experience no magnetic field (i.e. a neutral field) when the embodiments, said movement comprises at least one of rota
magnet’s north pole is equally as far from the Subject 6a as the tional motion, linear motion, and Swing motion.
magnet’s South pole (assuming the north pole and South pole 50 In some oscillatory embodiments, a plurality of magnets
have equal strengths yet opposite polarities). As the magnet are fixedly mounted on a Supporting plate, the magnets being
2a spins such that the South pole of the magnet 2a is closest to spaced apart from each other so that the each magnetis spaced
the Subject 6a, the Subject 6a experiences a negative magnetic apart from the next nearest magnets by at least one pole width.
field, as shown in FIG. 10a, and as the magnet 2a spins Each magnet may be positioned so that the upwardly facing
further, the Subject 6a is exposed to a changing magnetic field 55 pole of each magnet is the same. For example, in one con
from, for example, a neutral field, to a negative field, to a figuration, the north pole face of each magnetis mounted to a
neutral field, to a positive field, and so on. As further shown in Supporting plate. In an alternate configuration, the South pole
FIG. 10A, an array of magnets (i.e. a plurality) may be used face of each magnet is mounted to a Supporting plate. By
alternatively to a single magnet to provide a more uniform laterally displacing magnets so arranged proximate to an
field to the subjects brain. FIG. 10A shows a subject 6a1 60 application area, Such area is subjected to a repeating half
exposed to an array of nine rotating magnets, as well as a waveform (full north to Zero to full north). In another embodi
Subject 6a2 exposed to an array of five rotating magnets. In ment, by reversing the polarity of the magnets proximate to
Some embodiments, any number of rotating magnets may be the application area, Such area is subjected to a repeating half
used to provide a more uniform field to the subjects brain.         waveform (full south to Zero to full south).
   Various exemplary wave forms resulting from embodi 65 In some oscillatory embodiments, a plurality of elongated
ments of the devices and methods provided herein are shown magnetic sources are placed adjacent to each other so that a
in FIGS. 10B through FIG. 10G. For example, FIG. 10B repeating pattern of alternating magnetic poles are formed,
       CaseCase
            5:23-cv-00626-XR
                5:23-cv-00626 Document
                              Document2-1
                                       10-1Filed
                                               Filed
                                                  05/15/23
                                                     10/15/23
                                                            PagePage
                                                                 60 of60
                                                                       77of 77


                                                     US 8,926,490 B2
                              51                                                                 52
the poles being spaced apart by a predetermined distance. The        FIG.11 I shows another embodiment device having a single
oscillation of the magnetic sources by a distance equal to or     magnet 102i mounted a distance away from the rotation axis
greater than the predetermined distance Subjects an applica       138 of the device, and having the north pole (N) of the magnet
tion area to a complete reversal of magnetic flux, i.e., a full   102i closer to the rotation axis 138 than the south pole (S) of
waveform.                                                       5 the magnet 102i. In the embodiment of FIG. 11I, the subject
   FIGS. 11A through 11K show additional exemplary (not shown) could be positioned, for example, Such that the
embodiments for various movements of at least one perma rotation axis 138 is generally perpendicular with the scalp of
nent magnet. FIG. 11A shows two magnets 102a1, 102a2 the               subject, or wherein the rotation axis 138 is generally
                                                                  parallel to the scalp of the Subject, depending on the desired
coupled to each other and spun about a rotation axis 138a. In 10 waveform
the embodiment of FIG. 11A, the subject (not shown) could FIG. 11J isand/or           magnetic flux for the particular Subject.
                                                                                similar  to FIG. 11I but with the magnet 102k
be positioned, for example, such that the rotation axis 138 is having opposite polarity      to the magnet 102i of FIG. 11I.
generally perpendicular with the scalp of the Subject, or            FIG.  11K  depicts an alternate embodiment device having a
wherein the rotation axis 138 is generally parallel to the scalp single arc-like magnet 1021 (which      may be, for example, a
of the subject, depending on the desired waveform and/or 15 horseshoe magnet), that is coupled to a drive shaft 104 aligned
magnetic flux for the particular subject. FIG. 11B is similar to with the rotation axis 138. As the drive shaft 104 spins about
FIG. 11A but with the magnets 102b1,102b2 having opposite the rotation axis 138, the magnet 102d likewise rotates about
polarity to the magnets 102a1, 102a2 of FIG. 11A.                 the rotation axis 138. In the embodiment of FIG. 11K, the
   FIG. 11C depicts another embodiment device having a Subject (not shown) could be positioned, for example, Such
single magnet 102c having a shield 194 covering the north 20 that the rotation axis 138 is generally perpendicular with the
pole of the magnet 102c. The magnet 102c spins about a scalp of the subject, or wherein the rotation axis 138 is gen
rotation axis 138 along the neutral plane of the magnet (i.e. erally parallel to the scalp of the Subject, depending on the
between the north and southpoles of the magnet 102c). In the desired waveform and/or magnetic flux for the particular
embodiment of FIG. 11C, the subject (not shown) could be Subject.
positioned, for example, such that the rotation axis 138 is 25 The phrase “continuously applied' or “continuous appli
generally perpendicular with the scalp of the Subject, or cation” refer to treatments where an application area is Sub
wherein the rotation axis 138 is generally parallel to the scalp ject to at least one magnetic field with a full waveform or a
of the subject, depending on the desired waveform and/or half waveform for a period of time typically longer than 2
magnetic flux for the particular subject. FIG. 11D is similar to minutes. Such phrases are distinguished from short pulse
FIG. 11C but with the magnet 102d having opposite polarity 30 application (typically microseconds) of a magnetic field.
to the magnet 102c of FIG. 11C. FIG. 11D shows single                In some embodiments, the devices described can be pow
magnet 102d having a shield 194 covering the south pole of ered with a rechargeable battery. One battery charge can be
the magnet 102d.                                                  enough for one or more therapy sessions. In some embodi
   FIG. 11E shows another embodiment device having a ments, a display can indicate battery life remaining and signal
single magnet 102e that Swings with pendulum-like motion 35 when the device should be recharged.
along a pendulum path 198, the pendulum path 198 at least in         In some embodiments, the devices described use at least
part defined by the distance between magnet 102e and the one connection to a computer to allow for upload of therapy
pendulum pivot 96. In the shown embodiment, the south pole information, download of software upgrades, and to order
(S) of the magnet 102e is farther from the pendulum pivot 96      more sessions to be allowed for the device. The connection
than the north pole (N) of the magnet 102e. In the embodi- 40 may be a USB type of connection, or another type of connec
ment of FIG. 11E, the subject (not shown) could be posi tion known or contemplated.
tioned, for example, such that the pendulum path 198 is              The speed of rotation can be critical to the specific therapy
generally perpendicular with the scalp of the Subject, or that is delivered. Therefore, in some embodiments, the speed
wherein the pendulum path 198 is generally parallel to the of rotation is tightly controlled. In some embodiments, the
Scalp of the Subject, depending on the desired waveform 45 speed setting may be set by the user or may be set by a
and/or magnetic flux for the particular subject. FIG. 11F has controller that uses a biological sensor as feedback to opti
similar characteristics to FIG. 11E, but with the magnet 102f mize the magnetic field frequency.
of FIG. 11F having opposite polarity to magnet 102e of FIG.          In some embodiments, the methods and devices described
11E.                                                                use at least one bio-feedback sensor, the sensor can bean EEG
   FIG. 11G depicts another embodiment device having a 50 lead placed on the scalp, along with a reference electrode that
single magnet 102g that is configured to spin about a rotation can be placed in an area of little sensed brain activity. When
axis 138 positioned in the north pole region of the magnet more than one EEG sensor is used, correlation information
102g (i.e. somewhere between the neutral plane of the magnet can begained among separate areas of the brain. The EEG and
and the north pole (N) end of the magnet 102g). The rotation reference leads can be connected through a differential ampli
axis 138 is generally parallel to the neutral plane (not shown) 55 fier to a controller module that regulates the speed of at least
of the magnet 102g. In the embodiment of FIG. 11G, the one motor to rotate at least one magnet above the scalp.
Subject (not shown) could be positioned, for example, Such            Sensing EEG with a magnet rotating in the vicinity can be
that the rotation axis 138 is generally perpendicular with the difficult, since the magnet can affect the electrode. To allow
scalp of the subject, or wherein the rotation axis 138 is gen proper EEG measurement, a technique may be used to Sub
erally parallel to the scalp of the Subject, depending on the 60 tract the pure sine wave from the sensed EEG. In some
desired waveform and/or magnetic flux for the particular embodiments, the magnet rotation can be stopped tempo
subject. FIG. 11H is similar to FIG. 11G but with the magnet rarily in order to take an EEG measurement that does not
102h having opposite polarity to the magnet 102g of FIG. include the effect of the rotating magnet.
11G, and wherein the rotation axis 138 positioned in the south        Provided herein is a device operable to influence an EEG
pole region of the magnet 102h (i.e. somewhere between the 65 phase between two sites in the brain of a subject 2806 within
neutral plane of the magnet and the south pole (S) end of the a specified EEG band, for example, as shown in FIG. 28. Any
magnet 102h).                                                      of the devices described herein may be used to influence the
      CaseCase
           5:23-cv-00626-XR
               5:23-cv-00626 Document
                             Document2-1
                                      10-1Filed
                                              Filed
                                                 05/15/23
                                                    10/15/23
                                                           PagePage
                                                                61 of61
                                                                      77of 77


                                                      US 8,926,490 B2
                               53                                                                    54
EEG phase between two sites in the brain of a subject within            In some embodiments of the devices disclosed herein, the
a specified EEG band. The device may comprise at least two difference between the first rotational orientation and the
permanent magnets 2802a, 2802b, wherein the subunit (not second rotational orientation results in a magnetic phase
shown in FIG. 28, but shown in other figures, for example, when the first permanent magnet is moved at the same fre
FIGS. 1-4, 24, 25, 27) of the device is coupled to both the first 5 quency as the second permanent magnet. As shown in FIG.
and the second magnet, and wherein the subunit enables 28,               for non-limiting example, the first magnet 2802a has a
movement of the second magnet at a frequency between rotational orientation relative to the treatment surface 2899
about 0.5 Hz and about 100 Hz. The subunit may enable that is different than the rotational orientation of second mag
movement of the second magnet at a frequency between 10 wherein      net 2802b. The first magnet 2802a has a rotational orientation
about 2 Hz, and about 20 Hz. The subunit may enable move the treatment        its neutral axis nearly parallel (or tangential, where
ment of the first and second magnet at the same frequencies. nearest it, withsurface         is curved) to the treatment surface 2899
                                                                                      its north pole closest to the treatment surface
   FIG. 28 shows an example embodiment of a NEST device 2899. The second
applied to a subject 2806, wherein the NEST device has three wherein its neutralmagnet             2802b has a rotational orientation
                                                                                            axis that is nearly perpendicular to the
diametrically magnetized cylindrical magnets 2802a, 2802b, 15 treatment surface 2899             nearest it, with its north pole only
2802c, rotating about their cylinder axes having a magnetic slightly closer to the treatment surface 2899 than its south
phase between at least two of the magnets that is not Zero. As pole. Relative to the treatment Surface nearest each magnet,
shown in FIG. 27. a first permanent magnet 2802a of a device thus, the first magnet 2802a has a rotational orientation that is
operable to influence an EEG phase may have a first rotational offset from the rotational axis of the second magnet 2802b by
orientation relative to a treatment surface 2899 of the device       around 90 degrees. The first rotational orientation relative to
and the second permanent magnet 2802b may have a second a first portion of a treatment surface of the device may be
rotational orientation relative to the treatment surface 2899 of     between at least about 0 degrees and about 360 degrees dif
the device. The device may be operable to move the first ferent from the second rotational orientation relative to a
permanent magnet 2802a at the same frequency as the second second portion of the treatment surface of the device. The first
permanent magnet 2802b.                                           25 rotational orientation relative to a first portion of a treatment
   In some embodiments, a magnetic field results from a first surface of the device may be at least one of between at least
magnetic source and a second magnetic source. FIG. 29 about 0 degrees and about 180 degrees, between at least about
shows the magnetic field strengths 2997a, 2997b of two mag 0 degrees and about 90 degrees, between at least about 0
nets moving at the same frequency at the same time 2992, but degrees and about 45 degrees, between at least about 0
having a magnetic phase 2991 relative to one another (out of 30 degrees and about 30 degrees, between at least about 0
phase relative to each other). The magnetic field strengths in degrees and about 15 degrees, between at least about 0
this graph are plotted with time on the X axis, and magnetic degrees and about 10 degrees, at least about 5 degrees, at least
field strength on the y axis (with two X axis, to show the about 10 degrees, at least about 15 degrees, at least about 30
relative field strengths of each magnet simultaneously). As degrees, at least about 45 degrees, at least about 60 degrees, at
depicted in FIG. 29, a first magnetic source and a second 35 least about 90 degrees, at least about 120 degrees, at least
magnetic source may be out of phase relative to each other in about 180 degrees, at least about 240 degrees, and at least
order to influence the EEG phase of the subject. In some about 270 degrees different from the second rotational orien
embodiments, the amount that the first magnetic source and tation relative to a second portion of the treatment surface of
the second magnetic source are out of phase relative to each the device. The specified EEG frequency may be an intrinsic
other is called the magnetic phase 2991. The magnetic phase 40 frequency as described herein. The specified EEG frequency
may be measured peak to peak (i.e. peak of the first magnets may be a pre-selected frequency as described herein. The
field strength to peak of the second magnet’s field strength— pre-selected frequency may be an average intrinsic frequency
as shown in FIG. 29, at 2991), or trough to trough, or inflec of a healthy population database within a specified EEG band.
tion to inflection, or any similar plot characteristic on both of       The magnetic phase of the device may be operable to
the magnets field strength graphs.                                45 influence an EEG phase between a first site and a second site
   In some embodiments, the first portion of the treatment in the brain of a subject of a specified EEG frequency. FIG.30
Surface is the portion of the treatment Surface approximately shows theoretical EEG electrode readings 3095a,3095b mea
closest to the first permanent magnet, and wherein the second sured at two locations on a subject’s head within a single EEG
portion of the treatment surface is the portion of the treatment band when the two locations are exhibiting similar (or the
Surface approximately closest to the second permanent mag- 50 same) frequency, but are out of phase relative to each other,
net. For example, in FIG. 28, the treatment surface 2899 i.e. displaying an EEG phase 3089. The EEG readings over
extends between the magnets 2802a, 2802b, 2802c and the time in this graph are plotted with time on the x axis, and EEG
head of the subject 2806. The first portion of the treatment readings on the y axis (with two X axis, to show two EEG
surface is that portion of the treatment surface 2899 between electrode readings taken simultaneously at different locations
the first magnet 2802a and the nearest portion of the head of 55 on the head of the subject). As depicted in FIG.30, a first EEG
the subject 2806, Likewise, the second portion of the treat reading 3095a, and a second EEG reading 3095b may be out
ment surface is that portion of the treatment surface 2899 of phase relative to each other. In some embodiments, the
between the second magnet 2802b and the nearest portion of amount that the first EEG reading and the second EEG read
the head of the subject 2806. In some embodiments, the first ing are out of phase relative to each other is called the EEG
portion of the treatment surface is the portion of the treatment 60 phase 3089. The EEG phase 3089 may be measured peak to
Surface closest to the first permanent magnet that is intended peak (i.e. peak of the first EEG reading to peak of the second
to be approximately tangential to the head of the Subject EEG reading as shown in FIG. 30, at 3089), or trough to
nearest that treatment Surface. In some embodiments, the             trough, or inflection to inflection, or any similar plot charac
second portion of the treatment surface is the portion of the teristic on both of the EEG reading graphs.
treatment Surface approximately closest to the second perma- 65 In some embodiments, the first site in the brain of a subject
nent magnet that is intended to be approximately tangential to may generally align with a first permanent magnet, and the
the head of the subject nearest that treatment surface.              second site in the brain of a Subject may generally align with
      CaseCase
           5:23-cv-00626-XR
               5:23-cv-00626 Document
                             Document2-1
                                      10-1Filed
                                              Filed
                                                 05/15/23
                                                    10/15/23
                                                           PagePage
                                                                62 of62
                                                                      77of 77


                                                     US 8,926,490 B2
                                 55                                                                56
a second permanent magnet of the device to influence the and may include the EEG electrodes as described. Other
EEG phase between those two sites. Additional sites also be magnet, magnets, and/or magnetic field configurations as
measured, and additional magnets may additionally be used described herein may be used. Other controller subunits as
to influence the EEG phase between given sites toward a described herein may be used. The first electrode may be
pre-selected EEG phase.                                              shaped to fit the area having Substantially no electrical
   Provided herein is a device comprising, a means for apply impulse interference, for non-limiting example, a portion of
ing a first magnetic field to a head of a Subject; and a means for the ear canal or a portion of the nasal cavity. The electrode
applying a second magnetic field to a head of a subject may be shaped like a hearing aid, including, for non-limiting
whereby the means for applying the first magnetic field and example, completely in the canal shaped, canal shaped, half
the means for applying the second magnetic field are capable 10 shell shaped, full shell shaped, behind the ear shaped, and
of influencing an EEG phase between at least two sites in a open ear shaped. The first electrode may be conformable to
brain of the subject of a specified EEG frequency. The mag the area having Substantially no electrical impulse interfer
netic fields (first magnetic field, and second magnetic field) ence. The first electrode may be compliant such that it fits the
may be of the same frequency, but out of phase with each specific anatomy of the Subject. The first electrode may come
other.                                                            15 in multiple sizes to accommodate a range of Subjects
   Additional magnetic fields may be provided by additional anatomy. The first electrode may be configured such that the
means for applying Such magnetic fields. These too may be Subject may place the electrode in the area having Substan
out of phase with each other, or with any of the magnetic tially no electrical impulse interference without assistance
fields. Nevertheless, the magnetic fields in some embodi from, for non-limiting example, a second person, a trained
ments may have the same frequencies. The devices may be a EEG technician, or a medical professional.
Permanent Magneto-EEG Resonant Therapy (pMERT) (i.e. a                  The area having Substantially no electrical impulse inter
Neuro-EEG Synchronization Therapy NEST device) as ference may be a location having Substantially no muscle
described herein.                                                    activity. The area having Substantially no muscle activity may
   Even a device having a magnetic phase of 0, where the naturally have Substantially no muscle activity. Alternatively,
magnets spin at the same frequencies, and in-phase relative to 25 the area having Substantially no muscle activity may be
the treatment surface of the device (and/or relative to the head relaxed by a muscle relaxation means such as, for non-limit
of the subject), may influence the EEG phase between two ing example, an injection with a substance that relaxes (and/
locations measured on the Subjects head. For example, if or paralyzes) the muscles in the area, a topical application of
prior to treatment, two EEG electrodes take EEG readings a Substance that relaxes (and/or paralyzes) the muscles in the
within an EEG band, and the frequencies are the same (or 30 area, and/or by an ingested muscle relaxation Substance.
substantially so), however, the EEG readings have peaks for             While an anatomical location of substantially no electrical
each electrode at different times (i.e. a non-zero EEG phase), impulse interference (but where brain activity may be mea
a device as described herein may influence the EEG phase by Sured) may provide a clearer EEG signal resulting in less
applying a magnetic field having a magnetic phase (i.e. where noise and reduced resistivity from the skull, the first electrode
the magnets move at the same frequency and in-phase with 35 may alternatively be placed on the scalp (either directly, and/
each other).                                                         or with hair between the scalp and the electrode). A single or
   In some embodiments, a device comprises a first electrode a plurality of electrodes may be placed on the scalp for coher
operable to detect electrical brain activity; and a second elec ence measurement, phase measurement, intrinsic frequency
trode operable to detect a reference signal, wherein the first measurement, and/or Q-factor measurement. Noise from
electrode is located on the Subject in at least one of an area of 40 scalp movement and/or resistivity from the skull may be
low electrical resistivity on a Subject, and an area with Sub filtered from the signal (or signals) received from the EEG
stantially no electrical impulse interference on a Subject, and electrodes, however, such filtering may not be necessary.
wherein the second electrode is located on the subject. In Curve Smoothing may be applied to the signal (or signals)
Some embodiments, a device comprises a first electrode oper received from the EEG electrodes, however, such curve
able to detect electrical brain activity; and a second electrode 45 Smoothing may not be necessary. Using any of the EEG
operable to detect a reference signal, wherein the first elec recording means noted herein, multiple signal recordings
trode is located on the subject in at least a portion of the ear may be taken and combined to determine, for non-limiting
canal of the subject, and wherein the second electrode is example, a coherence measurement, an intrinsic frequency
located on the Subject. Such electrode placements and con measurement, and/or a Q-factor measurement. An EEG elec
figurations may be part of any NEST device described herein. 50 trode cap may be used, and signals from one or more elec
Alternatively, these electrode configurations (including trodes of the cap may be used as described hereinto determine
placement and conformation) may be part of any device an intrinsic frequency, a Q-factor, or coherence.
wherein a clearer EEG signal is desired, since these configu            The area of the scalp upon which the first EEG electrode (or
rations result in reductions in noise and reduced resistivity the plurality of electrodes) is/are placed may be induced to
from other signals (such as muscle twitches, etc) as compared 55 have less muscle activity, or it may naturally have less muscle
to electrodes placed on, for example, the head of a Subject.         activity than other areas on the scalp. Inducing less muscle
   FIG. 27 shows an example embodiment of a NEST device activity in the area of the scalp may be achieved in various
having a first EEG electrode 2782a located in the subject’s ear ways. For non-limiting example, the area may be relaxed by
canal 2707, and a reference EEG electrode 2782b (i.e. a a muscle relaxation means such as an injection with a Sub
second electrode) located on an earlobe of the subject 2706. 60 stance that relaxes (and/or paralyzes) the muscles in the area,
Conductive gel 2783 may also be used with the first electrode a topical application of a Substance that relaxes (and/or para
2782b. In the embodiment shown in FIG. 27, the electrodes            lyzes) the muscles in the area, and/or by an ingested muscle
2782a, 2782b, couple by wires to a controller subunit 2758. relaxation Substance.
The controller subunit 2758 also couples to at least one mag            In some embodiments, the second electrode operable to
net 2702 operable to apply a magnetic field to the subjects 65 detect a reference signal is a ground reference. The second
2706 brain by spinning the magnet 2702 about its axis (not electrode may be an ear clip attached to, for non-limiting
shown). Other NEST devices as described herein may be used example, a subject’s earlobe. The second electrode may be
      CaseCase
           5:23-cv-00626-XR
               5:23-cv-00626 Document
                             Document2-1
                                      10-1Filed
                                              Filed
                                                 05/15/23
                                                    10/15/23
                                                           PagePage
                                                                63 of63
                                                                      77of 77


                                                    US 8,926,490 B2
                              57                                                                   58
attached to a location showing substantially no EEG activity. Q-factor a measure of frequency selectivity of a specified
The second electrode may be an ear clip.                            EEG band of the subject toward a pre-selected Q-factor of the
   The device as described herein may be operable to measure band; and applying said magnetic field close to a head of the
the EEG signal from the subjects brain prior to and/or after subject. In some embodiments, a NEST device, such as one of
the application of the magnetic field to the subject. The device 5 the NEST devices (pMERT devices) described herein is used
as described herein may comprise logic (in a computer read to create the magnetic field of the method.
able format—for non-limiting example, hardware, software)              Provided herein is a method of treating a subject, compris
that receives and records the EEG signal prior to and/or fol ing adjusting output of a magnetic field for influencing a
lowing application of the magnetic field to the Subjects brain coherence of intrinsic frequencies among multiple sites in a
(or a portion thereof). The device as described herein may 10 brain of the subject within a specified EEG band toward a
comprise logic (in a computer readable format) that deter pre-selected coherence value; and applying said magnetic
mines the intrinsic frequency of a specified EEG band of the field close to a head of the subject. In some embodiments, a
Subject using the EEG signal prior to and/or following appli NEST device, such as one of the NEST devices (pMERT
cation of the magnetic field to the Subject's brain (or a portion devices) described herein is used to create the magnetic field
thereof). The device as described herein may comprise logic 15 of the method.
(in a computer readable format) that determines the Q-factor           Provided herein is a method of altering an intrinsic fre
of an intrinsic frequency of a specified EEG band of the quency of a brain of a subject within a specified EEG band,
Subject using the EEG signal prior to and/or following appli comprising determining the intrinsic frequency of the Subject
cation of the magnetic field to the Subject's brain (or a portion within the specified EEG band; comparing the intrinsic fre
thereof). The device as described herein may comprise logic 20 quency from step (a) to an average intrinsic frequency of a
(in a computer readable format) that determines the coher healthy population database; if the intrinsic frequency from
ence of the intrinsic frequencies of a specified EEG band of step (a) is higher than the average intrinsic frequency of the
the subject measured at multiple brain locations. The device healthy population database, shifting down the intrinsic fre
as described herein may comprise logic (in a computer read quency of the Subject by applying a specific magnetic field
able format) that determines the phase of the intrinsic fre- 25 close to a head of the Subject, wherein said specific magnetic
quencies of a specified EEG band of the subject measured at field has a frequency lower than the intrinsic frequency of the
multiple brain locations.                                           Subject; and if the intrinsic frequency from Step (a) is lower
   Provided herein is a method of treating a subject, compris than the average intrinsic frequency of the healthy population
ing adjusting output of a magnetic field for influencing an database, shifting up the intrinsic frequency of the Subject by
intrinsic frequency of a specified EEG band of the subject 30 applying a specific magnetic field close to a head of the
toward a pre-selected intrinsic frequency of the specified Subject, wherein said specific magnetic field has a frequency
EEG band; and applying said magnetic field close to a head of higher than the intrinsic frequency of the subject. In some
the subject. In some embodiments, a NEST device, such as embodiments, a NEST device, such as one of the NEST
one of the NEST devices (pMERT devices) described herein devices (pMERT devices) described herein is used to create
is used to create the magnetic field of the method. In some 35 the magnetic field of the method.
embodiments, influencing an intrinsic frequency may include            Provided herein is a method of altering a Q-factor of an
influencing harmonics of the pre-selected intrinsic frequency intrinsic frequency within a specified EEG band of a subject,
of the specified EEG band. In some embodiments, the pre comprising determining the Q-factor of the intrinsic fre
selected intrinsic frequency is a harmonic of the peak intrinsic quency within the specified EEG band of the subject; com
frequency of a specified EEG band. In some embodiments, 40 paring the Q-factor of the intrinsic frequency from step (a) to
influencing an intrinsic frequency may include providing a an average Q-factor of the intrinsic frequency of a healthy
magnetic field having a target frequency that can be repre population database; if the Q-factor of the intrinsic frequency
sented in the frequency domain by an impulse function. In from step (a) is higher than the average Q-factor of the intrin
Some embodiments, influencing an intrinsic frequency may sic frequency of the healthy population database, tuning
include providing a magnetic field having a target frequency 45 down the Q-factor of the intrinsic frequency of the subject by
having no variation (standard of deviation around the target applying a magnetic field with varying frequencies close to a
frequency is 0). In some embodiments, influencing an intrin head of the subject; and if the Q-factor of the intrinsic fre
sic frequency may include providing a magnetic field having quency from step (a) is lower than the average Q-factor of the
a target frequency plus or minus at most 1% of the target intrinsic frequency of the healthy population database, tuning
frequency. In some embodiments, influencing an intrinsic 50 up the Q-factor of the intrinsic frequency of the subject by
frequency may include providing a magnetic field having a applying a specific magnetic field with a pre-selected fre
target frequency plus or minus at most 5% of the target fre quency close to a head of the Subject. In some embodiments,
quency. In some embodiments, influencing an intrinsic fre a NEST device, such as one of the NEST devices (pMERT
quency may include providing a magnetic field having a devices) described herein is used to create the magnetic field
target frequency plus or minus at most 10% of the target 55 of the method.
frequency. In some embodiments, influencing an intrinsic               Provided herein is a method of improving coherence of
frequency may include providing a magnetic field having a intrinsic frequencies within a specified EEG band among
target frequency plus or minus at most 10% of the target multiple locations of a brain of a Subject, comprising deter
frequency. In some embodiments, influencing an intrinsic mining the coherence value of the intrinsic frequencies
frequency may include providing a magnetic field having a 60 among multiple locations throughout a scalp of the Subject;
target frequency plus or minus at most 15% of the target comparing the coherence value from step (a) to an average
frequency. In some embodiments, influencing an intrinsic coherence value of a healthy population database; if the
frequency may include providing a magnetic field having a coherence value from step (a) is higher than the average
target frequency plus or minus at most 20% of the target coherence value of the healthy population database, lowering
frequency.                                                       65 the coherence value of the Subject by applying at least two
   Provided herein is a method of treating a subject, compris asynchronous magnetic fields close to a head of the Subject; if
ing adjusting output of a magnetic field for influencing a the coherence value from step (a) is lower than the average
      CaseCase
           5:23-cv-00626-XR
               5:23-cv-00626 Document
                             Document2-1
                                      10-1Filed
                                              Filed
                                                 05/15/23
                                                    10/15/23
                                                           PagePage
                                                                64 of64
                                                                      77of 77


                                                     US 8,926,490 B2
                            59                                                                  60
coherence value of the healthy population database, raising        embodiments, the amount that the first magnetic source and
the coherence value of the Subject by applying at least one        the second magnetic source are out of phase relative to each
synchronized magnetic field close to a head of the Subject. In     other is called the magnetic phase.
some embodiments, a NEST device, such as one of the NEST              In some embodiments of at least one aspect described
devices (pMERT devices) described herein is used to create         herein, the step of applying the magnetic field is for a pre
the magnetic field of the method.                                    determined cumulative treatment time. In some embodiments
   Provided herein is a method comprising adjusting an out of at least one aspect described above, the pre-selected or
put current of an electric alternating current source for influ target intrinsic frequency with the specified EEG band is from
encing a Q-factor of an intrinsic frequency of an EEG band of about 0.5 Hz to about 100 Hz. In some embodiments of at
a subject toward a target Q-factor, and applying said output 10 least one aspect described above, the pre-selected or target
current across a head of the Subject.                                intrinsic frequency with the specified EEG band is from about
   Provided herein is a method comprising adjusting output of 1 Hz to about 100 Hz. In some embodiments of at least one
a magnetic field for influencing an EEG phase between two aspect described above, the pre-selected or target intrinsic
sites in the brain of a subject of a specified EEG frequency frequency with the specified EEG band is not greater than
toward a pre-selected EEG phase of the specified EEG fre 15 about 50 Hz. In some embodiments of at least one aspect
quency; and applying said magnetic field close to a head of described above, the pre-selected or target intrinsic frequency
the subject.                                                         with the specified EEG band is not greater than about 30 Hz.
   In some embodiments, the pre-selected EEG phase is lower In some embodiments of at least one aspect described above,
than the EEG phase between the two sites in the brain of the the pre-selected or target intrinsic frequency with the speci
subject. In some embodiments, the pre-selected EEG phase is fied EEG band is not greater than about 20 Hz. In some
any EEG phase lower than the EEG phase between the two embodiments of at least one aspect described above, the pre
sites in the brain of the subject. In some embodiments, the selected or target intrinsic frequency with the specified EEG
pre-selected EEG phase is higher than the EEG phase band is not greater than about 10 Hz. In some embodiments of
between the two sites in the brain of the subject. In some at least one aspect described above, the pre-selected or target
embodiments, the pre-selected EEG phase is any EEG phase 25 intrinsic frequency with the specified EEG band is greater
higher than the EEG phase between the two sites in the brain than about 3 Hz. In some embodiments of at least one aspect
of the subject. In some embodiments, the pre-selected EEG described above, the pre-selected or target intrinsic frequency
phase is an EEG phase of a population of people. The popu with the specified EEG band is greater than about 1 Hz.
lation of people may be a set of people having a particular             In some embodiments, of at least one aspect described
trait, characteristic, ability, or feature. The population may be 30 above, the pre-selected or target intrinsic frequency with the
a healthy population of people. The population of people may specified EEG band is up to about 25 Hz. As used herein, the
be a set of people not having a particular disorder, such as term “about when referring to a frequency can mean varia
anxiety, depression, or other disorders mentioned herein. In tions of 0.1 HZ-0.2 HZ, 0.1 Hz to 0.5 HZ, 0.5 Hz to 1 Hz, or 1
Some embodiments, the methods comprise measuring EEG HZ to 5 HZ.
data of two sites in the brain of the Subject, and calculating the 35 In some embodiments, the pre-selected and/or target intrin
EEG phase between the two sites in the brain of a subject.           sic frequency is chosen from a plurality of intrinsic frequen
   In some embodiments, there is no pre-selected EEG phase. cies in the specified EEG band. In some embodiments the
Rather, the method comprises adjusting output of a magnetic pre-selected and/or target intrinsic frequency is chosen from
field for influencing an EEG phase between two sites in the a plurality of intrinsic frequencies across a plurality of EEG
brain of a subject within a specified EEG band; and applying 40 bands. In some embodiments the specified EEG band is the
said magnetic field close to a head of the subject. The EEG Alphaband. In some embodiments the specified EEG band is
phase may be influenced to be lower, or higher.                      the Beta band.
   In another aspect are methods for influencing an EEG                 In some embodiments of the methods described herein, the
phase of a specified EEG frequency between multiple loca method or methods may comprise locating a first electrode
tions of a brain of a subject, comprising determining the EEG 45 operable to detect electrical brain activity on the subject in an
phase the between at least two locations measured on the head area of low electrical resistivity on a subject. In some embodi
of the subject; comparing the EEG phase to an average EEG            ments of the methods described herein, the method or meth
phase of a healthy population; and applying a magnetic field ods may comprise locating a first electrode operable to detect
close to a head of the Subject. Applying the magnetic field electrical brain activity on the Subject in an area with Substan
may influences the determined EEG phase toward the average 50 tially no electrical impulse interference on a subject. In some
EEG phase of a healthy population. The specified EEG fre embodiments of the methods described herein, the method or
quency may be an intrinsic frequency as described herein. methods may comprise locating a first electrode operable to
The specified EEG frequency may be a pre-selected fre detect electrical brain activity on the Subject in an area having
quency as described herein. The pre-selected frequency may Substantially no electrical impulse interference. In some
be an average intrinsic frequency of a healthy population 55 embodiments of the methods described herein, the method or
database within a specified EEG band.                                methods may comprise locating a first electrode operable to
   In another aspect are methods for using a Transcranial detect electrical brain activity on the subject in a location
Magnetic Stimulation (TMS) device for influencing an EEG having Substantially no muscle activity. The method or meth
phase of a Subject within a specified EEG band, comprising:          ods may further comprise locating a second electrode oper
adjusting output of said TMS device; changing the EEG 60 able to detect a reference signal on the subject. The method or
phase by repetitive firing of at least one magnetic field using methods may further comprise determining the intrinsic fre
said TMS device; and applying said magnetic field close to a quency from: the electrical brain activity detected by the first
head of the subject.                                                 electrode, and the reference signal detected by the second
   In some embodiments, the magnetic field results from a electrode.
first magnetic source and a second magnetic source. In some 65 In some embodiments of the methods described herein, the
embodiments, the first magnetic source and the second mag method or methods may comprise locating a first electrode
netic source are out of phase relative to each other. In some operable to detect electrical brain activity on the subject in at
      CaseCase
           5:23-cv-00626-XR
               5:23-cv-00626 Document
                             Document2-1
                                      10-1Filed
                                              Filed
                                                 05/15/23
                                                    10/15/23
                                                           PagePage
                                                                65 of65
                                                                      77of 77


                                                      US 8,926,490 B2
                               61                                                                     62
least a portion of the ear canal of the subject. The method or         from the EEG electrodes noise from scalp movement and/or
methods may further comprise locating a second electrode               resistivity from the skull. The methods provided herein may
operable to detect a reference signal on the subject. The              comprise Smoothing the signal curve received and/or deter
method or methods may further comprise determining the                 mined from the EEG electrodes. The methods provided
intrinsic frequency from the electrical brain activity detected        herein may comprise determining from multiple signal
by the first electrode and the reference signal detected by the        recordings: a coherence measurement, an intrinsic frequency
second electrode.                                                      measurement, and/or a Q-factor measurement using any of
   The method or methods described herein may comprise the EEG recording means noted herein. An EEG electrode
applying conductive gel to the area of low electrical resistivity cap may be used, and signals from one or more electrodes of
on a subject (i.e. the location at which the first electrode is 10 the cap may be used as described herein to determine an
placed). The method or methods described herein may com intrinsic frequency, a Q-factor, or coherence.
prise applying conductive gel to the area having Substantially            The area of the scalp upon which the first EEG electrode (or
no electrical impulse interference on a subject (i.e. the loca the plurality of electrodes) is/are placed may be induced to
tion at which the first electrode is placed). The method or have less muscle activity, or it may naturally have less muscle
methods described herein may comprise applying conductive 15 activity than other areas on the scalp. Inducing less muscle
gel to the area having Substantially no muscle activity (i.e. the activity in the area of the scalp may be achieved in various
location at which the first electrode is placed). Alternatively, ways. For non-limiting example, the methods may comprise
or in addition to the applying the gel, the method may com relaxing the area where the first electrode is placed, for non
prise shaping the first electrode to fit the area at which the first limiting example, by injecting the area with a substance that
electrode is placed, for non-limiting example, the portion of relaxes (and/or paralyzes) the muscles in the area, applying a
the earcanal or the portion of the nasal cavity in which the first topical Substance that relaxes (and/or paralyzes) the muscles
electrode is placed. The electrode may be pre-shaped togen in the area, and/or by providing an ingestible muscle relax
erally fit the intended anatomical location of electrode place ation Substance that relaxes the muscles in the area.
ment, or the electrode may be shaped in-situ to fit the specific          In some embodiments, the method comprises placing a
Subjects anatomical location of electrode placement. The 25 second electrode operable to detect a reference signal,
method may comprise shaping the electrode to fit an anatomi wherein the second electrode is a ground reference. The
cal location (for example, the area at which the first electrode method may comprise attaching an ear clip electrode to, for
is to be placed). The method may comprise providing an non-limiting example, a Subjects earlobe. The ear clip may
electrode that fits an anatomical location (for example, the be removable. The method may comprise attaching the sec
area at which the first electrode is to be placed). The first 30 ond electrode to a location showing substantially no EEG
electrode may come in multiple sizes to accommodate a range activity.
of subjects anatomy. The first electrode may be configured                Measuring the EEG signal from the subject’s brain (i.e.
Such that the Subject may place the electrode in the area measuring EEG data of the subject) may be done prior to
having Substantially no electrical impulse interference with and/or after the application of the magnetic field to the sub
out assistance from, for non-limiting example, a second per 35 ject. The method may comprise receiving the EEG signals
son, a trained EEG technician, or a medical professional.              (i.e. receiving the reference signal from the reference elec
   The method or methods described herein may comprise trode and receiving the brain activity from the first electrode)
placing the first electrode in a location having Substantially no prior to application of the magnetic field to the subject’s brain
electrical impulse interference may be a location having Sub (or a portion thereof). The method may comprise recording
stantially no muscle activity. The area having Substantially no 40 the EEG signals prior to application of the magnetic field to
muscle activity may naturally have Substantially no muscle the subjects brain (or a portion thereof). The EEG signals
activity. The method or methods described herein may com (i.e. receiving the reference signal from the reference elec
prise relaxing the area of the subject at which the first elec trode and receiving the brain activity from the first electrode)
trode is placed by a muscle relaxation means such as by, for received and/or recorded prior to application of the magnetic
non-limiting example, injecting with a Substance that relaxes 45 field to the subjects brain (or a portion thereof) may be used
the muscles in the area, applying a topical Substance that in determining at least one of the intrinsic frequency of a
relaxes the muscles in the area, and/or by providing an ingest specified EEG band of the subject, the Q-factor of an intrinsic
ible muscle relaxation substance to the subject that relaxes the frequency of a specified EEG band of the subject, the phase of
muscles in the area. The method or methods described herein            the intrinsic frequencies of a specified EEG band of the sub
may comprise paralyzing the area of the Subject at which the 50 ject, and the coherence of the intrinsic frequencies of a speci
first electrode is placed by a muscle paralysis means such as fied EEG band of the subject measured at multiple brain
by, for non-limiting example, and/or injecting with a Sub locations. The method may comprise receiving the EEG sig
stance that Substantially paralyzes the muscles in the area, nals (i.e. receiving the reference signal from the reference
applying a topical Substance that Substantially paralyzes the electrode and receiving the brain activity from the first elec
muscles in the area.                                                55 trode) following (or after) application of the magnetic field to
   While an anatomical location of substantially no electrical the subjects brain (or a portion thereof). The method may
impulse interference, and/or a location having Substantially comprise recording the EEG signals (i.e. the reference signal
no muscle activity (but where brain activity may be mea from the reference electrode and the brain activity from the
Sured) may provide a clearer EEG signal resulting in less first electrode) following or after application of the magnetic
noise and reduced resistivity from the skull, nevertheless, the 60 field to the subjects brain (or a portion thereof). The EEG
methods provided herein may comprise placing the first elec signals received and/or recorded (i.e. the reference signal
trode on the scalp (either directly, and/or with hair between from the reference electrode and the brain activity from the
the scalp and the electrode). The methods provided herein first electrode) following (or after) application of the mag
may comprise placing a plurality of electrodes on the scalp for netic field to the subject’s brain (or a portion thereof) may be
coherence measurement, intrinsic frequency measurement, 65 used in determining at least one of the post-treatment intrinsic
and/or Q-factor measurement. The methods provided herein frequency of a specified EEG band of the subject, the post
may comprise filtering from the signal (or signals) received treatment Q-factor of an intrinsic frequency of a specified
      CaseCase
           5:23-cv-00626-XR
               5:23-cv-00626 Document
                             Document2-1
                                      10-1Filed
                                              Filed
                                                 05/15/23
                                                    10/15/23
                                                           PagePage
                                                                66 of66
                                                                      77of 77


                                                     US 8,926,490 B2
                               63                                                                  64
EEG band of the subject, the post-treatment phase of the variance (MANOVA) with repeated measures can be used to
intrinsic frequencies of a specified EEG band of the subject, determine the main effect interactions as described in Jin Yet
and the post-treatment coherence of the intrinsic frequencies al. above.
of a specified EEG band of the subject measured at multiple             Since EEG changes can be direct consequences of treat
brain locations. Determining the intrinsic frequency may ments using the methods or devices described herein, those
comprise removing the reference signal detected by the sec EEG changes can be used to clinically correlate improvement
ond electrode from the electrical brain activity detected by the in Symptoms of mental disorders. Improvement in Symptoms
first electrode. Determining the Q-factor of an intrinsic fre can include positive symptoms and negative symptoms. In
quency of the specified EEG band comprises ascertaining the Some embodiments, the EEG changes after using the methods
Q-factor from the electrical brain activity detected by the first 10 or devices described correlated to both positive symptoms
electrode and the reference signal detected by the second and negative symptoms. In some embodiments, the EEG
electrode by removing the reference signal detected by the changes after using the methods or devices described corre
second electrode from the electrical brain activity detected by lated to only positive symptoms. In some embodiments, the
the first electrode and calculating the Q-factor from the intrin EEG changes after using the methods or devices described
sic frequency fo and the Afas shown in FIG. 12.                   15 correlated to only negative symptoms. In some embodiments,
rTMS Therapy                                                         correlations between EEG changes and improvement in nega
   Repetitive Transcranial Magnetic Stimulation (rTMS) tive symptoms are only significant in the absence of positive
refers to uses of a magnetic field administered in very short symptoms. In some embodiments, correlations between EEG
grouped pulses (microseconds in length) to a patients head to changes and improvement in positive symptoms are only
achieve a constant train of activation over brief periods of a significant in the absence of negative symptoms.
treatment session. These brief magnetic fields can stimulate            In some embodiments, negative symptoms include, but not
Small areas of the brain non-invasively. During a single ses limited to, loss of motivation, anhedonia, emotional flatten
Sion, about 3,000 magnetic pulses can be given over an inter ing, and psychomotor retardation. These negative symptoms
val of about 30 minutes.                                             can be associated with patient’s cognitive deficits and poorer
   The short pulses of magnetic energy generated by rTMS 25 clinical prognosis, and often resistant to antipsychotic medi
devices can stimulate nerve cells of the brain, often at fre         cations. See Gasquet et al., Pharmacological treatment and
quencies close to thresholds of exciting brain cells. Magnetic other predictors of treatment outcomes in previously
fields generated by rTMS devices can pass through the skull untreated patients with schizophrenia: results from the Euro
and into the cortex without being distorted. The result is a pean Schizophrenia Outpatient Health Outcomes (SOHO)
very focal type of stimulation, minimizing stimulation of 30 study. Int Clin Psychopharmacol. 20: 199-205 (2005), which
brain tissue not intended to be stimulated.                          is incorporated by reference in its entirety.
   The magnetic pulses generated by rTMS devices are gen CESTherapy
erally believed to induce electrical charges to flow. The               Cranial Electrotherapy Stimulation (CES) is a method of
amount of electricity created in the brain is very Small, and applying microcurrent levels of electrical stimulation across
can not be felt by the patient. These flowing electric charges 35 the head via transcutaneous electrodes. Provided herein is
can cause the neurons to fire or become active under certain         method including applying an electric alternating current
circumstances. Typically, an objective of rTMS Therapy is to (AC) across ahead of a subject, and adjusting and/or varying
stimulate (or activate) brain cells.                                 the frequency of the AC current to effect at least one of a
   Jin Y et al. Therapeutic effects of individualized alpha characteristic, mental disorder, and an indication presented
frequency transcranial magnetic stimulation (alphaTMS) on 40 herein. In some embodiments, the AC current is a microcur
the negative symptoms of Schizophrenia. Schizophr Bull.              rent.
32(3):556-61 (2006July; Epub 2005 Oct. 27), which is incor              Provided herein is a method comprising adjusting an out
porated by reference in its entirety, described four stimulation put of an electric alternating current source for influencing an
parameters that require optimization for rTMS:                       intrinsic frequency of a EEG band of a subject toward a target
(a) Frequency—Higher frequencies (>10 Hz) are believed to 45 frequency of the EEG band; and applying said electric alter
increase cortical excitability;                                      nating current across a head of the Subject. In some embodi
(b) Intensity—As a percentage of the threshold at which ments of the methods, a CES therapy is used to influence the
motor activity can be elicited (~1-2 Tesla);                         intrinsic frequency of a patient's brain toward a target fre
(c) Duration Pulse trains are brief (1-2 seconds), and inter quency as measured by EEG.
train intervals can be 30-60 seconds; and                         50    Provided herein is a method comprising adjusting an out
(d) Site of Stimulation—Depending on patient population or put current of an electric alternating current source for influ
specific brain functions.                                            encing an intrinsic frequency of an EEG band of a subject
   In some embodiments, severity of psychosis, depression, toward a target frequency of the EEG band; and applying said
and movement disorders can be assessed with PANSS, Mont              output current across a head of the Subject. In some embodi
gomery-Asberg Depression Rating Scale (MADRS), Barnes 55 ments, the step of adjusting the output current comprises
Akathisia Rating Scale (BARS), and Simpson-Angus Scale setting the output current to a frequency that is lower than the
(SAS), as described by Jin Y et al. above. In some embodi intrinsic frequency of the Subject. In some embodiments, the
ments, severity of psychosis, depression, and movement dis step of adjusting the output current comprises setting the
orders can be assessed with the Hamilton Anxiety Scale output current to a frequency that is higher than the intrinsic
(HAMA), the Hamilton Depression Scale (HAMD), or any 60 frequency of the Subject. In some embodiments, the step of
methods known in the art. In some embodiments, efficacy in adjusting the output current comprises setting the output cur
clinical ratings can be evaluated by using analyses of variance rent to the target frequency. In some embodiments, the
(ANOVA) as described by Jin Yet al. above. In some embodi method further comprises determining the intrinsic frequency
ments, raw EEG data can be edited offline by an experienced of the EEG band of the subject; and comparing the intrinsic
technician who is blind to the treatment conditions to elimi 65 frequency to the target frequency of the EEG band, wherein
nate any significant or apparent artifact as described in Jin Y the target frequency is an average intrinsic frequency of the
et al. above. In some embodiments, multivariate analysis of EEG bands of a healthy population of people, wherein if the
       CaseCase
            5:23-cv-00626-XR
                5:23-cv-00626 Document
                              Document2-1
                                       10-1Filed
                                               Filed
                                                  05/15/23
                                                     10/15/23
                                                            PagePage
                                                                 67 of67
                                                                       77of 77


                                                      US 8,926,490 B2
                               65                                                                   66
intrinsic frequency is higher than the target frequency, the of people comprises at least two people, each of whom do not
step of adjusting the output current comprises setting the have at least one of the mental disorders listed above. In some
output current to a frequency that is lower than the intrinsic embodiments, the healthy population of people comprises at
frequency of the Subject, and if the intrinsic frequency is least two people without any of the mental disorders listed
lower than the target frequency, the step of adjusting the above.
output current comprises setting the output current to a fre          It will be understood by those of skill in the art that numer
quency that is higher than the intrinsic frequency of the Sub ous and various modifications can be made without departing
ject.                                                              from the spirit of the present invention. Therefore, it should be
    Provided herein is a method comprising adjusting an out clearly         understood that the forms of the present invention are
put of an electric alternating current source for influencing a 10 illustrative only and are not intended to limit the scope of the
Q-factor a measure of frequency selectivity of a specified present invention.
EEG band of a subject toward a target Q-factor of the band;                                   EXAMPLES
and applying said electric alternating current across ahead of
the Subject. In some embodiments of the methods, a con                The invention is described in greater detail by the following
trolled waveform CES therapy is used to influence a Q-factor 15 non-limiting examples.
ofan intrinsic frequency of apatient’s brain. FIG. 12 shows an
example of the Q-factor as used in this invention. The figure                                   Example 1
shows a sample graph of the frequency distribution of the
energy of an EEG signal. It can be seen that a frequency range,       In some embodiments, described are devices that provide
Afcan be defined as the frequency bandwidth for which the low frequency near-sinusoidal TMS therapy by rotating at
energy is above one-half the peak energy. The frequency f is least one permanent magnet in close proximity to the Sub
defined as the intrinsic frequency in the specified band. The jects head. The direction of rotation relative to the subject
Q-factor is defined as the ratio off/Af. As can be seen, when can       vary depending on the specific therapy desired. Also, the
                                                                   speed of rotation can be adjusted to provide the optimal
AF decreases for a given f, the Q-factor will increase. This therapeutic         benefit. The speed adjustment itself can come
can occur when the peak energy E of the signal increases 25 from the user            of the device or from a controller that uses
or when the bandwidth of the EEG signal decreases.
    Provided herein is a method comprising adjusting an out feedback           from a bio-sensor to determine the optimal speed.
put current of an electric alternating current source for influ theInend particular embodiments, a bar magnet can be mounted at
encing a Q-factor of an intrinsic frequency of an EEG band of dicular toofthe   the shaft with the line through the poles perpen
                                                                                   axis of the shaft. The shaft can be rotated by an
a subject toward a target Q-factor, and applying said output 30 adjustable motor.       The magnet can rotate so that the plane of
current across a head of the Subject. In some embodiments, rotation is perpendicular to the Surface of the scalp. Accord
the step of adjusting the output current comprises varying a ingly, the positive and negative poles of the magnet can be
frequency of the output current. In some embodiments, the alternately brought in close proximity to the scalp. This can
step of adjusting the output current comprises setting the create a near-sinusoidal magnetic field in the brain in which
output current to a frequency that is higher than the intrinsic 35 the location where the field is strongest is that which is closest
frequency of the Subject. In some embodiments, the step of to the magnet.
adjusting the output current comprises setting the output cur
rent to a frequency that is lower than the intrinsic frequency of                               Example 2
the Subject. In some embodiments, the step of adjusting the
output current comprises setting the output current to the 40 In particular embodiments, a horseshoe magnet can be
target frequency. In some embodiments, the method further mounted at the end of the shaft with the poles positioned at the
comprises determining the Q-factor of the intrinsic frequency far end from the shaft. The shaft can be rotated by an adjust
of the EEG band of the subject; and comparing the Q-factor to able       motor, as in the previous example. The magnet can be
                                                                   positioned   above the subjects scalp such that the plane of
the target Q-factor, wherein the target Q-factor is an average rotation is parallel     to the Surface of the scalp. Accordingly, the
Q-factor of the intrinsic frequencies of the EEG bands of a 45 positive and negative
healthy population of people, wherein if the intrinsic fre Scalp. This can create apoles           can rotate in a circle around the
quency is higher than the target frequency, the step of adjust in which the phase of sinusoidalthe
                                                                                                          magnetic field in the brain
                                                                                                   magnetic    field is dependent on
ing the output current comprises varying a frequency of the where the magnetic poles are in their rotation.             In general, the
output current, and if the intrinsic frequency is lower than the magnetic field under one pole will be of opposite polarity to
target frequency, the step of adjusting the output current com 50 the magnetic field under the opposite pole.
prises setting the output current to a frequency that is higher
than the intrinsic frequency of the Subject.                                                    Example 3
    In some embodiments, the frequency of the output current
has a waveform. In some embodiments, the waveform is a                In particular embodiments, two bar magnets can be used,
sinusoidal or near-sinusoidal AC microcurrent waveform (i.e. 55 each mounted at the end of a shaft. The shafts can be rotated
a controlled waveform). In some embodiments, the waveform by adjustable motors. The magnets can be positioned on
is any waveform described herein, including but not limited to opposite sides of the Subjects head, and they are rotated
a half waveform and/or a full waveform. In some embodi             synchronously to provide a more uniform phase for the mag
ments, the EEG band is the alpha band measured by EEG. In netic field in the brain. When the north Pole of one bar magnet
Some embodiments, the intrinsic frequency is the alpha fre 60 is next to the subject’s scalp, the south Pole of the other
quency of the patient’s brain measured by EEG. In some magnet will be next to the Subject's scalp on the opposite side
embodiments, the target frequency is a target frequency of the of the subject’s head.
alpha band as measure by EEG. In some embodiments the
target frequency is an average frequency of a group of at least                                 Example 4
two people of the specified EEG band. In some embodiments, 65
the healthy population of people comprises at least two               In particular embodiments, the NEST (pMERT) device is a
healthy people. In some embodiments, the healthy population Small, generally cube-shaped device with one side that is
      CaseCase
           5:23-cv-00626-XR
               5:23-cv-00626 Document
                             Document2-1
                                      10-1Filed
                                              Filed
                                                 05/15/23
                                                    10/15/23
                                                           PagePage
                                                                68 of68
                                                                      77of 77


                                                     US 8,926,490 B2
                             67                                                                  68
curved to allow contact with the top of the subjects head.                                    Example 5
FIGS. 7-9 show the NEST (pMERT) device in such embodi
ments, and also show the NEST (pMERT) device with a                      Purchasing Dosage Quotas and Report Generation
subject lying on his/her back with his/her head resting in the
device to receive therapy.                                             The methods and devices described are intended to be used
   FIGS. 7, 8, and 9 show an exemplary embodiment of the           by psychiatrists/therapists to treat patients with mental disor
pMERT (NEST) device 88. In this embodiment, a button               ders. Psychiatrists who take advantage of this therapy can
EEG electrode 82a is located on the concave surface of the         register accounts with a vendor of the devices described and
device 88 and a second reference electrode 82b extends via a       be given a username and password. When a psychiatrist sees
wire from the side of the device 88. The display 64 and control a patient with a disorder and the psychiatrist feels that the
                                                                10
                                                                   patient could benefit from the methods or devices described
buttons 86 (device controls) are located on top of the device herein,
88 to provide information and allow the user to adjust param that hasthe    been
                                                                                psychiatrist either orders a device or selects one
                                                                                   pre-purchased.
eters and enter patient data. A USB port 84 (which may also           The  psychiatrist   (or administrative assistant) can plug a
and/or alternatively be at least one of an internet connection 15 pMERT (NEST) device         into a USB port on a PC connected to
port, a power Supply, a modem connection, and another type an internet. Using web access             and their username?password,
of communications means) is located at the top rear of the the psychiatrist can login to the NeoSync website. The
device 88, to allow it to be connected via a USB cable to a PC,    pMERT (NEST) will be automatically detected by the Neo
allowing uploading of data and downloading of a dosage Sync website, and any necessary Software upgrades will be
quota. FIG.8 shows the pMERT (NEST) device 88 from FIG. downloaded.
7 in which a subject 6 is lying with his/her head against the         The psychiatrist can then order a number of dosage quotas
concave surface of the device 88. At least one moving magnet for a particular disorder from the website, such as 15
is unseen inside the pMERT (NEST) device 88 in order to 20-minute therapy treatment, one per day, to treat depression.
deliver therapy to the Subject 6. Moving magnets Such as An encrypted key will be downloaded to the pMERT (NEST),
those in configurations described herein may be used in the 25 which will be set to allow the dosage quotas requested by the
device 88 shown in FIGS. 7, 8, and 9. The subject’s head is psychiatrist. Once this occurs, the psychiatrist will automati
pressed against the button EEG electrode (not shown), with cally be billed based on the number and type of dosage quo
the second electrode 82b attached to the subject's right ear. tas. The psychiatrist will then bill the patient (or eventually
FIG. 9 shows an alternate angle of the subject 6 receiving the patients insurance) for the procedure. The patient can
therapy from the pMERT (NEST) device 88 as described in 30 take the pMERT (NEST) device to his/her home to use the
FIG. 7 and/or FIG. 8.                                              device in accordance with the therapy prescribed by the psy
   In these particular embodiments, the pMERT as shown in office.  chiatrist or the patient can be treated in the psychiatrist’s
FIGS. 7-9 contains a single EEG lead (i.e. electrode) which is        Once the patient has used up all the dosage quotas the
to be placed at the top of the subjects head. Alternatively, 35 psychiatrist     has loaded onto the device, the patient returns to
multiple EEG electrodes may be used in recording and/or the psychiatrist              with the pMERT (NEST) device. The psy
monitoring the subjects brain waves at least one of before, chiatrist will connect
during, and after the therapy is applied to the Subject. The via a USB cable and the             pMERT (NEST) device to the PC
                                                                                            will login to the NeoSync website as
subject or nurse can prepare the EEG leads (and/or elec before. The website will detect the pMERT (NEST) and will
trodes) with an electrolytic gel beforehand to lower the 40 upload all treatment information. A report can be generated
impedance. The reference electrode can be placed on the with this information, giving the psychiatrist a quantitative
Subject’s ear. In some embodiments, the reading from a ref indication of progress. The report can include for each treat
erence EEG electrode is subtracted and/or otherwise removed        ment the date, start time, end time, initial EEG alpha param
from the reading from the second EEG electrode.                    eters (i.e., power and Q-factor), and the final EEG alpha
   When therapy is needed, the subject or nurse can follow the 45 parameters. The psychiatrist can print the report or save it to
instructions on the display, which will provide a walkthrough a file to be placed in the patient’s record. At this point, the
of the EEG electrode preparation. Once complete and the psychiatrist can clear the memory of the device and use it for
patient is situated in the device, the EEG is checked by the another patient or he/she can order more dosage quotas for the
pMERT to ensure that the electrode is placed correctly. If not, 50 current patient.
an audible tone or instruction is given to allow the patient to       If the psychiatrist decides that the patient should use the
resituate himself/herself until proper contact is made.            pMERT (NEST) for a longer period, the psychiatrist can set
   Once contact is made, the patient lies still with eyes closed up   an account for the patient with NeoSync, Inc. This way, the
                                                                   patient is able to order more dosage quotas without returning
while the pMERT (NEST) acquires a representative EEG to               the psychiatrist. Only the dosage quotas approved by the
sample. The EEG data is analyzed and, depending on the 55 psychiatrist            will be allowed for the patient to order. The
therapy to be delivered, the magnet or magnets are rotated at patient can pay
the appropriate speed. The patient does not feel anything tually) insurance.NeoSync     For each
                                                                                                directly with a credit card or (even
                                                                                                  session, the psychiatrist may also
during the procedure, except for a diminution of the Symp be paid. The psychiatrist would                have access to all reports
toms of the disorder, and perhaps a feeling of calm. During uploaded from the pMERT (NEST) via the website.
therapy, the device may sample the EEG data either by sub 60
tracting out the influence of the magnet or by temporarily                                     Example 6
halting the magnet while the EEG data is sampled. The dis
play is used to show time remaining and any other necessary           Each patient admitted to the study is randomly assigned
status information for the device. After the therapy time, the into one of the two study groups based on treatment using a
magnet stops and a second EEG is taken, to be compared to 65 plugged pMERT (NEST) device and sham, where a pMERT
the first EEG. Upon completion of the second EEG acquisi (NEST) device rotates a non-magnetic metal block instead of
tion, an audible signal is given to indicate end of therapy.       a magnet. Patients are kept blind to the treatment condition.
      CaseCase
           5:23-cv-00626-XR
               5:23-cv-00626 Document
                             Document2-1
                                      10-1Filed
                                              Filed
                                                 05/15/23
                                                    10/15/23
                                                           PagePage
                                                                69 of69
                                                                      77of 77


                                                    US 8,926,490 B2
                              69                                                             70
Each treatment consists of 22 daily sessions during a 30-day     Sure of the alpha frequency selectivity. It is measured in the
period (and/or at least 10 sessions during a 2 week period or frequency domain by using a 60 sec artifact free EEG epoch
more). Patients current antipsychotic treatments are kept and a 2.048 data point FFT with a 10-point smooth procedure.
unchanged during the study.                                      Multivariate analysis of variance (MANOVA) across all
   EEG data during treatments are recorded and individual channels for each variable is performed to test the treatment
ized according to the alpha EEG intrinsic frequency (8-13 and stimulus location effects. Change score for each variable
Hz). The precision of the stimulus rate can be refined to the before and after pMERT (NEST) treatment is used to corre
level of 10% of a hertz. It is determined on each patients late with the change score of each clinical measure from the
average alpha frequency, obtained from 3 central EEG leads same time points.
(C3, C4, and Cz).                                             10   FIG. 12 shows an example of the Q-factor as used in this
   EEG data during treatments are recorded from each subject invention. The figure shows a sample graph of the frequency
in a Supine position with their eyes closed throughout the distribution of the energy of an EEG signal. It can be seen that
testing period. Nineteen EEG electrodes (Ag Ag Cl) are a frequency range. Afcan be defined as the frequency band
used according to the International 10-20 system and refer width for which the energy is above one-half the peak energy.
enced to linked mastoids. Electrooculograms (EOGs) from 15 The frequency f is defined as the intrinsic frequency in the
the outer canthus of both eyes are recorded simultaneously to specified band. The Q-factor is defined as the ratio off/Af. As
monitor eye movements. At least two minutes of EEG epochs can be seen, when AF decreases for a given f, the Q-factor
are collected and digitized by a 12-bit A/D (analog/digital) will increase. This can occur when the peakenergy E of the
converter at the rate of 200 Hz by a Cadwell EZ II acquisition signal increases or when the bandwidth of the EEG signal
system. Sixty seconds of artifact free epochs are utilized for decreases.
fast Fourier transformations (FFT). FFT window is set at 512
data points with 80% overlap.                                                             Example 7
   Severity of psychosis, depression, and movement disorders
are assessed with the Hamilton Anxiety Scale (HAMA), the              Effect of NEST Device Lowering Blood Pressure
Hamilton Depression Scale (HAMD), PANSS, Montgomery 25
Asberg Depression Rating Scale (MADRS), Barnes Akathi              An effect of use of a NEST (i.e. pMERT) device using a
sia Rating Scale (BARS), and Simpson-Angus Scale (SAS), method provided herein was shown to lower blood pressure in
respectively. All rating scales and EEGs are administered at a female patient. The patient, originally using a NEST to treat
screening, baseline (immediately prior to first treatment), anxiety, complained of a moderate tension headache and her
immediately following the fifth and tenth treatments.         30 blood pressure was taken, and read at 110/90 mmHg. A NEST
   While the technician administering the pMERT (NEST) device was set at a fixed specified frequency equal to an
device cannot be blinded, the evaluating physicians and EEG intrinsic frequency within her alpha EEG band and the mag
technicians remain unaware of the type of treatment through netic field emanating from the device was applied to the
out the duration of study. A priori categorical definition for patient's head (cerebral cortex). During treatment using the
clinical response is >30% baseline-to-post treatment reduc 35 NEST device, three consecutive blood pressure measure
tion at the end of treatment on PANSS negative symptom ments were taken at ten minute intervals, showing 110/85
Subscale.                                                        mmHg, 100/82 mmHg, and 100/70 mmHg, respectively. An
  Patients with a baseline and at least 1 additional set of       hour after treatment with the NEST device had ceased, the
completed assessments (at least 5 treatment sessions) are patient's tension headache returned, and her blood pressure
included in the analysis of mean treatment effect. Efficacy in 40 was measured, reading 110/90 mmHg.
clinical ratings is evaluated by using analyses of variance
(ANOVA) with repeated measure over time. The models                                        Example 8
include 2 between-subject factors of treatment and location,
and 1 within-subject factors of time. Effect of concomitant          In particular embodiments, a single cylindrical magnet that
antipsychotic treatment can be tested based on the categori 45 is diametrically magnetized (pole on the left and right sides of
Zation of typical and atypical neuroleptic medications. the cylinder) spins about the cylinder axis. The magnet can be
Grouping differences of all other measures are tested indi placed anywhere around the patient's head, and locations can
vidually using the same statistical model. Using a predefined be chosen based on the desire for a more focal therapy at a
response criterion, a contingent table analysis can be used to particular location. Alternative embodiments can include
test the group difference in responding rate.                  50 stringing two or more cylindrical magnets together on the
   Raw EEG data are edited offline by an experienced tech same shaft, or along different shafts, to spin the magnets in
nician who is blind to the treatment conditions to eliminate      unison to create a particular magnetic field in treating the
any significant (>3 arc) eye movements or any other type of patient. A non-limiting examples of this are found in FIGS. 13
apparent artifact. Ten to twenty-four artifact-free epochs through 15.
(1,024 data points per epoch) in each recording channel are 55 FIG. 13 shows an example embodiment of a diametrically
calculated by a fast Fourier transform (FFT) routine to pro magnetized cylindrical magnet 2 for use in a NEST device.
duce a power spectrum with 0.2 Hz frequency resolution. The FIG. 14 shows an example embodiment of a NEST device
intrinsic frequency of alpha EEG is defined as the mean peak applied to a subject 1406, the device having a diametrically
frequency (Fp) of 3 central leads (C3, C4, and Cz). EEG magnetized cylindrical magnet 1402 and a drive shaft 1404
variables used in the analysis included power density (Pwr), 60 that rotates the magnet 1402 about its cylinder axis, wherein
peak frequency (Fp), Fp longitudinal coherence, and fre the cylinder axis coincides with rotation axis 1438. FIG. 15
quency selectivity (Q). See Jin Y et al. Alpha EEG predicts shows an example embodiment of a NEST device applied to
visual reaction time. Int J. Neurosci. 116: 1035-44 (2006), a subject 1506, the device having two diametrically magne
which is incorporated by reference in its entirety.               tized cylindrical magnets 1502a, 1502b and a drive shaft 1404
   Coherence analysis is carried out between Fz and PZ in the 65 that simultaneously rotates the magnets 1502a, 1502b about
peak alpha frequency. Recording from CZ is chosen to calcu their cylinder axes, wherein the cylinder axes are coincident
late the Q-factor (peak freq/half-power bandwidth), a mea with each other and with rotation axis. In this example
      CaseCase
           5:23-cv-00626-XR
               5:23-cv-00626 Document
                             Document2-1
                                      10-1Filed
                                              Filed
                                                 05/15/23
                                                    10/15/23
                                                           PagePage
                                                                70 of70
                                                                      77of 77


                                                    US 8,926,490 B2
                            71                                                                 72
embodiment device, the north pole of magnet 1502a and the       magnets 1702a, 1702b. 1702c are rotatably mounted to at
north pole of magnet 1502b are aligned to provide a more        least one of the side supports 1722, 1720, such that each of the
uniform magnetic field to the subject 1506.                     magnets 1702a, 1702b. 1702c can rotate about their rotation
                                                                axes (cylinder axes) without motion of either of the side
                        Example 9                               supports 1722, 1720. Likewise, at least the tensioner drive
                                                                pulleys 1714a, 1714b. 1714c. (and one tensioner drive pulley
   In particular embodiments, multiple cylindrical magnets
can be arrayed above a patients head so they spin in unison. unshown        in FIG. 17) of the tensioner assemblies 1708a,
                                                                1708b are rotatably mounted (coupled) to at least one of the
These may be connected to each other by belts or gears so that side supports 1722, 1720, such that each of the tensioner drive
they are driven by at least one motor. Non-limiting examples 10 pulleys  1714a, 1714b. 1714c. (and one tensioner drive pulley
of these embodiments are shown in FIGS. 16 through 21.          unshown    in FIG. 17) can rotate about their rotation axes (not
   FIG.16 shows an example embodiment of a NEST device
having three diametrically magnetized cylindrical magnets shown) without motion of the side supports 1722, 1720.
1602a, 1602b, 1602c rotating about their cylinder axes and         For example, drive belt 1718a wraps at least partially
applied to a subject 1606. The poles of each the magnets 15 around the magnet drive pulley 1716a of magnet 1702a, and
1602a, 1602b, 1602c of the shown device are aligned gener also wraps at least partially around the tensioner drive pulley
ally to provide a peak magnetic field to the subject 1606 that 1714a of the first tensioner assembly 1708a. The drive shaft
is coincident with the peak magnetic fields delivered to the 1704, coupled to a motor (not shown), drives the rotation of
subject 1606 from each of the other magnets 1602a, 1602b, all of the magnets 1702a, 1702b, 1702c of the shown device
1602C. Another way of saying this is that each of the magnets 1788. The drive shaft 1704 is coupled to a first magnet 1702a
1602a, 1602b, 1602c has a neutral plane indicated by the which, through its magnet drive pulley 1716a and associated
dotted line on each of magnets 1602a, 1602b, and 1602c, and belt 1718a turns the first tensioner drive pulley 1714a of the
each the neutral planes is aligned to be generally parallel to first tensioner assembly 1708a. The first tensioner drive pull
the scalp of the subject 1606. This configuration provides a ley 1714a of the first tensioner assembly 1708a is coupled to
more uniform field to the subject 1606 than if the magnets 25 the second tensioner pulley (not shown—obscured by side
1602a, 1602b, 1602c are not aligned in such a manner.           support 1722) of the first tensioner assembly 1708a, and,
   FIG. 17 shows an example embodiment of a NEST device thus, when the first tensioner pulley 1714a is turned by the
1788 having three diametrically magnetized cylindrical mag first drive belt 1718a, the second tensioner pulley (not shown)
nets 1702a, 1702b, 1702c configured to rotate about their is also turned. Since the second drive belt 1718bis wrapped at
cylinder axes (not shown). Each of the magnets 1702a, 30 least partially around the second tensioner pulley (not shown)
1702b. 1702c of this example embodiment is coupled to at as well as the second magnet drive pulley 1716b of the second
least one magnet drive pulley 1716a, 1716b, 1716c. 1716d. magnet 1702b, the motion of the second tensioner pulley (not
Each of the magnet drive pulleys 1716a, 1716b, 1716c. 1716d shown) moves the second drive belt 1718b and likewise
has at least one drive belt 1718a, 1718b, 1718C, 1718d          drives the rotation of the second magnet 1702b. The second
wrapped at least partially about it. The device 1788 also 35 magnet 1702 has a third magnet drive pulley 1716c which is
comprises two tensioner assemblies 1708a, 1708b, each com coupled to the second drive pulley 1716b, and the third drive
prising a tensioner block 1710a, 1710b, a tensioner arm belt 1718c wraps at least partially around the third magnet
1712a, 1712b, and at least one tensioner drive pulley 1714a, drive pulley 1716c, thus, motion of the second drive belt
1714b. 1714c each rotating about an axis going through the 1718b also causes motion of the third drive belt 1718C
tensioner arm 1712a, 1712b, respectively, the axis generally 40 wrapped at least partially around the third magnet drive pull
being parallel to the rotation axis of the magnets and to the ley 1716c. The motion of the third drive belt 1718c, also
drive shaft 1704 of the device 1788. In the embodiment shown    wrapped at least partially around the third tensioner pulley
in FIG. 17, each of the tensioner assemblies has two tensioner  1714b of the second tensioner assembly 1708b thus drives the
drive pulleys 1714a, 1714b. 1714c., (one tensioner drive pull rotation of the fourth tensioner pulley 1714c of the second
ley of tensioner assembly 1708 is not shown in FIG. 17—ob 45 tensioner assembly 1708b which is coupled to the third ten
scured by the side support 1722, but can be seen, for example,  sioner pulley 1714b of the second tensioner assembly 1708b.
in FIG. 18). The drive belts 1718a, 1718b, 1718c, 1718d are Furthermore, since the fourth drive belt 1718d is wrapped at
each also wrapped at least partially about at least one ten least partially around the fourth tensioner pulley 1714c of the
sioner drive pulley 1714a, 1714b. 1714c., (one tensioner drive second tensioner assembly 1708b, and is also wrapped at least
pulley of tensioner assembly 1708 is not shown in FIG. 50 partially around the fourth magnet pulley 1716d of the third
17—obscured by the side support 1722), such that each the magnet 1702c, the motion of the fourth drive belt 1718d
drive belts 1718a, 1718b, 1718c, 1718d is wrapped at least drives the rotation of the third magnet 1702c simultaneously
partially around at least one of the magnet drive pulleys with the rotation of the other two magnets 1702a, 1702b.
1716a, 1716b, 1716c. 1716d and is also wrapped at least            In an alternative embodiment, the tensioner assemblies are
partially around at least one of the tensioner drive pulleys 55 not present, and the drive shaft drives the magnets connected
1714a, 1714b. 1714c., (one tensioner drive pulley oftensioner only to each other using drive belts. In an alternative embodi
assembly 1708 is not shown in FIG. 17 obscured by the side ment, only one tensioner assembly is present and is coupled to
support 1722, but can be seen, for example, in FIG. 18) of the at least two magnets. In an alternative embodiment, only one
tensioner subassembly's 1708a, 1708b.                           tensioner assembly is present and is coupled to each of the
   The device 1788 shown in FIG. 17 is held together by two 60 magnets. In an alternative embodiment, the magnets are
side supports 1722, 1720 connected by a support column coupled to each other by gears. In an alternative embodiment,
1724a. In some embodiments, a second Support column the magnets are coupled to each other by a combination of at
1724b, a third Support column (not shown) may also connect least one gear and at least one belt. In an alternative embodi
the side supports 1722, 1720. Each of the tensioner assem ment, the magnets are coupled to each other by a combination
blies 1708a, 1708b and each of the magnets 1702a, 1702b, 65 of at least one gear and at least two belts, wherein each belt is
1702c are mounted to (coupled to) at least one of these sup coupled to a tensioner assembly as generally described
ports, if not both the side supports 1722, 1720. Each of the herein. In an alternative embodiment, the magnets are
      CaseCase
           5:23-cv-00626-XR
               5:23-cv-00626 Document
                             Document2-1
                                      10-1Filed
                                              Filed
                                                 05/15/23
                                                    10/15/23
                                                           PagePage
                                                                71 of71
                                                                      77of 77


                                                     US 8,926,490 B2
                             73                                                                   74
coupled to each other by a rotation means, wherein the rota           Also shown in FIG. 18 are support screws 1826a, 1826b
tion means is configured to drive the rotation of the magnets      which attach the support columns 1824b (other support col
simultaneously.                                                    umns are either not called-out or not shown in FIG. 18) to the
   The tensioner assemblies in the embodiments shown in            side support 1822 and/or to the side support 1820.
FIG. 17, FIG. 18, and FIG. 19, for non-limiting example, are          FIG. 19 shows the example NEST device embodiment of
configured to keep the drive belts taut during use and, there FIG. 17 and/or of FIG. 18 having three diametrically magne
fore, ensure that the rotation of the magnets is simultaneous tized cylindrical magnets 1902a, 1902b, 1902c configured to
and generally in-phase as applied to the Subject where the rotate about their cylinder axes and including a frame 1934
magnets are aligned Such that each of the neutral planes of and base 1936 for mounting the NEST device. The embodi
each of the three magnets are generally aligned to be parallel 10 ment shown in FIG. 19 includes a NEST device having three
to the scalp of the subject.                                       magnets 1902a, 1902b, 1902c, each having magnet drive
   FIG. 18 depicts an exploded view of the example embodi pulleys 1916a, 1916b, 1916C, 1916d at least partially about
ment of the NEST device 1888 of FIG. 17 having three which is wrapped a drive belt 1918a, 1918b, 1918c, 1918d
diametrically magnetized cylindrical magnets configured to each of which is also at least partially wrapped around a
rotate about their cylinder axes. Shown in FIG. 18 is a NEST 15 tensioner drive pulley 1914a, 1914b (not shown) 1914c (not
device 1888 having two tensioner assemblies 1808a, 1808b.          shown) 1914d (not shown) coupled to a tensioner arm 1912a,
Tensioner assembly 1808a comprises a tensioner block 1912b (not shown) of a tensioner assembly. Each tensioner
1810a that couples to the side support 1822 by at least one assembly may include a tensioner block 1910a (not shown)
tensioner dowel pin 1832a. The tensioner block 1810a also          1910b, and a tensioner spring 1930a (not shown), 1930c
couples to the side support 1820 by at least one tensioner which cooperate with at least one of the side supports 1922,
dowel pin 1832b. The tensioner block 1810a floats freely 1920 to pull the drive belts 1918a, 1918b, 1918c, 1918d taut.
along at least a portion of the dowel pins 1832a, 1832b. The The magnets 1902a, 1902b, 1902c are rotatably coupled to
tensioner block 1810a is attached to a tensioner arm 1812a         side supports 1922, 1920, and at least one magnet 1902a in
which has two tensioner drive pulleys 1814a, 1814d, which the embodiment shown is coupled to a drive shaft 1904 which
couple to drive belts 1818a, 1818b (respectively) which 25 rotates the magnet 1902a to which it is directly coupled, and
themselves are coupled to magnets 1802a, 1802b (respec through the cooperation of the magnet drive pulleys 1916a,
tively) of the device 1888 through magnet drive pulleys 1916b, 1916c, 1916d, drive belts 1918a, 1918b, 1918c,
1816a, 1816b. The tensioner block 1810a exerts a force on the      1918d, and tensioner drive pulleys 914a, 1914b (not shown)
belts 1818a, 1818b to keep the belts taut during use, since the 1914c (not shown) 1914d (not shown), also rotates the other
tensioner block 1810a is also coupled to tensioner springs 30 magnets 1902b, 1902c of the NEST device such that all of the
1830a, 1830b which push the tensioner block 1810a away magnets 1902a, 1902b, 1902c rotate simultaneously.
from the side supports 1822, 1820, and thus, away from the            FIG. 20 shows an example embodiment of a NEST device
magnet drive pulleys 1816a, 1816b coupled to the side Sup having eight diametrically magnetized cylindrical magnets
ports 1822, 1820 by centerpins (not shown) that run through 2002a-2002h, configured to rotate about their cylinder axes.
each of the drive pulleys 1816a, 1816b and the magnets 35 Each of the magnets 2002a-2002h has at least one magnet
1802a, 1802b. When the centerpin is also attached to a motor, drive pulley 2016a-2016n coupled to it which rotates the
it may also rotate the magnet and its associated magnet drive magnet 2002a-2002h when the magnet drive pulley 2016a
pulley(s), and it may be called a drive shaft. Nevertheless, the 2016n is rotated by a belt 2018.a-2018h that is at least partially
magnet drive pulleys 1816a, 1816b can rotate, and with their wrapped around at least one of the magnet drive pulleys
rotational movement the magnet drive pulleys 1816a, 1816b 40 2016a-2016 n. In the embodiment shown, a drive shaft 2004
can rotate, or be rotated by, the magnets 1802a, 1802b.            has two drive belts 2018d, 2018e wrapped at least partially
   Likewise, tensioner assembly 1808b comprises a tensioner around the drive shaft 2004. The drive shaft 2004 thus rotates
block 1810b that couples to the side support 1822 by at least all of the magnets 2002a-2002h simultaneously through a
one tensioner dowel pin 1832c. The tensioner block 1810b series of drive belts 2018.a-2018h and magnet drive pulleys
also couples to the side support 1820 by at least one tensioner 45 2016a-2016.n all coupled to the drive shaft 2004.
dowel pin 1832c. The tensioner block 1810b floats freely              For example, the first drive belt 2018e is wrapped at least
along at least a portion of the dowel pins 1832c, 1832d. The partially around the drive shaft 2004, and is also wrapped at
tensioner block 1810b is attached to a tensioner arm 1812b         least partially around a first magnet drive pulley 2016.h of a
which has two tensioner drive pulleys 1814b. 1814c, which first magnet 2002e. A second drive belt 2018fis wrapped at
couple to drive belts 1818d, 1818c (not shown) (respectively) 50 least partially around a second magnet drive pulley 2016i of
which themselves are coupled to magnets 1802b, 1802c(re the first magnet 2002e. The second drive belt 2018f is also
spectively) of the device 1888 through the magnet drive pull wrapped at least partially around a third magnet drive pulley
leys 1816c. 1816d. The tensioner block 1810b exerts a force 2016i of the second magnet 2002f. A third drive belt 2018g is
on the belts 1818d, 1818c (not shown) to keep the belts taut wrapped at least partially around a fourth magnet drive pulley
during use, since the tensioner block 1810b is also coupled to 55 2016k of the second magnet 2002f. The third drive belt 2018g
tensioner springs 1830c. 1830d which push the tensioner is also wrapped at least partially around a fifth magnet drive
block 1810b away from the side supports 1822, 1820, and pulley 2016l of a third magnet 2002g. A fourth drive belt
thus, away from the magnet drive pulleys 1816c. 1816d 2018h is wrapped at least partially around a sixth magnet
coupled to the side supports 1822, 1820 by center pins (not drive pulley 2016m of the third magnet 2002g. The fourth
shown) that run through each of the drive pulleys 1816c. 60 drive belt 2018h is also wrapped at least partially around a
1816d and the magnets 1802b, 1802c. When the centerpin is seventh magnet drive pulley 2016n of a fourth magnet 2002h.
also attached to a motor, it may also rotate the magnet(s) and As arranged, therefore, the motion of the first drive belt 2018e
its associated magnet drive pulley(s), and it may be called a coupled to the drive shaft 2004 rotates the first magnet 2002e,
drive shaft. Nevertheless, the magnet drive pulleys 1816c. the second magnet 2002f the third magnet 2002g, and the
1816d can rotate, and with their rotational movement the 65 fourth magnet 2002h simultaneously.
magnet drive pulleys 1816c. 1816d can rotate, or be rotated           Similarly, the fifth drive belt 2018d is wrapped at least
by, the magnets 1802b, 1802c.                                      partially around the drive shaft 2004, and is also wrapped at
      CaseCase
           5:23-cv-00626-XR
               5:23-cv-00626 Document
                             Document2-1
                                      10-1Filed
                                              Filed
                                                 05/15/23
                                                    10/15/23
                                                           PagePage
                                                                72 of72
                                                                      77of 77


                                                     US 8,926,490 B2
                               75                                                                   76
least partially around an eighth magnet drive pulley 2016g of 22, and an example of the rectangular magnet similar to the
a fifth magnet 2002d. A sixth drive belt 2018c is wrapped at disc magnet is shown in FIG. 23.
least partially around a ninth magnet drive pulley 2016.fof the         FIG.22 shows an example embodiment of a NEST device
fifth magnet 2002d. The sixth drive belt 2018c is also having two disc magnets 2202a, 2202b that rotate about a
wrapped at least partially around a tenth magnet drive pulley 5 common rotation axis 2236. The device comprises two disc
2016e of the sixth magnet 2002c. A seventh drive belt 2018b shaped magnets 2202a, 2202b that are axially magnetized
is wrapped at least partially around an eleventh magnet drive (the poles are on the top and bottom faces). The north pole of
pulley 2016d of the sixth magnet 2002c. The seventh drive the first magnet 2202a aligns with the southpole of the second
belt 2018b is also wrapped at least partially around a twelfth 10 magnet 2202b (aligning their neutral planes). The device
magnet drive pulley 2016c of a seventh magnet 2002b. An further comprises a drive shaft 2204 that aligns with the
eighth drive belt 2018a is wrapped at least partially around a center of the disc magnets 2202a, 2202b and with, therefore,
thirteenth magnet drive pulley 2016b of the seventh magnet theFIG.       rotation axis 2236 of the magnets 2202a, 2202b.
2002b. The eighth drive belt 2018a is also wrapped at least ment of 23           shows an exploded view of an alternate embodi
partially around a fourteenth magnet drive pulley 2016.a of an 15 of FIG.22 having twoNEST
                                                                              an example          device embodiment similar to that
                                                                                              rectangular magnets 2302a, 2302b that
eighth magnet 2002a. As arranged, therefore, the motion of rotate around a common rotation axis              2336. The device com
the fifth drive belt 2018d coupled to the drive shaft 2004 prises two rectangular magnets 2302a, 2302b that are mag
rotates the fifth magnet 2002d, the sixth magnet 2002c, the netized such that the north pole of the first magnet 2302a
seventh magnet 2002b, and the eighth magnet 2002a simul faces away from the drive shaft2304, and the south pole of the
taneously. In an alternative embodiment, the drive shaft has first magnet 2302a faces the drive shaft 2304, and the north
only one drive belt that drives all of the rotation of all of the pole of the second magnet 2302b faces the drive shaft 2304
magnets. Also shown in FIG. 20 are the side supports 2022, while the south pole of the second magnet 2302b faces away
2020 connected by at least two support columns 2024a, from the drive shaft 2304. The poles of each of the magnets
2024b. The supports 2020, 2022 hold each of the magnets 2302a, 2302b, thus, face the top cover 2352 and the bottom
2002a-2002h in place relative to the supports 2020, 2022 25 cover 2350 of the device, but the magnets 2302a, 2302b, have
while allowing rotational motion of the magnets 2002a opposite polarity. In the embodiment shown, the first magnet
2002h and of the drive shaft 2004 which may be driven, for 2302a is held in place in the device by a first magnet holder
non-limiting example, by a motor (not shown).                        2344a having two pieces that are connected by a magnet
   FIG. 21 shows the magnet rotation of the example NEST holder cap screw 2342 and a magnet holder dowel pin 2340.
device embodiment of FIG. 20 having eight diametrically 30 The first magnet 2302a is placed between and at least partially
magnetized cylindrical magnets 2102a-2102h configured to within the pieces of the first holder 2344a. Likewise, the
rotate about their cylinder axes. FIG. 21 shows a side view of second magnet 2302b is held in place in the device by a
an embodiment of a NEST device (not showing, for example,            second magnet holder 2344b having two pieces that are con
side Supports), which is similar to the embodiment shown in nected by a magnet holder cap screw (not shown) and a
FIG. 20. In this embodiment, each of the magnets 2102a 35 magnet holder dowel pin (not shown). The second magnet
2102h has at least two drive belts (for example, drive belts 2302b is placed between and at least partially within the
2118a-2118h) coupled to it which rotate the magnet 2102a pieces of the second holder 2344b. The two holders 2344a,
2102h, or which are rotated by the magnet 2102a-2102h, 2344b are coupled together, and may have a centerbeam 2348
when the drive shaft 2104 is rotated. In the embodiment              that holds the first and second holders 2344a, 2344b together.
shown, two drive belts 2118d, 2118e are wrapped at least 40 The holders 2344a, 2344b may also be held together addi
partially around the drive shaft 2104. The drive shaft 2104 tionally or alternatively by adhesive 2346. The drive shaft
thus rotates all of the magnets 2102a-2102h simultaneously 2304 is coupled to the holders 2344a, 2344b, in the embodi
through a series of drive belts 2118a-2118h all coupled to the ment shown, by attaching to the centerbeam 2348, which thus
drive shaft 2104. Shown in this embodiment is an example of couples the magnets 2302a, 2302b to the drive shaft 2304
the direction of rotation of the magnets 2102a-2102h (indi- 45 such that rotation of the drive shaft 2304 likewise spins the
cated by arrows) resulting from a clockwise rotation of the magnets 2302a, 2302b within the holders 2344a, 2344b about
drive shaft 2104. An opposite direction of movement is the rotation axis 2336. The drive shaft 2304 may alternatively
achieved when the drive shaft is rotated in a counter-clock          and/or additionally be coupled to the holders 2344a, 2344b
wise direction. In the embodiment shown, the clockwise rota          and to the center beam 2348 by adhesive 2346. The magnets
tion of the drive shaft 2104 rotates all of the magnets 2102a- 50 2302a, 2302b encased in the holders 2344a, 2344b are addi
2102h in a clockwise direction due to the belt 2118q-2118h           tionally housed within a top cover 2352 and a bottom cover
arrangement shown. Each of the belts 2118a-2118h shown is 2350. The covers 2350, 2352 are connected to one another by
wrapped either around two magnets or around a magnet and at least one cover cap screw 2354. The drive shaft 2304 fits
the drive shaft.                                                     through at a hole 2356 in at least one of the covers, for
                                                                  55 example, the bottom cover 2350. Where the cover 2350 is
                           Example 10                                disc-shaped, as shown in FIG. 23, the hole 2356 is located the
                                                                     center of the disc cover 2350, and the hole 2356 is configured
   In particular embodiments, a disc shaped magnet that is such that the drive shaft2304 may rotate freely within the hole
axially magnetized (the poles are on the top and bottom faces) 2304, for example, with aid of a bearing which allows drive
can be cut in half, one half turned over (aligning N of one half 60 shaft rotation (and, thus, magnet rotation) relative to the cov
with S of the other half) and placed together. This disc can be ers 2350, 2352.
spun about the center of the disc to get a magnetic field that is
uniform over a large area. In a similar embodiment, two                                         Example 11
rectangular magnets having poles aligned and positioned
similarly to the disc as previously described can be spun about 65 FIG. 24 shows an example embodiment of a NEST device
the center of the rectangular magnets to create a similarly similar to the embodiments depicted in FIGS. 22 and/or 23
uniform field. An example of the disc magnetis shown in FIG. having two magnets 2402a, 2402b rotating about a common
      CaseCase
           5:23-cv-00626-XR
               5:23-cv-00626 Document
                             Document2-1
                                      10-1Filed
                                              Filed
                                                 05/15/23
                                                    10/15/23
                                                           PagePage
                                                                73 of73
                                                                      77of 77


                                                     US 8,926,490 B2
                                77                                                                78
rotation axis applied to a subject 2406 and showing the con                                   Example   12
troller subunit 2458 coupled to a drive shaft 2404 that rotates
the magnets 2402a, 2402b. The controller subunit 2458 may                   Effect of a Device Lowering Blood Pressure
contain a motor (not shown) that cooperates with the drive
shaft 2404 to rotate the magnets 2402a, 2402b.                        An effect of use of a modified rTMS device according to
   FIG. 25 shows block diagram of an example embodiment the methods and device descriptions provided herein was
of a NEST device showing example elements of the NEST shown to reduce the symptoms of fibromyalgia. The patient
device and of its controller subunit. For example the embodi complained of chronic widespread pain and tenderness to
ment shown depicts a magnet 2502 that is mounted by a frame 10 light touch, and was diagnosed with fibromyalgia. The NEST
2534 to a base 2536. This allows the magnet 2502 to be held device  alpha
                                                                           was used to tune an intrinsic frequency (of the patients
                                                                           wave).   Following treatment, the patient reported a
stationary as the device treats a subject whose head may be
positioned near to the magnet 2502 (within the magnetic field reduction of the symptoms of fibromyalgia.
produced by the magnet 2502). The magnet 2502 is coupled                                      Example 13
to the controller subunit 2558 by a drive shaft 2504. The drive 15
shaft 2504 may couple to a motor 2572 of the controller               FIG. 26 shows an example embodiment of a NEST device
subunit 2558 by a coupling 2578. The coupling may allow for having a single bar magnet 2602 that moves linearly along its
various magnet arrangements to be interchanged by merely north-south axis 2639 once each time the Supporting ring (or
decoupling the drive shaft from the controller subunit and annulus) 2619 is rotated (rotation shown by arrows in FIG.
coupling a device having another arrangement of magnets 26), providing a pulse-type alternating magnetic field at the
(such as, for example, those described herein). The magnet frequency of rotation. In this embodiment, a magnet 2602 is
2502 may be controlled by the controller subunit 2558 secured against a rotating ring (or annulus)2619 with a spring
through the motor 2572 that may be driven by a motor driver 2628, where the ring 2619 has one or more detents 2629. The
2574. The motor driver 2574 may be coupled (directly or subject 2606 is shown below the ring 2619 in FIG. 26. When
indirectly) to a power supply 2576. The motor driver 2574, 25 the ring 2619 is rotated, as shown with the arrows in FIG. 26,
which can control, for non-limiting example, the speed, direc the magnet 2602 will be thrust into each detent 2629 once per
tion, acceleration, etc., of the magnet 2502 through the drive rotation. As the ring 2619 continues to rotate, the magnet
shaft 2504, can be directed and/or monitored by controls such 2602 will        move back to its original position. This periodic
as, for example, a device speed control 2560, an on/off control 30 thrust may generate a more unipolar pulsatile magnetic field
2562, a display 2564, a random/continuous control 2566, and than         that generated by a rotating magnet. The width and
a high/low control 2568. A user can adjust each of these strength ofof
                                                                    amplitude      the magnetic pulse depends on the mass and
controls, which are coupled to a processor circuit board 2570 and the depth ofmagnet,
                                                                                the
                                                                                      the
                                                                                             as well as the strength of the spring,
                                                                                          detent.
and thus coupled to the motor driver 2574.                            In alternative embodiments to that shown in FIG. 26, there
   Alternatively, and/or additionally, the drive shaft 2504 and/ 35 could  be multiple detents in the ring. The ring could be
or the magnet(s) may be controlled automatically based on a non-circular.         The magnet could rotate around the ring, while
prescribed treatment (time of treatment, frequency of magnet the ring is stationary. There could be multiple magnets and a
rotation, etc) that is downloaded and/or programmed into the single detent. There could be multiple magnets and multiple
processor circuit board 2570 from a source external or inter detents. Instead of a detent, the magnet or magnets could
nal to the controller subunit, as previously described herein. 40 encounter a ridge, or multiple ridges. The magnet or magnets
Treatments received may be stored by the controller subunit. could encounter slopes, rather than sharp detents or ridges.
Additionally and/or alternatively, where EEG electrodes are The magnet could be positioned such that the north pole is
also present in the device and are capable of measuring the closer to the treatment area than the South pole, or Such that
Subject’s brain waves, the device may adjust the treatment the south pole is closer to the treatment area than the north
automatically by a biofeedback system. Additionally and/or 45 pole (such as is shown in FIG. 26). In some embodiments, the
alternatively, where EEG electrodes are present in the device number of detents is the same as the number of magnets of the
and are capable of measuring the Subject's brain waves, the device. In some embodiments, the number of detents is not
treatment may be chosen based on the readings of the Sub the same as the number of magnets of the device. In some
jects brain waves prior to the treatment. Additionally and/or embodiments, the number of detents is a multiple of the
alternatively, where EEG electrodes are present in the device 50 number of magnets of the device. In some embodiments, the
and are capable of measuring the Subject's brain waves, the number of detents is not a multiple of the number of magnets
treatment may be chosen automatically by the device based of the device.
on the readings of the subject’s brain waves prior to the             In an alternative embodiments of the device, the magnet
treatment and based on a set of rules stored in the controller      may flip (or rotate) about an axis between the north pole and
subunit. Additionally and/or alternatively, where EEG elec 55 south pole as a ring similar to that shown in FIG. 26 rotates.
trodes are present in the device and are capable of measuring The magnet may be freely rotatable about the axis between
the subject’s brain waves, the controller subunit is capable of the north pole and South pole, and the magnet may be rotat
storing the output of the EEG electrodes prior to, during, able about a shaft. The shaft, in this embodiment, is not
and/or after treatment with the NEST device. Additionally coupled to a drive source. Rather, the ring itselfmay drive the
and/or alternatively, where EEG electrodes are present in the 60 flipping (rotating) of the magnet by capturing a first portion of
device and are capable of measuring the Subject’s brain the magnet in a first detent and moving that first portion as the
waves, the controller Subunit is capable of transmitting the ring moves until a second portion of the magnetis captured by
output of the EEG electrodes prior to, during, and/or after second detent of the ring which likewise moves the second
treatment with the NEST device. This transmitting may be portion of the magnet. In some embodiments, the first portion
real-time (during measurement), or after storage of the EEG 65 is associated with a first pole of the magnet, and the second
electrode outputs and during an upload or download from the portion is associated with a second pole of the magnet. In one
NEST device.                                                        embodiment, the first pole may be the north pole of the
       CaseCase
            5:23-cv-00626-XR
                5:23-cv-00626 Document
                              Document2-1
                                       10-1Filed
                                               Filed
                                                  05/15/23
                                                     10/15/23
                                                            PagePage
                                                                 74 of74
                                                                       77of 77


                                                         US 8,926,490 B2
                               79                                                                         80
magnet and the second pole may be the South pole of the            and     12    HZ,   changing    frequencies  once per second. If the
magnet. In another embodiment, the first pole may be the patient was in the "SHAM” group, the magnets in the NEST
South pole of the magnet and the second pole may be the north were replaced with steel cylinders, thereby imparting no mag
pole of the magnet. A drive source may drive the movement of netic field to a head of the patient. The patients in this group
the ring which, in turn, drives the rotation of the magnet. The 5 were divided into two subgroups with equal probability, with
drive source may be motor, for non-limiting example.               one group having the cylinders rotated at the intrinsic fre
                                                                   quency and the other group having the cylinders rotated at
                          Example 14                               random frequencies as noted above.
                                                                       Study subjects were treated daily on weekdays (Monday
   A study was conducted a controlled, randomized, double 10 through Friday) for four weeks, with treatment consisting of
blind multicenter study using the NEST device as shown in a single 30-minute session. All treatment sessions were
FIG. 19, with permanent magnets arranged as shown in FIG.
16 to treat subjects with moderate to severe depressive disor administered
                                                                   symptoms
                                                                                        at the study site. Baseline EEG and clinical
                                                                                     were    recorded 3 days or less prior to the first
der. Outcomes were measured by Ham-D, CGI-I, and CGI-S.            session      of treatment     followed by series of quantitative analy
FIGS. 38-41 show the results of the study utilizing the NEST    15
device and methods for the treatment of depression as pro SCS.
vided herein.                                                          The subject's EEG was recorded weekly during the study
   The study was conducted at two sites. In the method used with a 19-channel system with the subject at rest with eyes
in this trial, a magnetic field was adjusted to influence the closed. An FFT with a 30-second window was used to quan
Q-factor of an intrinsic frequency of each subject within the tify the signal of each channel to produce consecutive fre
alpha-band. The magnetic field was applied close to the head quency bands alpha, beta, delta, and theta. The alpha band
of the subject. EEG readings were taken before treatment was further analyzed with the non-linear curve fitting to
began. The magnets were in the same location and rotated in obtain the Q-factor for the subject. Single Photon Emission
the same manner for all Subjects receiving the magnetic Computed Tomography (SPECT) scans were taken at base
therapy. All subjects underwent a traditional 19-lead EEG 25 line and at the end of the 4-week study for the subjects
recording. A Cadwell Easy 2.1 EEG system was used to take enrolled at the U.S. clinical site. Voxel readings of given areas
the 19-lead EEG reading. The intrinsic frequency in the alpha were averaged across different slices to render a mean value
band (7-11 Hz) was determined using the initial EEG reading. of each Region of Interest (ROI).
The specific alpha frequency (pre-selected frequency) was              Efficacy and adverse effects of the treatment were evalu
selected from the EEG recording using a curve-fitting tech 30 ated on a weekly basis during the treatment using EEG and
nique to determine the Subjects intrinsic frequency of the quantitative depression scales. The determination of a Suc
alpha wave and to determine the Q-factor of the alpha wave. cessful outcome based on change in HAMD-17 score was
    Patients were placed in one of three groups: constant fre made at 4 weeks for each subject. Each of the study subjects
quency, random frequency, or sham, with equal probability were contacted at 8 weeks and interviewed to determine
for each group. The sham treatment (SHAM) was created 35 whether any adverse events had occurred during the previous
using the prototype by Substituting steel cylinders of the same month.
weight and size for the 3 magnets. The sham operates iden              A total of 52 subjects with MDD were enrolled in this
tically to the device, except that no alternating magnetic field study. All subjects met the eligibility criteria for enrollment.
is generated. The sham is indistinguishable from the device in As shown in Table 1, mean age of the population was 43.8
that it looks and Sounds the same, and has the same vibration 40 years, and 56.8% of subjects were female. No clinically rel
when in operation. When using the sham, the same procedure evant differences were observed at baseline for demographic
as the prototype was followed in that the subject's EEG was characteristics or baseline MDD severity (Table 2).
recorded and the sham cylinder rotation was set to the average                                        TABLE 1
alpha frequency (the Subjects intrinsic frequency of his/her
alpha wave).                                                    45              CLINICAL STUDY DEMOGRAPHIC INFORMATION
    Study subjects had been diagnosed with MDD, with a                                               NEST        SHAM Statistics
Hamilton Depression (HAMD-17) score of 17 or greater.
Additional eligibility criteria included an unsatisfactory clini Gender (Male:Female)                 12:17        7:8     X = 0.11, P=
cal response to previous antidepressant therapy prescribed at                                                              O.74
adequate dose and appropriate time interval prior to the trial 50  Age   (s.d.)                    42.5 (15.0) 46.3 (12.7) t = 0.85, P = 0.40
treatment. All study Subjects were using concomitant antide Years of Education (s.d.) 13.9 (4.2) 14.1 (3.2) t = 0.16, P = 0.87
pressant treatment and had been stable on medications for
greater than one month prior to their admission into the study:                                       TABLE 2
no adjustment to the Subjects antidepressant regimen was
made during the study.                                          55         CLINICAL STUDY BASELINE CLINICAL INFORMATION
    Study subjects were randomized to one of three treatment                                         NEST         Sham     Statistics
arms, consisting of either a fixed frequency magnet rotation,
a random frequency magnet rotation, or sham treatment. Age of Onset (s.d.)                         33.0 (14.6) 30.7 (13.9) t = 0.50, P = 0.62
Sham treatments (SHAM) simulating both fixed and random Duration               of Illness (s.d.)
                                                                   Hamilton Score (s.d.)
                                                                                                   11.1 (9.7)
                                                                                                   21.3 (4.0)
                                                                                                               13.6 (11.4) t = 0.79, P = 0.44
                                                                                                               19.4 (4.1) t = 1.55, P = 0.13
frequency were employed to ensure blinding of the study 60 Antidepressents             (SSRI          28,3        1570     X2 = 1.55, P =
Subjects and personnel at the clinical sites. Both a fixed and a other)                                                    O.21
random frequency were evaluated, with the goal of assessing Alpha EEG Power (s.d.) 44.9 (37.0) 41.2 (40.2) t = 0.31, P = 0.76
any differences between these two treatment patterns. If the Alpha (s.d.)
                                                                           EEG Frequency            9.7 (0.9)   9.3 (1.1) t = 1.39, P = 0.17
patient was in the “constant frequency” group, the NEST was Alpha          EEG Q-factor            10.4 (5.1)   9.9 (4.7) t = 0.38, P = 0.71
set to rotate the magnets at the intrinsic frequency. If the 65 (s.d.)
patient was in the “random frequency” group, the NEST was
set to rotate the magnets at random frequencies between 6 HZ
           CaseCase
                5:23-cv-00626-XR
                    5:23-cv-00626 Document
                                  Document2-1
                                           10-1Filed
                                                   Filed
                                                      05/15/23
                                                         10/15/23
                                                                PagePage
                                                                     75 of75
                                                                           77of 77


                                                                        US 8,926,490 B2
                              81                                                                                          82
   Seven subjects withdrew from the study prior to the Week                                   subject who experienced at least 50% improvement on the
1 visit, due to problems returning to the study site. Thus no                                 HAMD-17. Table 4 gives the responder vs. non-responder
post-baseline data were available. For subjects who did not                                   data for the sham and active (NEST) groups. There were
complete the 4-week follow-up, the last available value was                                   significantly more responders in the active treatment group
imputed (LOCF) for each of the assessment scales.                                             (1%9 or 55.2%) compared to sham (2/16 or 12.5%) (2–7.82,
   No study site interaction was found(F1,43=0.22, P=0.64).                                   P=0.005).
Therefore, the results provided combine data from both sites.
FIG.38 shows the HAMD-17 score mean and standard error                                                                     TABLE 4
at baseline and at the end of each week of treatment. The first
set of four bars represent the HAMD-17 weekly change in the 10 Proportion of Subiects with at least a 50%. Improvement in Symptoms
SHAM group, the second set of four bars represent the                                Non-responder       Responder           Total
HAMD-17 weekly change in the test group (NEST) of sub
jects having a fixed pre-selected frequency emitted from the             Sham        14 (87.5%)            2 (12.5%)          16
device (the fixed pre-selected frequency being, in this                  Active      13 (44.8%)          16 (55.2%)           29
example, the Subjects own average intrinsic frequency), and 15           Total       27                  18                   45
the third set of four bars represent the HAMD-17 weekly
change in the test group (NEST) of subjects having a random
frequencies (hopping frequencies) emitted from the device              Each subject's EEG was recorded at baseline and at the
within the alpha band (8-13 Hz), independent of the subjects conclusion of 4 weeks of treatment. The NEST device
own average intrinsic frequency. Each of the bars within each reduced the alpha EEG Q-factor significantly (F1, 18>4.3,
test group represents the average HAMD score at the end of a P<0.05) as measured by the global average or the average at
week, starting with week 0 (baseline), week 1, 2, 3, and 4, left the pre-frontal cortex (P=0.03). The decrease in Q-factor
to right, respectively. After the fourth week of treatment, the correlates well with clinical improvement in depression
NEST groups were significantly better than the SHAM as an symptoms (r=0.46, P=0.01). FIG. 40 shows the change in
overall measure (F1, 43=10.17, P=0.003), or on a time by 25 HAMD-17 score versus the change in the alpha Q-factor. That
treatment interaction (F3, 129=6.7, P=0).                           is, it shows the percent improvement in HAMD score com
   FIG. 39 shows the average drop in HAMD-17 score pared to the percent change in Q-factor for Subjects who
between the active group (NEST fixed and random frequency received the NEST device treatment. The change in the Q-fac
groups combined) and the SHAM, along with Table 3 show tor of the alpha wave (as a %) is presented along the X-axis,
ing the week by week change, with standard error and confi 30 while the change in HAMD Score (as a %) is presented along
dence interval. After the fourth week of treatment, the active      the y-axis. A decrease in HAMD-17 score was generally
group (NEST groups combined) was significantly better than accompanied by a decrease in Q-factor of the alpha fre
the sham as an overall measure (F1, 43-6.5, P=0.01), or on a quency. The bestfit line was plotted of the data (Linear regres
time by treatment interaction. The first data point represents sion R Squared value of 0.212).
the Baseline measurement (value of 0 change). The second 35 The regional Cerebral Blood Flow (rCBF) of subjects
data point represents the average change after one (1) week of enrolled at the US study site was evaluated using a SPECT
treatment. The third data point is the average change after two scan at baseline and again after the 4 weeks of treatment. A
(2) weeks of treatment. The fourth data point is the average significant correlation between changes in rCBF and HAMD
change after three (3) weeks of treatment. The fifth data point     17 score was found, specifically in the orbital frontal cortex
is the average change after four (4) weeks of treatment. The 40 (r=-0.67, P=0.04), prefrontal tip (r=-0.66, P=0.05), and dor
top line represents the average HAMD score for subjects sal lateral prefrontal cortex (r—-0.55, P=0.12). See Table 5
treated with the SHAM device, the bottom line represents the showing the correlation between Changes in rCBF (%) and
average HAMD score for subjects treated with the NEST HAMD Score (%). Areas of increased activation of the active
device.                                                             NEST device compared to sham were observed, along with
                                                                 45 areas of deactivation of the active NEST device compared to
                            TABLE 3                                 SHAM. Areas of the cortex were observed to be activated by
                                                                    NEST device treatment compared to SHAM. Areas of the
     MEAN, STANDARD ERROR, AND CONFIDENCE INTERVAL                  cortex were observed to be deactivated by NEST device com
        FOR THE DROPIN HAMD-17 SCORE FORTREATMENT
                       AND SHAM GROUPS                              pared to SHAM. A significant portion of the cortex was
                                                                 50 shown to have increased blood flow for the active subjects
                                              95% Confidence
                                                  Interval
                                                                    (using the NEST device) compared to sham. Much of this
                                                                    activation occurs in the prefrontal cortex. Using the therapy,
     Dependent                        Std.   Lower       Upper      activation of the cortex occurs, especially in the frontal
     Variable      Tx      Mean      Error   Bound       Bound      region, whereas deactivation occurs in the rear and lower
                                                                 55 regions of the brain.
     Week 1         O      1.383     O.792   -0.214        2.980
                         1        2.460°        OS46         1.359         3.S60
     Week 2              O        2.267         1.087        O.O76         4.459                                           TABLE 5
                         1        4.806         O.749        3.296         6.317
     Week 3              O        4.351         1.199        1932          6.770                                                    HAMD
                         1        7.443           827        5.776         9.110         60                                         Pearson
     Week 4              O        4495          1.433        1604          7.385                                                     Corr.    N   Sig.
                         1        9.986         O.988        7.994        11.979
                                                                                                 Orbital Frontal Cortex             -0.67     9   O.04
Covariates appearing in the model are evaluated at the following values: Baseline HAMD           Prefrontal Tip                     -0.66     9   O.OS
= 20.72.                                                                                         Dorsal Lateral Prefrontal Cortex   -O.S.S    9   O.12
                                                                                                 Anterior Cingular                  -0.4      9   O.29
  For further analysis, the test subjects using the SHAM 65                                      Anterior Temporal Lobe             -0.15     9   0.7
device and the NEST device were divided into two groups:                                         Parietal Lobe                      -0.47     9   O.21
responders and non-responders. A responder was defined as a
      CaseCase
           5:23-cv-00626-XR
               5:23-cv-00626 Document
                             Document2-1
                                      10-1Filed
                                              Filed
                                                 05/15/23
                                                    10/15/23
                                                           PagePage
                                                                76 of76
                                                                      77of 77


                                                      US 8,926,490 B2
                                                                                                   84
                      TABLE 5-continued                             the Internet and/or other computer networks via one or more
                                                                    data transfer protocols (e.g., HTTP, FTP, SMTP, etc.). When
                                      HAMD
                                     Pearson
                                                                    received within a computer system via one or more computer
                                       Corr.    N       Sig.     5 readable media, such data and/or instruction-based expres
                                                                    sions of components and/or processes under the ICS may be
     Occipital Lobe                   -0.08     9       O.83        processed by a processing entity (e.g., one or more proces
     Limbic System                    -0.34     9       0.37        sors) within the computer system in conjunction with execu
     Basal Ganglia                    -0.25     9       O.S1
                                                                    tion of one or more other computer programs.
                                                                        Unless the context clearly requires otherwise, throughout
   In this study, a large, statistically significant decrease in 10 the description and the claims, the words "comprise.” “com
HAMD score was observed in subjects treated with the NEST prising.” and the like are to be construed in an inclusive sense
device. This improvement in Symptoms of depression was as opposed to an exclusive or exhaustive sense; that is to say,
accompanied by a significant decrease in Q-factor in the in a sense of “including, but not limited to.” Words using the
cortex. In addition, in subjects treated with the active NEST singular or plural number also include the plural or singular
device, there was an increase in blood flow, and therefore an 15 number respectively. Additionally, the words “herein.” “here
increase in metabolism in the cortex, particularly in the pre under,” “above.” “below,” and words of similar import refer to
frontal region, the area of the brain associated with mood. this application as a whole and not to any particular portions
FIG. 42 shows how the increase in rCBF in orbital frontal           of this application. When the word 'or' is used in reference to
cortex predicts clinical improvement in depression (r=-0.67. a list of two or more items, that word covers all of the follow
P=0.04). This figure shows that as the blood flow in the orbital 20 ing interpretations of the word: any of the items in the list, all
frontal cortex is increased, the HAMD score decreases.              of the items in the list and any combination of the items in the
                                                                    list.
                          Example 15                                   The above descriptions of illustrated embodiments of the
                                                                    system, methods, or devices are not intended to be exhaustive
   FIG. 41 shows the results of a clinical trial utilizing the 25 or to be limited to the precise form disclosed. While specific
NEST device for the treatment of anxiety. This trial involved embodiments of and examples for, the system, methods, or
two (2) patients (subjects). Both patients received treatment devices are described herein for illustrative purposes, various
with the NEST device as shown in FIG. 19, with permanent equivalent modifications are possible within the scope of the
magnets arranged as shown in FIG.16. In the method used for system, methods, or devices, as those skilled in the relevant
these patients, a magnetic field was adjusted to influence the 30 art will recognize. The teachings of the system, methods, or
Q-factor of an intrinsic frequency of each subject within the devices provided herein can be applied to other processing
alpha-band. The magnetic field was applied close to the head systems, methods, or devices, not only for the systems, meth
of the subject. EEG readings were taken before treatment ods, or devices described.
began. A Cadwell Easy 2.1 EEG system was used to take a                The elements and acts of the various embodiments
19-lead EEG reading. The intrinsic frequency in the alpha 35 described can be combined to provide further embodiments.
band (7-11 Hz) was determined using the initial EEG reading. These and other changes can be made to the system in light of
Both patients were treated with a constant frequency, wherein the above detailed description.
for each patient the NEST was set to rotate the magnets at the          In general, in the following claims, the terms used should
intrinsic frequency detected for that patient. Patients received not be construed to limit the system, methods, or devices to
treatment every weekday for 30 days. EEG readings were 40 the specific embodiments disclosed in the specification and
taken after treatment at least on a weekly basis. The first data the claims, but should be construed to include all processing
point is the baseline HAMA score. The second data point for systems that operate under the claims. Accordingly, the sys
each line represents the HAMA score after one (1) week of tem, methods, and devices are not limited by the disclosure,
treatment for each patient. The third data point for each line but instead the scopes of the system, methods, or devices are
represents the HAMA score after two (2) weeks of treatment 45 to be determined entirely by the claims.
for each patient. The fourth data point for each line represents       While certain aspects of the system, methods, or devices
the HAMA score after four (4) weeks of treatment for each are presented below in certain claim forms, the inventors
patient.                                                            contemplate the various aspects of the system, methods, or
   The various functions or processes disclosed herein (such devices in any number of claim forms. For example, while
as, for non-limiting example, logic that performs a function or 50 only one aspect of the system, methods, or devices is recited
process) may be described as data and/or instructions embod as embodied in machine-readable medium, other aspects may
ied in various computer-readable media, in terms of their likewise be embodied in machine-readable medium. Accord
behavioral, register transfer, logic component, transistor, lay ingly, the inventors reserve the right to add additional claims
out geometries, and/or other characteristics. The logic after filing the application to pursue Such additional claim
described herein may comprise, according to various embodi- 55 forms for other aspects of the system, methods, or devices.
ments of the invention, Software, hardware, or a combination           While preferred embodiments of the present invention
of software and hardware. The logic described herein may have been shown and described herein, it will be obvious to
comprise computer-readable media, Computer-readable those skilled in the art that such embodiments are provided by
media in which Such formatted data and/or instructions may way of example only. Numerous variations, changes, and
be embodied include, but are not limited to, non-volatile 60 substitutions will now occur to those skilled in the art without
storage media in various forms (e.g., optical, magnetic or           departing from the invention. It should be understood that
semiconductor storage media) and carrier waves that may be           various alternatives to the embodiments of the invention
used to transfer Such formatted data and/or instructions             described herein may be employed in practicing the inven
through wireless, optical, or wired signaling media or any           tion. It is intended that the following claims define the scope
combination thereof. Examples of transfers of such formatted 65 of the invention and that methods and structures within the
data and/or instructions by carrier waves include, but are not Scope of these claims and their equivalents be covered
limited to, transfers (uploads, downloads, e-mail, etc.) over thereby.
      CaseCase
           5:23-cv-00626-XR
               5:23-cv-00626 Document
                             Document2-1
                                      10-1Filed
                                              Filed
                                                 05/15/23
                                                    10/15/23
                                                           PagePage
                                                                77 of77
                                                                      77of 77


                                                      US 8,926,490 B2
                              85                                                                86
  What is claimed is:                                                  wherein the magnetic field increases the blood flow of a
   1. A system for treating depressionina Subject comprising:              cortex of the brain or decreases the blood flow of a lower
a magnetic field generator adapted to apply a magnetic field to            region of the brain.
a head of the Subject, wherein the magnetic field generator             2. The system of claim 1, comprising at least one perma
comprises:                                                           nent magnet.
   a) a non-transitory computer readable medium containing              3. The system of claim 1, wherein the magnetic field is
      a Subject data value comprising                                generated by movement of at least one permanent magnet.
      i) a first intrinsic frequency of a brain of the subject          4. The system of claim 3, wherein the movement of the at
         within a specified EEG band,                                least one said magnet is at a frequency between about 0.5 HZ
      ii) a Q-factor of the first intrinsic frequency,            10
                                                                     and about 100 HZ.
      iii) a coherence value of a second intrinsic frequency and        5. The system of claim 3, wherein said movement com
         a third intrinsic frequency, wherein the second and prises
         third intrinsic frequencies are from two different sites Swing at      least one of rotational motion, linear motion, and
                                                                             motion.
         in the brain of the subject within the specified EEG
         band, or                                                 15    6. The system of claim 3, wherein said movement gener
      iv) an EEG phase between two sites in the brain of the ates an alternating magnetic field.
          subject of a specified EEG frequency, wherein the two         7. The system of claim 1, further comprising logic config
          sites are different; and                                   ured to control the intrinsic frequency to be any intrinsic
   b) a processor configured to control the magnetic field frequency between about 0.5 Hz and about 100 Hz in incre
      based on said Subject data value, wherein the magnetic         ments of about 0.1 Hz.
      field is configured to                                            8. The system of claim 1, further comprising logic config
      i) move the first intrinsic frequency in a pre-selected ured to automatically change the intrinsic frequency in
         direction, up or down, within the specified EEG band response to EEG readings of a subject during treatment.
         using said magnetic field,                                     9. The system of claim 1, further comprising logic config
      ii) move the Q-factor of the first intrinsic frequency in a 25 ured to calculate the subject data value from EEG data col
         pre-selected direction, up or down, within the speci lected from the subject.
         fied EEG band using the magnetic field,                        10. The system of claim 1, further comprising: (a) a first
      iii) move the coherence value by applying the magnetic electrode operable to detect electrical brain activity; and (b) a
         field and a second magnetic field that is asynchronous second electrode operable to detect a reference signal;
         with the magnetic field close to the head of the subject 30 wherein the first electrode is adapted to be located on the
         and reducing the coherence value, or by applying the subject in at least one of an area of low electrical resistivity
         magnetic field and the second magnetic field that is on         said Subject, and an area with Substantially no electrical
          synchronized with the magnetic field close to the head impulse       interference on said Subject, and wherein the second
         of the Subject and raising the coherence value, or
      iv) move the EEG phase of the specified EEG frequency, 35 electrode is adapted to be located on the subject.
         wherein the magnetic field comprises a first magnetic          11. The system of claim 1, further comprising a device
         field that is in-phase with the second magnetic field or configured
                                                                     and  a lower
                                                                                  to measure blood flow of at least one of the cortex
                                                                                   region of the brain.
         a first magnetic field that is out of phase with the
          second magnetic field; and                                                          k   k   k  k    k
